              Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 1 of 70



                                       IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION

                                                                                  )
    In re:                                                                        )    Chapter 11
                                                                                  )
    ALTA MESA RESOURCES, INC., et al.,                                            )    Case No. 19-35133 (MI)
                                                                                  )
                                  1
                       Debtors.                                                   )    (Jointly Administered)
                                                                                  )
                                                                                  )

                         JOINT PLAN OF LIQUIDATION OF ALTA MESA RESOURCES, INC.
                                 AND ITS AMH AND SRII DEBTOR AFFILIATES
                                                                        2
                               UNDER CHAPTER 11 OF THE BANKRUPTCY CODE
    LATHAM & WATKINS LLP                                                              PORTER HEDGES LLP
    George A. Davis (admitted pro hac vice)                                           John F. Higgins (TX 09597500)
    Annemarie V. Reilly (admitted pro hac vice)                                       Eric M. English (TX 24062714)
    Brett M. Neve (admitted pro hac vice)                                             Aaron J. Power (TX 24058058)
    885 Third Avenue                                                                  M. Shane Johnson (TX 24083263)
    New York, New York 10022                                                          1000 Main Street, 36th Floor
    Telephone: (212) 906-1200                                                         Houston, Texas 77002
    Facsimile: (212) 751-4864                                                         Telephone: (713) 226-6000
    Email: george.davis@lw.com                                                                    (713) 226-6248
            annemarie.reilly@lw.com                                                   Email: jhiggins@porterhedges.com
            brett.neve@lw.com                                                                  eenglish@porterhedges.com
                                                                                               apower@porterhedges.com
    - and -
                                                                                               sjohnson@porterhedges.com
    Caroline A. Reckler (admitted pro hac vice)
    330 North Wabash Avenue, Suite 2800                                               Counsel to the Debtors and Debtors in Possession
    Chicago, Illinois 60611
    Telephone: (312) 876-7700                                                         Dated: April 17, 2020
    Facsimile: (312) 993-9767
    Email: caroline.reckler@lw.com
    -and-
    Andrew Sorkin
    555 Eleventh Street, Suite 1000
    Washington, D.C. 20004
    Telephone: (202) 637-2200
    Facsimile: (202) 637-2201
    Email: andrew.sorkin@lw.com

1      The debtors in these chapter 11 cases and the last four digits of their federal tax identification numbers are as follows: Alta Mesa Resources,
       Inc. (3840); Alta Mesa Holdings, LP (5150); Alta Mesa Holdings GP, LLC (0642); OEM GP, LLC (0958); Alta Mesa Finance Services Corp.
       (5673); Alta Mesa Services, LP (7295); Oklahoma Energy Acquisitions, LP (3762); SRII Opco GP, LLC (3729); SRII Opco, LP (5874);
       Kingfisher Midstream, LLC (1357), Kingfisher STACK Oil Pipeline, LLC (8858), Oklahoma Produced Water Solutions, LLC (0256), and
       Cimarron Express Pipeline, LLC (1545). The location of the Debtors’ corporate headquarters and service address is 15021 Katy Freeway, 4th
       Floor, Houston, Texas 77094.
2      This Joint Plan of Liquidation of Alta Mesa Resources, Inc. and Its AMH and SRII Debtors and Debtors in Possession Under Chapter 11 of
       the Bankruptcy Code is a joint plan of liquidation for the following debtors and debtors in possession: Alta Mesa Resources, Inc., Alta Mesa
       Holdings, LP, Alta Mesa Holdings GP, LLC, OEM GP, LLC, Alta Mesa Finance Services Corp., Alta Mesa Services, LP, Oklahoma Energy
       Acquisitions, LP, SRII Opco GP, LLC, and SRII Opco, LP. A separate joint plan of liquidation has been filed with respect to Kingfisher
       Midstream, LLC, Kingfisher STACK Oil Pipeline, LLC, Oklahoma Produced Water Solutions, LLC, and Cimarron Express Pipeline, LLC.
       See [Docket No. 1326].




                                                                          (i)
           Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 2 of 70



                                                               TABLE OF CONTENTS

ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME AND
      GOVERNING LAW ....................................................................................................................................... 1
      A.      Defined Terms .................................................................................................................................. 1
      B.      Rules of Interpretation .................................................................................................................... 21
      C.      Computation of Time ...................................................................................................................... 21
      D.      Governing Law ............................................................................................................................... 21
      E.      Reference to Monetary Figures ....................................................................................................... 22

ARTICLE II. ADMINISTRATIVE CLAIMS AND PRIORITY CLAIMS ................................................................ 22
      A.      Administrative Claims .................................................................................................................... 22
      B.      Priority Tax Claims ......................................................................................................................... 23
      C.      Other Priority Claims ...................................................................................................................... 23

ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS ..................................... 24
      A.       Introduction ..................................................................................................................................... 24
      B.       Summary of Classification .............................................................................................................. 24
      C.       Treatment of Claims and Interests .................................................................................................. 25

ARTICLE IV. ACCEPTANCE REQUIREMENTS ................................................................................................... 30
      A.      Acceptance or Rejection of this Plan .............................................................................................. 30
      B.      Confirmation of This Plan Pursuant to Section 1129(b) of the Bankruptcy Code .......................... 31
      C.      Subordinated Claims ....................................................................................................................... 31
      D.      Controversy Concerning Impairment .............................................................................................. 31
      E.      Elimination of Vacant Classes ........................................................................................................ 31
      F.      Presumed Acceptance by Non-Voting Classes ............................................................................... 31

ARTICLE V. MEANS FOR IMPLEMENTATION OF THE PLAN ......................................................................... 31
      A.     Transactions Effective as of the Effective Date .............................................................................. 31
      B.     Closing of Sale and Uses of Cash ................................................................................................... 31
      C.     SRII Claims Bar Date ..................................................................................................................... 32
      D.     KFM/AMH Settlement ................................................................................................................... 32
      E.     Plan Administration Trust Funding and AMH GUC Claim Administrator Reserve
             Funding ........................................................................................................................................... 33
      F.     The Plan Administration Trusts/AMH GUC Administrator Agreement......................................... 33
      G.     The AMH GUC Claim Administrator. ............................................................................................ 34
      H.     Certain Powers and Duties of the Plan Administration Trusts, the Plan Administrators,
             and the AMH GUC Claim Administrator ....................................................................................... 34
      I.     Federal Income Tax Treatment of the Plan Administration Trusts for the Plan
             Administration Trust Assets; Tax Reporting and Tax Payment Obligations .................................. 36
      J.     Authority to Pursue, Settle, or Abandon Retained Causes of Action .............................................. 37
      K.     AMH Litigation Trust ..................................................................................................................... 37
      L.     Treatment of AMH Litigation Trust Causes of Action ................................................................... 40
      M.     Federal Income Tax Treatment of the AMH Litigation Trust for the AMH Litigation
             Trust Assets; Tax Reporting and Tax Payment Obligations ........................................................... 40
      N.     Cancellation of Documents ............................................................................................................. 41
      O.     Filing of Monthly and Quarterly Reports and Payment of Statutory Fees ...................................... 42
      P.     Directors, Managers and Officers of the Debtors............................................................................ 42
      Q.     Corporate Authorization ................................................................................................................. 43
      R.     Insurance Policies ........................................................................................................................... 43
      S.     Effectuating Documents and Further Transactions ......................................................................... 43
      T.     Employee and Retiree Benefits ....................................................................................................... 43
      U.     Exemption from Certain Taxes and Fees ........................................................................................ 44
      V.     Assignment of Reserved ORRI ....................................................................................................... 44
      W.     Exchange of SRII Interests.............................................................................................................. 44


                                                                                (i)
           Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 3 of 70



ARTICLE VI. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES ............................. 44
      A.      Treatment of Executory Contracts and Unexpired Leases .............................................................. 44
      B.      Rejection of Indemnification Obligations ....................................................................................... 44
      C.      Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases ........... 45
      D.      Rejection Damages Claim ............................................................................................................... 45
      E.      Reservation of Rights ...................................................................................................................... 45
      F.      Nonoccurrence of Effective Date .................................................................................................... 45

ARTICLE VII. PROVISIONS GOVERNING DISTRIBUTIONS ............................................................................. 45
      A.      Timing and Calculation of Amounts to Be Distributed; Entitlement to Distributions .................... 45
      B.      Disbursing Agent ............................................................................................................................ 46
      C.      Distributions on Account of Claims Allowed After the Effective Date .......................................... 46
      D.      Delivery of Distributions and Undeliverable or Unclaimed Distributions ...................................... 47
      E.      Compliance with Tax Requirements/Allocations............................................................................ 47
      F.      Surrender of Cancelled Instruments or Securities ........................................................................... 48
      G.      Claims Paid or Payable by Third Parties ......................................................................................... 48

ARTICLE VIII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
      DISPUTED CLAIMS ................................................................................................................................... 49
      A.       Allowance and Disallowance of Claims ......................................................................................... 49
      B.       Prosecution of Objections to Claims ............................................................................................... 49
      C.       Estimation of Claims ....................................................................................................................... 49
      D.       Distributions After Allowance ........................................................................................................ 50

ARTICLE IX. CONDITIONS PRECEDENT TO CONFIRMATION OF THE PLAN AND THE
      EFFECTIVE DATE ...................................................................................................................................... 50
      A.      Conditions Precedent to Confirmation ............................................................................................ 50
      B.      Conditions Precedent to the Effective Date .................................................................................... 50
      C.      Waiver of Conditions ...................................................................................................................... 51
      D.      Effect of Nonoccurrence of Conditions .......................................................................................... 51

ARTICLE X. SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS ................................... 52
      A.      Compromise and Settlement of Claims, Interests, and Controversies ............................................ 52
      B.      Releases by the Debtors .................................................................................................................. 52
      C.      Releases by Holders of Claims and Interests .................................................................................. 54
      D.      Restrictions on Lender Releases. .................................................................................................... 55
      E.      Exculpation ..................................................................................................................................... 55
      F.      Permanent Injunction ...................................................................................................................... 55
      G.      Setoffs ............................................................................................................................................. 56
      H.      Release of Liens .............................................................................................................................. 56
      I.      Preservation of All Causes of Action Not Expressly Settled or Released ....................................... 56
      J.      Limitations on Executable Assets with Respect to the Specified Directors and Officers
              Claims. ............................................................................................................................................ 57

ARTICLE XI. BINDING NATURE OF PLAN .......................................................................................................... 57

ARTICLE XII. RETENTION OF JURISDICTION.................................................................................................... 57

ARTICLE XIII. MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN .................................... 59
      A.       Modifications and Amendments ..................................................................................................... 59
      B.       Effect of Confirmation on Modifications ........................................................................................ 59
      C.       Revocation or Withdrawal of the Plan ............................................................................................ 59
      D.       Substantial Consummation of the Plan ........................................................................................... 60

ARTICLE XIV. MISCELLANEOUS PROVISIONS ................................................................................................. 60
      A.     Successors and Assigns................................................................................................................... 60


                                                                                (ii)
Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 4 of 70



B.    Reservation of Rights ...................................................................................................................... 60
C.    Further Assurances.......................................................................................................................... 60
D.    Payment of Fees and Expenses ....................................................................................................... 60
E.    Service of Documents ..................................................................................................................... 60
F.    Dissolution of Committee ............................................................................................................... 62
G.    Nonseverability of Plan Provisions ................................................................................................. 63
H.    Return of Security Deposits ............................................................................................................ 63
I.    Term of Injunctions or Stays ........................................................................................................... 63
J.    Entire Agreement ............................................................................................................................ 63
K.    Exhibits ........................................................................................................................................... 63
L.    Votes Solicited in Good Faith ......................................................................................................... 63
M.    Conflicts .......................................................................................................................................... 64
N.    Filing of Additional Documents...................................................................................................... 64
O.    Tax Reporting and Compliance ...................................................................................................... 64




                                                                (iii)
        Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 5 of 70



                                                 INTRODUCTION

         Alta Mesa Resources, Inc. and certain of its subsidiaries in the above-captioned Chapter 11 Cases respectfully
propose the following joint plan of liquidation under chapter 11 of the Bankruptcy Code. Capitalized terms used in
the Plan shall have the meanings ascribed to such terms in Article I hereof.

                                                     ARTICLE I.

          DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME AND
                                   GOVERNING LAW

A.       Defined Terms

         Unless the context otherwise requires, the following terms shall have the following meanings when used in
capitalized form herein:

           1.     “Accrued Professional Compensation” means, at any given moment, all accrued, contingent, or unpaid
fees and expenses (including, without limitation, success fees) for legal, financial advisory, accounting, and other
services and reimbursement of expenses that are awardable and allowable under sections 328, 330(a), or 331 of the
Bankruptcy Code before the Effective Date by any retained Professional in the Chapter 11 Cases, or that are awardable
and allowable under section 503 of the Bankruptcy Code, that the Bankruptcy Court has not denied by a Final Order,
all to the extent that any such fees and expenses have not been previously paid (regardless of whether a fee application
has been Filed for any such amount). To the extent that the Bankruptcy Court or any higher court denies or reduces
by a Final Order any amount of a Professional’s fees or expenses, then those reduced or denied amounts shall no
longer constitute Accrued Professional Compensation. For the avoidance of doubt, Accrued Professional
Compensation shall include all Committee Fees.

         2.    “Ad Hoc Noteholder Group” means the ad hoc group of Holders of the Prepetition Senior Notes
represented by Davis Polk & Wardwell LLP, Rapp & Krock, PC and Houlihan Lokey.

         3.      “Administrative Claim” means a Claim for costs and expenses of administration pursuant to sections
503(b), 507(a)(2), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary costs and expenses
incurred after the AMR/AMH Petition Date or the SRII Petition Date, as applicable, and through the Effective Date
of preserving the Estates and operating the businesses of the Debtors; (b) compensation for legal, financial advisory,
accounting, and other services and reimbursement of expenses Allowed as Fee Claims pursuant to sections 328,
330(a), or 331 of the Bankruptcy Code or otherwise for the period commencing on the AMR/AMH Petition Date or
the SRII Petition Date, as applicable, and through the Effective Date; and (c) all Statutory Fees.

         4.     “Administrative Claims Bar Date” means the Business Day that is thirty (30) days after the Effective
Date, or such other date as approved by Final Order of the Bankruptcy Court.

         5.     “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

         6.     “Allowed” means, with reference to any Claim or Interest: (a) any Claim or Interest as to which no
objection to allowance has been interposed (either in the Bankruptcy Court or in the ordinary course of business) on
or before the Claims Objection Deadline or the applicable period of limitation fixed by the Bankruptcy Code, the
Bankruptcy Rules, or the Bankruptcy Court, or that has been allowed by a Final Order, either before or after the
Effective Date; (b) any Claim or Interest as to which the liability of the Debtors and the amount thereof are determined
by a Final Order of the Bankruptcy Court, either before or after the Effective Date; (c) any Claim or Interest expressly
deemed Allowed by the Plan; (d) all scheduled Claims listed as undisputed, not contingent and not unliquidated; or
(e) any Claim or Interest affirmatively Allowed by the Debtors, or following the Effective Date, by the Plan
Administrator.

         7.   “AMH Adequate Protection Claims” means the Adequate Protection Claims belonging to the
Prepetition AMH RBL Agent pursuant to and as defined in the Cash Collateral Orders.
        Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 6 of 70



         8.     “AMH Adequate Protection Payments” means all adequate protection payments made to or for the
benefit of the Prepetition AMH RBL Agent or Prepetition AMH RBL Lenders under the Cash Collateral Orders,
including without limitation the Prepetition AMH RBL Agent Fees paid by the Debtors postpetition, and all interest,
fees, costs and charges and all other amounts paid under the Cash Collateral Orders, but excluding the Interim
Distribution.

         9.    “AMH Cash on Hand” means all Cash held by the AMH Debtors on the Effective Date other than the
Net Sale Proceeds.

         10. “AMH Claims Reserve” means a reserve to be established by the Debtors on or before the Effective
Date and comprised of AMH Distributable Cash in the amount of the AMH Claims Reserve Amount, except to the
extent any portion of such amount is distributed on the Effective Date pursuant to the Plan Administration Process,
which reserve shall vest in the AMH Plan Administration Trust as of the Effective Date; provided, that the Prepetition
AMH RBL Agent, on behalf of the Prepetition AMH RBL Lenders, shall have a reversionary interest in any funds
remaining in the AMH Claims Reserve after all required payments from the AMH Plan Administration Trust in
accordance with the terms of this Plan.

         11. “AMH Claims Reserve Amount” means the sum of (a) the AMH Other Secured Claims Reserve
Amount, (b) the AMH Priority Claims Reserve Amount, (c) the AMH GUC Distribution Cash, (d) the Prepetition
Senior Notes Distribution Cash, (e) the aggregate face amount, or estimated amount under section 502(c) of the
Bankruptcy Code, if applicable, of Cure Claims against the AMH Debtors by counterparties to Executory Contracts
and Unexpired Leases to be assumed or assigned by the AMH Debtors, to the extent any such Cure Claim is disputed
by the Debtors, and (f) the estimated aggregate face amount of accrued but unpaid Administrative Claims (including
Fee Claims) against the AMH Debtors as of the Effective Date, including Claims arising under section 503(b)(9) of
the Bankruptcy Code, which estimate shall be made in good faith by the AMH Debtors, in consultation with the
Prepetition AMH RBL Agent, based on the AMH Debtors’ books and records, in the case of each of (a) through (f),
solely to the extent such Claims or expenses are not assumed or otherwise paid by the Purchaser pursuant to the
Purchase Agreement in connection with the Sale. Notwithstanding anything to the contrary herein, the AMH Claims
Reserve Amount with respect to the Claims described in clauses (a), (b), (e) and (f) above shall not exceed the budgeted
amounts for payment of such Claims set forth in the Wind Down Budget.

         12.    “AMH Debtor Releases” shall have the meaning given to such term in Article X.B.1 of the Plan.

         13. “AMH Debtor Representatives” means with respect to each of the AMH Debtors, such Debtor’s
(a) current and former directors, managers, and officers set forth on Schedule 1 of this Plan, in all relevant capacities
(including, without limitation, in their capacity as directors, managers, or officers of the Debtors or the KFM Debtors),
(b) current and former employees who are not directors, managers or officers (in their respective capacities as
employees of the Debtors or the KFM Debtors), (c) financial advisors, (d) attorneys, (e) accountants, (f) investment
bankers, (g) consultants (including, without limitation, Meridian Energy LLC in all capacities other than its capacity
as a consultant to any Excluded Parties, but not in its capacity as a consultant to any Excluded Parties), and (h) other
professionals; provided, however, that notwithstanding anything to the contrary herein, “AMH Debtor
Representatives” shall not include any Excluded Parties.

        14.   “AMH Debtors” means Alta Mesa Holdings, LP, Alta Mesa Holdings GP, LLC, OEM GP, LLC, Alta
Mesa Finance Services Corp., Alta Mesa Services, LP, and Oklahoma Energy Acquisitions, LP.

         15. “AMH Distributable Cash” means Cash in an amount equal to the sum of (a) the Net Sale Proceeds
from the Sale, plus (b) all AMH Cash on Hand, plus (c) the proceeds of all other non-Cash assets of the Estates of the
AMH Debtors after giving effect to the Sale, plus (d) the KFM/AMH Settlement Proceeds, plus (e) any Unused
Professional Fee Reserve Amount, but excluding any AMH Litigation Trust Causes of Action Proceeds.

          16. “AMH General Unsecured Claim” means any unsecured Claim against any of the AMH Debtors that
is not an Administrative Claim, a Priority Tax Claim, an Other Priority Claim, a Fee Claim, a Prepetition Senior Notes
Claim, a Prepetition AMH RBL Deficiency Claim, an Intercompany Claim, or a Section 510(b) Claim.




                                                           2
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 7 of 70



          17. “AMH GUC Claim Administrator” means the individual appointed to File, settle, compromise,
withdraw, or litigate to judgment any objections to AMH General Unsecured Claims as more fully set forth in Article
VIII of this Plan and pursuant to the terms of the AMH GUC Claim Administrator Agreement. The AMH GUC Claim
Administrator shall be designated by the Committee, reasonably acceptable to the AMH Debtors and the Prepetition
AMH RBL Agent, and identified in the Plan Supplement.

        18. “AMH GUC Claim Administrator Agreement” means the agreement to be entered into by and among
the AMH Debtors, the AMH Plan Administrator, the AMH GUC Claim Administrator, and the AMH GUC Claim
Oversight Committee, and included in the Plan Supplement. The AMH GUC Claim Administrator Agreement shall
incorporate and provide more detail regarding the provisions of this Plan concerning the AMH GUC Claim
Administrator, including, without limitation, its rights, privileges and duties pursuant to this Plan.

         19. “AMH GUC Claim Administrator Reserve” means the reserve to be established by the AMH Debtors
on or before the Effective Date and comprised of Cash in the amount of $200,000 which shall be held by and used to
pay the reasonable fees and expenses incurred by the AMH GUC Claim Administrator as set forth in this Plan and the
AMH GUC Claim Administrator Agreement, provided, however, that the aggregate amount of such fees and expenses
shall be capped at $200,000 and neither the AMH Debtors, nor the AMH RBL Agent or AMH RBL Lenders, any
member of the Committee or any other party shall have any obligation to provide additional funds to pay for such fees
and expenses and in the event that the full amount of such AMH GUC Claim Reserve is not utilized by the GUC
Claims Administrator, such excess funds shall be added to AMH GUC Distribution Cash or donated to a charity
chosen by the AMH GUC Claim Administrator in consultation with the AMH GUC Claim Oversight Committee.

         20. “AMH GUC Claim Disbursing Agent” means the Person designated by the Committee, which
designation shall be reasonably acceptable to the AMH Debtors, who shall act as the exclusive Disbursing Agent for,
and shall make all required distributions under this Plan to the holders of, Allowed Class 5 AMH General Unsecured
Claims. The AMH GUC Claim Disbursing Agent shall be identified in the Plan Supplement.

          21. “AMH GUC Claim Oversight Committee” means (if applicable) that certain board consisting of up to
three (3) individuals initially appointed by the Committee to advise the AMH GUC Claim Administrator in connection
with the claims reconciliation, objection and settlement process pursuant to this Plan and the AMH GUC Claim
Administrator Agreement. The initial members of the AMH GUC Claim Oversight Committee shall be identified in
the Plan Supplement.

         22. “AMH GUC Distribution Cash” means Cash in the amount of $2.5 million, which shall be funded
from the AMH Distributable Cash; provided, however, that to the extent any AMH General Unsecured Claim of
Mustang Gas Products, LLC is Allowed in an amount in excess of $10 million, the amount of the AMH GUC
Distribution Cash may be modified as mutually agreed by the Ad Hoc Noteholder Group and the Committee in good
faith.

        23.    “AMH Interest” means an Interest in an AMH Debtor that is not an Intercompany Interest.

        24.    “AMH Litigation Trust” means the trust to be formed pursuant to Article V.K. of the Plan.

         25. “AMH Litigation Trust Agreement” means the litigation trust agreement to be entered into by and
among the AMH Debtors and the AMH Litigation Trustee with respect to the AMH Litigation Trust, which shall be
in form and substance acceptable to the Prepetition AMH RBL Agent and the Ad Hoc Noteholder Group in
consultation with the AMH Debtors.

         26. “AMH Litigation Trust Assets” means the (a) AMH Litigation Trust Funds (solely to the extent
contributed to the AMH Debtors’ Estates prior to the Effective Date) and (b) AMH Litigation Trust Causes of Action.

        27. “AMH Litigation Trust Causes of Action” means all Causes of Action belonging to the AMH Debtors,
which shall be contributed to the AMH Litigation Trust under the Plan, including without limitation, all Causes of
Action of the AMH Debtors identified on the Schedule of Retained and Assigned Causes of Action and all Causes of
Action of the AMH Debtors against the Excluded Parties, but excluding (i) any Causes of Action released by the



                                                         3
        Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 8 of 70



Debtors under this Plan (including any Causes of Action against the KFM Debtors and KFM Releasing Parties in
connection with that certain adversary proceeding under the caption Alta Mesa Holdings, LP v. Kingfisher Midstream,
LLC, No. 19-03609 (MI) released pursuant to Article V.D hereof, to the extent the KFM Debtors and KFM Releasing
Parties are AMH Released Parties hereunder) or (ii) acquired by the Purchaser pursuant to the Purchase Agreement in
connection with the Sale.

        28. “AMH Litigation Trust Causes of Action Proceeds” means all proceeds of the AMH Litigation Trust
Causes of Action.

       29.        “AMH Litigation Trust Contribution Parties” means the Persons or Entities to be identified in the Plan
Supplement.

         30. “AMH Litigation Trust Funds” means Cash to be funded to the AMH Litigation Trust Fund by the
AMH Litigation Trust Contribution Parties and to be used to by the AMH Litigation Trust to pursue the AMH
Litigation Trust Causes of Action and otherwise administer the AMH Litigation Trust in accordance with the Plan,
the AMH Litigation Agreement, the Confirmation Order or other orders of the Bankruptcy Court.

          31. “AMH Litigation Trust Interests” means the beneficial interests in the AMH Litigation Trust to be
distributed on a pro rata basis to holders of Prepetition Senior Notes Claims and Prepetition AMH RBL Deficiency
Claims; provided that the AMH Litigation Trust Interests distributed in respect of the Prepetition AMH RBL
Deficiency Claims shall be subject to adjustment, as provided in the AMH Litigation Trust Agreement, as a result of
the distribution of Excess AMH Reserve Amounts or the Cash monetization of the Reserved ORRI issued pursuant to
Article III.C.2.c.iii hereof.

         32. “AMH Litigation Trustee” means the individual appointed to act as trustee of the AMH Litigation
Trust or any successor thereto pursuant to the terms of the AMH Litigation Trust Agreement. The identity of the
AMH Litigation Trustee shall be acceptable to the Prepetition AMH RBL Agent and Ad Hoc Noteholder Group, in
consultation with the AMH Debtors.

         33.     “AMH Other Secured Claims Reserve Amount” means the aggregate face amount, or estimated
amount under section 502(c) of the Bankruptcy Code, if applicable, of all Claims against the AMH Debtors, other
than Prepetition AMH RBL Claims, that are either (a) identified in the Schedules as Secured or (b) asserted to be
Secured in a proof of claim validly submitted on or before the AMR/AMH Claims Bar Date, less the face amount, or
estimated amount under section 502(c) of the Bankruptcy Code, if applicable, of any such Claims (x) identified by the
Debtors in their reasonable discretion as duplicative of other such Claims or (y) that shall be satisfied in full by the
return of the applicable collateral to the Holder of such Claim, as determined by the AMH Debtors, each with the
consent of the Prepetition AMH RBL Lenders (not to be unreasonably withheld); provided that the Debtors shall
disclose the AMH Other Secured Claims Reserve Amount in a document filed with the Bankruptcy Court no later
than seven (7) days before the Confirmation Hearing. Notwithstanding anything to the contrary herein, the AMH
Other Secured Claims Reserve Amount shall not exceed the budgeted amounts for payment of AMH Other Secured
Claims set forth in the Wind Down Budget.

            34.   “AMH Plan Administration Trust” means the trust to be formed pursuant to Article V.F of the Plan.

         35. “AMH Plan Administration Trust Agreement” means the liquidating trust agreement to be entered into
by and among the AMH Debtors and the AMH Plan Administrator with respect to the AMH Plan Administration
Trust, which shall be in form and substance acceptable to the Debtors, the Prepetition AMH RBL Agent, and the Ad
Hoc Noteholder Group (solely in respect of any provisions relating to Class 4 Prepetition Senior Notes Claims or
Prepetition Senior Notes Cash) and the Committee (solely in respect of any provisions relating to Class 5 General
Unsecured Claims or AMH GUC Distribution Cash), and shall be included in the Plan Supplement.

            36.   “AMH Plan Administration Trust Assets” shall have the meaning given to such term in Article V.F of
the Plan.




                                                            4
        Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 9 of 70



         37. “AMH Plan Administration Trust Funds” means Cash in the amount set forth in the Wind Down
Budget, to be funded to the AMH Wind Down Reserve and to be used by the AMH Plan Administrator to administer
the AMH Plan Administration Trust in accordance with the Plan Administration Process.

         38. “AMH Plan Administrator(s)” means Michael A. Tribolet, who will act as the administrator of the
Plan Administration Process with respect to the AMH Debtors and the trustee of the AMH Plan Administration Trust
or any successor(s) thereto pursuant to the terms of the AMH Plan Administration Trust Agreement, with any such
successor(a) being acceptable to the Prepetition AMH RBL Agent and the Committee, and reasonably acceptable to
the AMH Debtors and the Ad Hoc Noteholder Group, and shall be included in the Plan Supplement.

          39. “AMH Priority Claims Reserve Amount” means the aggregate face amount, or estimated amount under
section 502(c) of the Bankruptcy Code, if applicable, of all Claims, including Other Priority Claims and Priority Tax
Claims, but excluding Administrative Claims, against the AMH Debtors that are either (a) identified in the Schedules
as entitled to priority in right of payment under section 507(a) of the Bankruptcy Code, or (b) asserted to be entitled
to such priority in a proof of claim validly submitted on or before the AMR/AMH Claims Bar Date, less the face
amount, or estimated amount under section 502(c) of the Bankruptcy Code, if applicable, of any such Claims identified
by the Debtors in their reasonable discretion as duplicative of other such Claims; provided that the Debtors shall
disclose the AMH Priority Claims Reserve Amount in a document filed with the Bankruptcy Court no later than seven
(7) days before the Confirmation Hearing. Notwithstanding anything to the contrary herein, the AMH Priority Claims
Reserve Amount shall not exceed the aggregate budgeted amounts for payment of such Claims set forth in the Wind
Down Budget.

         40. “AMH Released Party” means (a) the Purchaser and the Purchaser Parties; (b) each of the Prepetition
AMH RBL Agent and the Prepetition AMH RBL Lenders and each of their respective Representatives; (c) the AMH
Debtors and the AMH Debtor Representatives; (d) the AMR/SRII Debtor Representatives; (e) the Committee and
each of its members; (f) each member of the Ad Hoc Noteholder Group; (g) the Indenture Trustee; (h) the KFM
Releasing Parties; (i) each Holder of the Prepetition Senior Notes, to the extent they are an AMH Releasing Party, (j)
each Holder of an AMH General Unsecured Claim, solely with respect to any Avoidance Actions that could be asserted
by any AMH Debtor against such Holder, to the extent such Holder is an AMH Releasing Party; (k) each Holder of a
Claim or Interest described in clauses (h) through (j) of the definition of AMH Releasing Parties; provided, however,
that notwithstanding anything to the contrary herein, (x) “AMH Released Parties” shall not include any Excluded
Parties and (y) the AMH Released Parties shall not include the KFM Releasing Parties (1) if the KFM Plan does not
include mutual releases of the AMH Releasing Parties set forth in clauses (b) through (g) of the definition of “AMH
Releasing Parties” and (2) unless and until (x) the KFM Effective Date has occurred and the releases by the KFM
Releasing Parties of the AMH Releasing Parties set forth in clauses (b) through (g) of the definition of “AMH
Releasing Parties” have become effective and binding, and (y) the KFM/AMH Settlement Proceeds have been paid
by the KFM Debtors and received by the AMH Debtors pursuant to Article V.D hereof.

          41. “AMH Releasing Parties” means (a) the Purchaser and the Purchaser Parties; (b) each of the
Prepetition AMH RBL Agent and the Prepetition AMH RBL Lenders and each of their respective Representatives;
(c) the AMH Debtors and the AMH Debtor Representatives; (d) AMR and the SRII Debtors and the AMR/SRII Debtor
Representatives; (e) the Committee [and each of its members;] (f) each member of the Ad Hoc Noteholder Group; (g)
the Indenture Trustee; (h) each Holder of a Claim or Interest that votes to accept the Plan; (i) each Holder of a Claim
or Interest that is entitled to vote on the Plan and does not both (x) vote to reject the Plan or abstain from voting to
accept or reject the Plan and (y) elect the Release Opt-Out on its Ballot; and (j) each Holder of a Claim or Interest that
is presumed to accept or deemed to reject the Plan and does not elect the Release Opt-Out on its Release Opt-Out
Form. For the avoidance of doubt, (i) any Person or Entity that opts out of the AMH Third-Party Releases set forth
in this Plan shall not be deemed an AMH Releasing Party, (ii) the AMH Releasing Parties set forth in clauses (a)
through (h) above shall not be entitled to exercise the Release Opt-Out with respect to the AMH Debtors and any
purported exercise of the Release Opt-Out by such parties shall be void ab initio and (iii) notwithstanding anything to
the contrary herein, “AMH Releasing Parties” shall not include any Excluded Parties.

         42.    “AMH Third-Party Releases” shall have the meaning given to such term in Article X.C.2 of the Plan.

      43. “AMH Wind Down Amount” means the net Cash expenditures attributable to the Wind Down of the
AMH Debtors as reflected in the Wind Down Budget (as the same may be modified or amended from time to time


                                                            5
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 10 of 70



before the Effective Date with the consent of the Prepetition AMH RBL Agent), which, for the avoidance of doubt,
shall include the AMH Plan Administration Trust Funds and the AMH GUC Claim Administrator Reserve; provided,
however, that the Wind Down Budget and AMH Wind Down Amount cannot be modified or amended to reduce the
amounts budgeted for any Fee Claims without the express consent of the applicable Professionals).

          44. “AMH Wind Down Reserve” means a reserve to be established by the Debtors on or before the
Effective Date and comprised of AMH Distributable Cash in the amount of the AMH Wind Down Amount, which
reserve shall vest in the AMH Plan Administration Trust as of the Effective Date; provided, however, that, on the
Effective Date, the AMH GUC Claim Administrator Reserve shall be transferred to the AMH GUC Claim
Administrator and the AMH GUC Distribution Cash shall be transferred to the AMH GUC Claim Disbursing Agent
to be held in trust for the benefit of the Holders of Allowed Class 5 AMH General Unsecured Claims; provided further,
that the Prepetition AMH RBL Agent, on behalf of the Prepetition AMH RBL Lenders, shall have a reversionary
interest in any funds remaining in the AMH Wind Down Reserve after completion of the Wind Down in accordance
with the terms of this Plan.

         45.    “AMR” means Alta Mesa Resources, Inc.

         46. “AMR/AMH Claims Bar Date” means the applicable deadline by which proofs of Claim must be filed
under the Claims Bar Date Order.

          47. “AMR/AMH Petition Date” means the date on which AMR and the AMH Debtors Filed their petitions
for relief commencing the Chapter 11 Cases.

         48.    “AMR Cash on Hand” means all Cash held by AMR on the Effective Date.

         49. “AMR Claims Reserve” means a reserve to be established by the Debtors on or before the Effective
Date and comprised of AMR Distributable Cash in the amount of the AMR Claims Reserve Amount, except to the
extent any portion of such amount is distributed on the Effective Date pursuant to the Plan Administration Process,
which reserve shall vest in the Plan Administration Trust as of the Effective Date.

          50. “AMR Claims Reserve Amount” means the sum of (a) the AMR Other Secured Claims Reserve
Amount, (b) the AMR Priority Claims Reserve Amount, (c) the aggregate face amount, or estimated amount under
section 502(c) of the Bankruptcy Code, if applicable, of Cure Claims against AMR by counterparties to Executory
Contracts and Unexpired Leases to be assumed or assigned by AMR, to the extent any such Cure Claim is disputed
by the Debtors, and (d) the aggregate face amount, or estimated amount under section 502(c) of the Bankruptcy Code,
if applicable, of accrued but unpaid Administrative Claims (including Fee Claims) against AMR as of the Effective
Date, including Claims arising under section 503(b)(9) of the Bankruptcy Code, in each case, solely to the extent such
Claims or expenses are not assumed by the Purchaser pursuant to the Purchase Agreement in connection with the Sale.

         51.    “AMR Debtor Releases” shall have the meaning given to such term in Article X.C.1 of the Plan.

          52. “AMR Distributable Cash” means Cash in an amount equal to the sum of (a) all AMR Cash on Hand,
plus (b) the proceeds of all AMR Retained Causes of Action, plus (c) the proceeds of all other non-Cash assets of the
Estates of AMR, including any Excess SRII Distributable Cash and Excess SRII Reserve Amounts to which AMR
may be entitled on account of its Interest in SRII pursuant to Article III.C.10 of this Plan.

         53. “AMR General Unsecured Claim” means any unsecured Claim against AMR that is not an
Administrative Claim, a Priority Tax Claim, an Other Priority Claim, a Fee Claim, an Intercompany Claim, or a
Section 510(b) Claim.

         54.    “AMR Interest” means an Interest in AMR.

         55. “AMR Other Secured Claims Reserve Amount” means the aggregate face amount, or estimated amount
under section 502(c) of the Bankruptcy Code, if applicable, of all Claims against AMR that are either (a) identified in
the Schedules as Secured or (b) asserted to be Secured in a proof of claim validly submitted on or before the



                                                          6
        Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 11 of 70



AMR/AMH Claims Bar Date, less the face amount, or estimated amount under section 502(c) of the Bankruptcy Code,
if applicable, of any such Claims (x) identified by the Debtors in their reasonable discretion as duplicative of other
such Claims or (y) that shall be satisfied in full by the return of the applicable collateral to the Holder of such Claim,
as determined by the AMH Debtors, which shall be funded from the AMR Distributable Cash; provided that the
Debtors shall disclose the AMR Other Secured Claims Reserve Amount in a document filed with the Bankruptcy
Court no later than seven (7) days before the Confirmation Hearing.

          56. “AMR/SRII Debtor Representatives” means with respect to each of AMR and the SRII Debtors, such
Debtor’s current and former (a) equity holders, (b) officers, directors, and managers (in all relevant capacities,
including, without limitation, in their capacity as officers, directors or managers of the Debtors or the KFM Debtors),
(c) principals, (d) employees (in all relevant capacities, including, without limitation, in their capacity as employees
of the Debtors or the KFM Debtors), (e) members, (f) agents, (g) advisory board members, (h) financial advisors, (i)
partners, (j) attorneys, (k) accountants, (l) investment bankers, (m) consultants (including, without limitation, Meridian
Energy LLC), (n) representatives, and (o) other professionals, each in their capacity as such; provided, however, that
“AMR/SRII Debtor Representatives” shall not include (i) ARM Energy Management, LLC, ARM-M-1 LLC, Asset
Risk Management, LLC, and ARM Midstream, LLC, (ii) High Mesa, Inc. and its subsidiaries (excluding, for the
avoidance of doubt, any Debtors), (iii) KFM Holdco LLC, or (iv) the Sponsor Parties.

         57.    “AMR/SRII Plan Administration Trust” means the trust to be formed pursuant to Article V.F of the
Plan.

         58. “AMR/SRII Plan Administration Trust Agreement” means the liquidating trust agreement to be entered
into by and among AMR, the SRII Debtors, and the AMR/SRII Plan Administrator with respect to the AMR/SRII
Plan Administration Trust.

         59. “AMR/SRII Plan Administration Trust Funds” means (a) Cash to be funded to the AMR Wind Down
Reserve and (b) Cash to be funded to the SRII Wind Down Reserve, in each case to be used by the AMR/SRII Plan
Administration Trust to pursue the AMR Retained Causes of Action and the SRII Retained Causes of Action,
respectively, and otherwise administer the AMR/SRII Plan Administration Trust, in accordance with the Plan
Administration Process. For the avoidance of doubt, no assets of the AMH Debtors shall be used to fund the AMR
Wind Down Reserve or the SRII Wind Down Reserve.

        60. “AMR/SRII Plan Administrator” means that person selected by AMR and the SRII Debtors to act as
the administrator of the Plan Administration Process with respect to AMR and the SRII Debtors and the trustee of the
AMR/SRII Plan Administration Trust or any successor thereto pursuant to the terms of the AMR/SRII Plan
Administration Trust Agreement.

         61. “AMR/SRII Retained Causes of Action” means, collectively, the AMR Retained Causes of Action and
the SRII Retained Causes of Action and shall exclude, for the avoidance of doubt, the AMH Litigation Trust Causes
of Action and any Causes of Action released by the Debtors under this Plan or acquired by the Purchaser pursuant to
the Purchase Agreement in connection with the Sale.

         62.    “AMR/SRII Trust Assets” shall have the meaning given to such term in Article V.F of the Plan.

          63. “AMR Priority Claims Reserve Amount” means the aggregate face amount, or estimated amount under
section 502(c) of the Bankruptcy Code, if applicable, of all Claims, including Other Priority Claims and Priority Tax
Claims, but excluding Administrative Claims, against AMR that are either (a) identified in the Schedules as entitled
to priority in right of payment under section 507(a) of the Bankruptcy Code, or (b) asserted to be entitled to such
priority in a proof of claim validly submitted on or before the AMR/AMH Claims Bar Date, less the face amount, or
estimated amount under section 502(c) of the Bankruptcy Code, if applicable, of any such Claims identified by the
Debtors in their reasonable discretion as duplicative of other such Claims, which shall be funded from the AMR
Distributable Cash; provided that the Debtors shall disclose the AMR Priority Claims Reserve Amount in a document
filed with the Bankruptcy Court no later than seven (7) days before the Confirmation Hearing.




                                                            7
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 12 of 70



         64. “AMR Released Party” means (a) the Purchaser and the Purchaser Parties; (b) each of the Prepetition
AMH RBL Agent and the Prepetition AMH RBL Lenders and each of their respective Representatives; (c) the AMH
Debtors and the AMH Debtor Representatives; (d) AMR, the SRII Debtors and the AMR/SRII Debtor
Representatives; (e) the current and former directors, managers, and officers of the KFM Debtors; (f) the Committee
and each of its members; and (g) each of the Sponsor Parties; provided, that notwithstanding anything to the contrary
herein, “AMR Released Parties” shall not include (i) ARM Energy Management, LLC, ARM-M-1 LLC, Asset Risk
Management, LLC, and ARM Midstream, LLC, or (ii) High Mesa, Inc. and its subsidiaries (excluding, for the
avoidance of doubt, any Debtors).

         65. “AMR Releasing Parties” means (a) the Purchaser and the Purchaser Parties; (b) each of the Prepetition
AMH RBL Agent and the Prepetition AMH RBL Lenders and each of their respective Representatives; (c) the AMH
Debtors and the AMH Debtor Representatives; (d) AMR, the SRII Debtors, and the AMR/SRII Debtor
Representatives; (e) the Committee [and each of its members]; (f) each of the Sponsor Parties; (g) each Holder of a
Claim or Interest that votes to accept the Plan; (h) each Holder of a Claim or Interest that is entitled to vote on the Plan
and does not both (x) vote to reject the Plan or abstain from voting to accept or reject the Plan and (y) elect the Release
Opt-Out on its Ballot; and (i) each Holder of a Claim or Interest that is presumed to accept or deemed to reject the
Plan and does not elect the Release Opt-Out on its Release Opt-Out Form; provided, however, that notwithstanding
anything to the contrary herein, (1) the parties identified in clauses (b), (c) and (e) of this definition shall not be deemed
to release any of the Excluded Parties in any capacity, and (2) neither the Indenture Trustee nor any Holder of the
Prepetition Senior Notes shall be deemed an AMR Releasing Party. For the avoidance of doubt, (i) any Person or
Entity that opts out of the AMR Third-Party Releases set forth in this Plan shall not be deemed an AMR Releasing
Party, and (ii) the AMR Releasing Parties set forth in clauses (a) through (g) above shall not be entitled to exercise
the Release Opt-Out with respect to AMR and the SRII Debtors and any purported exercise of the Release Opt-Out
by such parties shall be void ab initio.

         66. “AMR Retained Causes of Action” means the Causes of Action belonging to AMR that are being
retained by AMR and vesting in the AMR/SRII Plan Administration Trust under the Plan, as identified on the
applicable Schedule of Retained and Assigned Causes of Action, which shall exclude, for the avoidance of doubt, any
Causes of Action released by the Debtors under this Plan.

           67.   “AMR Third-Party Releases” shall have the meaning given to such term in Article X.B.2 of the Plan.

         68. “AMR Wind Down Amount” means the net Cash expenditures attributable to the Wind Down of AMR,
which, for the avoidance of doubt, shall include the AMR/SRII Plan Administration Trust Funds.

         69. “AMR Wind Down Reserve” means a reserve to be established by the Debtors on or before the
Effective Date and comprised of AMR Distributable Cash in the amount of the AMR Wind Down Amount, which
reserve shall vest in the Plan Administration Trust as of the Effective Date.

          70. “Avoidance Actions” means any and all claims and Causes of Action that any of the Debtors, the
Debtors in Possession, the Estates, or other appropriate party in interest has asserted or may assert under sections 502,
510, 542, 544, 545, or 547 through 553 of the Bankruptcy Code or under similar or related state or federal statutes and
common law, including fraudulent transfer laws. Notwithstanding anything to the contrary herein, all Avoidance
Actions against holders of AMH General Unsecured Claims who are AMH Releasing Parties, AMR General
Unsecured Claims or SRII General Unsecured Claims shall be automatically deemed released upon the occurrence of
the Effective Date, regardless of whether any such Holder votes to accept or reject the Plan, or abstains from voting,
or elects the Release Opt-Out on its Ballot; provided, that the foregoing shall not apply to any claims or Causes of
Action of any AMH Debtors against any of the Excluded Parties or any creditor of the AMH Debtors who elects the
Release Opt-Out on its Ballot.

           71.   “Balloting Agent” means Prime Clerk LLC, in its capacity as notice and balloting agent for the
Debtors.

        72. “Ballots” means the ballots accompanying the Disclosure Statement upon which certain Holders of
Impaired Claims and Interests entitled to vote shall, among other things, indicate their acceptance or rejection of the



                                                              8
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 13 of 70



Plan in accordance with the Plan and the procedures governing the solicitation process, and which must be actually
received by the Balloting Agent on or before the Voting Deadline.

         73. “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as applicable
to the Chapter 11 Cases.

          74. “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas,
having jurisdiction over the Chapter 11 Cases and, to the extent of the withdrawal of any reference under section 157
of title 28 of the United States Code, the United States District Court for the Southern District of Texas.

        75. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as applicable to the Chapter
11 Cases, promulgated by the United States Supreme Court under 28 U.S.C. § 2075 and the general, local, and
chambers rules of the Bankruptcy Court, as each may be amended from time to time.

         76. “Bidding Procedures Order” means the order of the Bankruptcy Court approving bidding procedures
for the Debtors’ asset marketing and sale process (as amended) [Docket Nos. 317, 636, and 666].

        77. “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

         78.    “Cash” means the legal tender of the United States of America or the equivalent thereof.

         79.    “Cash Collateral” has the meaning set forth in the Cash Collateral Orders.

          80. “Cash Collateral Orders” means the Second Amended Final Order Under Bankruptcy Code Sections
105(a), 361, 362, 363, 503, and 507, Bankruptcy Rules 4001 and 9014, and Complex Case Rules (I) Authorizing
Debtors to Use Cash Collateral; (II) Granting Adequate Protection to Prepetition Secured Parties; (III) Modifying
Automatic Stay; and (IV) Granting Related Relief [Docket No. 1250], as the same may be amended, modified or
supplemented from time to time, and all other interim and final orders granting the Debtors use of cash collateral, as
filed at Docket Nos. 63, 308, 481, and 567.

           81. “Causes of Action” means all actions, causes of action (including Avoidance Actions), Claims,
liabilities, obligations, rights, suits, accounts, agreements, debts, dues, sums of money, damages, reckonings, rights to
legal remedies, rights to equitable remedies, rights to payment and claims, controversies, covenants, promises,
judgments, remedies, demands, setoffs, defenses, recoupments, cross claims, counterclaims, third-party claims,
indemnity claims, contribution claims, or any other claims, disputed or undisputed, suspected or unsuspected, known
or unknown, foreseen or unforeseen, reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed,
contingent, matured, unmatured, secured, or unsecured, direct or indirect, choate or inchoate, existing or hereafter
arising, in law, equity, or otherwise, whether asserted or assertable directly or derivatively, based in whole or in part
upon any act or omission or other event occurring prior to the AMR/AMH Petition Date or the SRII Petition Date, as
applicable, or during the course of the Chapter 11 Cases, including through the Effective Date and also includes,
without limitation: (a) any right of setoff, counterclaim, or recoupment and any claim on contracts or for breaches of
duties imposed by law or in equity; (b) the right to object to Claims or Interests; (c) any claim pursuant to section 362
of the Bankruptcy Code; (d) any claim or defense, including fraud, mistake, duress, and usury and any other defenses
set forth in section 558 of the Bankruptcy Code; and (e) any state law fraudulent transfer claim.

         82.    “Certificate” means any instrument evidencing an extinguished Claim or Interest.

        83. “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the chapter 11 case
pending for that Debtor in the Bankruptcy Court and (b) when used with reference to all Debtors, the jointly
administered and procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

         84.    “Claim” means any claim against a Debtor as defined in section 101(5) of the Bankruptcy Code.




                                                           9
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 14 of 70



         85. “Claims Bar Date Order” means the order of the Bankruptcy Court establishing the deadline by which
proofs of Claim against AMR or the AMH Debtors must be Filed [Docket No. 188].

         86. “Claims Objection Deadline” means the date that is six (6) months after the Effective Date, which
such date may be extended by the applicable Plan Administrator with the approval of the Bankruptcy Court.

        87. “Claims Reserves” means, collectively, the AMR Claims Reserve, the AMH Claims Reserve, and the
SRII Claims Reserve.

         88. “Class” means a category of Holders of Claims or Interests as set forth in Article III hereof pursuant
to sections 1122(a) and 1123(a)(1) of the Bankruptcy Code.

         89. “Committee” means the Official Committee of Unsecured Creditors (and all subcommittees thereof)
appointed in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code, as such committee may be
reconstituted from time to time.

       90. “Committee Fees” means the reasonable and documented fees and expenses incurred by counsel to
the Committee, Brown Rudnick LLP and Snow Spence Green LLP, the financial advisor to the Committee, Conway
MacKenzie, Inc., and the landman to the Committee, Cochran Land Service, LLC.

         91. “Confirmation” means the entry of the Confirmation Order on the docket of the Chapter 11 Cases,
subject to all conditions specified in Article IX.A hereof having been: (a) satisfied; or (b) waived pursuant to Article
IX.C hereof.

       92. “Confirmation Date” means the date upon which the Clerk of the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

         93. “Confirmation Hearing” means the hearing held by the Bankruptcy Court to consider Confirmation,
as such hearing may be adjourned or continued from time to time in the Debtors’ sole discretion.

        94. “Confirmation Order” means the final, non-appealable order of the Bankruptcy Court confirming the
Plan pursuant to section 1129 of the Bankruptcy Code, as such order may be amended, supplemented, or modified
from time to time.

         95.    “Consummation” means the occurrence of the Effective Date.

         96.    “Coverage Determination Date” has the meaning assigned in Article X.J hereof.

         97. “Cure Claim” means a Claim based upon a monetary default, if any, by any Debtor on an Executory
Contract or Unexpired Lease at the time such contract or lease is assumed by the Debtors pursuant to sections 365 or
1123 of the Bankruptcy Code.

         98. “D&O Insurance Coverage” means coverage for insureds under any applicable D&O Policies,
including (without limitation) any applicable D&O Tail Coverage.

         99. “D&O Policies” means all insurance policies (including policies providing D&O Tail Coverage) and
related agreements of indemnity for directors’, members’, trustees’ and officers’ liability that have been issued at any
time to, or provided coverage to, any of the Debtors or their Representatives and all agreements, documents or
instruments relating thereto, for any policy period whatsoever.

         100. “D&O Tail Coverage” means the extension of the D&O Insurance Coverage for any period beyond
the end of the policy period, including but not limited to any extension for a period of six (6) years after the Effective
Date for claims based on conduct occurring prior to the Effective Date.




                                                           10
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 15 of 70



          101. “Debtor” or “Debtor in Possession” means AMR, the AMH Debtors, and the SRII Debtors, each in
its individual capacity as a debtor and debtor in possession in the Chapter 11 Cases under sections 1107 and 1108 of
the Bankruptcy Code.

         102. “Definitive Documents” shall include all definitive documents and agreements governing the
transactions contemplated hereunder, including, without limitation, this Plan (including the Plan Supplement and all
other exhibits and supplements hereto), the Disclosure Statement and other solicitation materials, and the Confirmation
Order, each of which shall be in form and substance acceptable to the Debtors and acceptable to the Prepetition AMH
RBL Agent, the Ad Hoc Noteholder Group, and the Committee (in each case, to the extent of their consent rights as
provided in this Plan); provided, that the Plan and the Confirmation Order shall also be acceptable to the Purchaser,
to the extent (a) required by the Purchase Agreement or this Plan or (b) relating to the release or exculpation of the
Purchaser or the Purchaser Parties.

          103. “Disbursing Agent” means the Debtors or the Entity or Entities chosen (at any time) by the Debtors,
and acceptable to the Prepetition AMH RBL Agent, the Ad Hoc Noteholder Group, and the Committee, to make or
facilitate distributions pursuant to the Plan.

          104. “Disclosure Statement” means the Disclosure Statement for Joint Plan of Liquidation of Alta Mesa
Resources, Inc. and Its AMH and SRII Debtor Affiliates Under Chapter 11 of the Bankruptcy Code, dated April 17,
2020, as the same may be amended, supplemented, or modified from time to time, which shall be in form and substance
acceptable to the Debtors, the Prepetition AMH RBL Agent, the Ad Hoc Noteholder Group, and the Committee,
including all exhibits and schedules thereto and references therein that relate to the Plan, that is prepared and
distributed in accordance with the Bankruptcy Code, Bankruptcy Rules, and any other applicable law.

         105. “Disputed” means, with respect to any Claim or Interest, any Claim or Interest that is not yet Allowed.

          106. “Distribution Record Date” means the date on which the Confirmation Order is entered or such other
date that is designated by the Debtors; provided however, that the Distribution Record Date shall not apply to the
securities of the Debtors deposited with DTC, the Holders of which shall receive a distribution, if any, in accordance
with Article VII of this Plan and, as applicable, the customary procedures of the DTC.

         107. “DTC” means the Depositary Trust Company.

         108. “Effective Date” means the date on which the Confirmation Order becomes a Final Order and all of
the conditions specified in Article IX.B hereof have been satisfied or waived pursuant to Article IX.C hereof.

         109. “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.

          110. “Estate” means, as to each Debtor, the estate created for such Debtor in its Chapter 11 Case pursuant
to sections 301 and 541 of the Bankruptcy Code upon the commencement of the applicable Debtor’s Chapter 11 Case.

       111. “Excess AMH Distributable Cash” means the AMH Distributable Cash remaining after the funding of
the AMH Claims Reserve Amount, the Professional Fee Claims Reserve, and the AMH Wind Down Amount.

           112. “Excess AMH Reserve Amounts” means the AMH Claims Reserve Amount and the AMH Wind Down
Amount remaining in the AMH Claims Reserve and the AMH Wind Down Reserve, if any, after (i) the satisfaction
in full in accordance with the Plan of all Administrative Claims, Priority Tax Claims, Other Priority Claims, and Other
Secured Claims, in each case to the extent Allowed against the AMH Debtors, (ii) the payment in full of the AMH
GUC Distribution Cash and the Prepetition Senior Notes Distribution Cash, and (iii) the conclusion of the Wind Down
of the AMH Debtors and the Plan Administration Process in accordance with the AMH Plan Administration Trust
Agreement.

        113. “Excess AMR Distributable Cash” means the AMR Distributable Cash remaining, if any, after the
funding of the AMR Claims Reserve Amount and the AMR Wind Down Amount.




                                                          11
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 16 of 70



         114. “Excess AMR Reserve Amounts” means the AMR Claims Reserve Amount and the AMR Wind Down
Amount remaining in the AMR Claims Reserve or the AMR Wind Down Reserve, if any, after the satisfaction in full
of all Administrative Claims, Priority Tax Claims, Other Priority Claims, and Other Secured Claims, in each case to
the extent Allowed against AMR, and the conclusion of the Wind Down of AMR and the Plan Administration Process
in accordance with the AMR/SRII Plan Administration Trust Agreement.

        115. “Excess SRII Distributable Cash” means the SRII Distributable Cash remaining, if any, after the
funding of the SRII Claims Reserve Amount and the SRII Wind Down Amount.

         116. “Excess SRII Reserve Amounts” means the SRII Claims Reserve Amount and the SRII Wind Down
Amount remaining in the SRII Claims Reserve or the SRII Wind Down Reserve, if any, after the satisfaction in full
of all Administrative Claims, Priority Tax Claims, Other Priority Claims, and Other Secured Claims, in each case to
the extent Allowed against the SRII Debtors, and the conclusion of the Wind Down of the SRII Debtors and the Plan
Administration Process in accordance with the AMR/SRII Plan Administration Trust Agreement.

        117. “Excluded D&O Parties” means the current and former directors, managers and officers of the AMH
Debtors not identified on Schedule 1 to this Plan, including, without limitation, the Specified Directors and Officers.

         118. “Excluded Parties” means, collectively: (i) the AMH Debtors’ direct and indirect equity holders; (ii)
the Excluded D&O Parties, (iii) High Mesa, Inc. and each of its direct or indirect, wholly or partially-owned
subsidiaries (excluding, for the avoidance of doubt, any Debtors or KFM Debtors), (iv) KFM Holdco, LLC, (v) ARM
Energy Management, LLC, ARM-M-1 LLC, Asset Risk Management, LLC, and ARM Midstream, LLC, (vi) the
Sponsor Parties, (vii) Harlan Chappelle, Michael Ellis, and Mickey Ellis, any of their respective Representatives, and
any entities for which they individually or collectively, directly or indirectly, own a controlling interest; and (viii) the
Specified Directors and Officers. For the avoidance of doubt, “Excluded Parties” shall not include any Purchaser
Parties.

          119. “Exculpated Claim” means any Claim related to any act or omission on or prior to the Effective Date
in connection with, relating to or arising out of the Debtors’ in- or out-of-court restructuring efforts, the Debtors’
Chapter 11 Cases, formulation, preparation, dissemination, negotiation or filing of the Disclosure Statement or the
Plan, the Purchase Agreement, or any contract, instrument, release or other agreement or document created or entered
into in connection with the Disclosure Statement or the Plan, the filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including the
distribution of property under the Plan or any other agreement; provided, however, that Exculpated Claims shall not
include any act or omission that is determined in a Final Order to have constituted actual fraud, gross negligence,
willful misconduct, or criminal conduct.

         120. “Exculpated Party” means, collectively, and in each case in its capacity as such: (a) the Debtors; (b)
the Committee and each of its members; (c) the Purchaser and Purchaser Parties; (d) the Prepetition AMH RBL Agent
and Prepetition AMH RBL Lenders; (e) the Ad Hoc Noteholder Group; (f) the AMH GUC Claim Administrator and
the AMH GUC Claim Oversight Committee; (g) the Plan Administrators; (h) the AMH Litigation Trustee; and (i)
with respect to each of the foregoing Persons or Entities, such Person’s or Entity’s Representatives; provided, however,
that notwithstanding anything to the contrary set forth herein, no Excluded Party shall be an Exculpated Party.

         121. “Exculpation” means the exculpation provision set forth in Article X.E hereof.

        122. “Executory Contract” means a contract to which one or more of the Debtors is a party that is subject
to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

     123. “Federal Judgment Rate” means the federal judgment rate, which rate was in effect as of the
AMR/AMH Petition Date or the SRII Petition Date, as applicable.

         124. “Fee Claim” means a Claim for Accrued Professional Compensation.




                                                            12
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 17 of 70



       125. “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or other court of
competent jurisdiction in the Chapter 11 Cases.

        126. “Final Decree” means the order entered pursuant to section 350 of the Bankruptcy Code and
Bankruptcy Rule 3022 closing a chapter 11 case.

          127. “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other court of
competent jurisdiction with respect to the relevant subject matter, which has not been reversed, stayed, modified or
amended, and as to which the time to appeal or seek certiorari has expired and no appeal or petition for certiorari has
been timely taken, or as to which any appeal that has been taken or any petition for certiorari that has been Filed has
been resolved by the highest court to which the order or judgment was appealed or from which certiorari was sought
or the new trial, reargument or rehearing shall have been denied, resulted in no modification of such order or has
otherwise been dismissed with prejudice, or as to which an appeal or motion for reargument or rehearing is pending,
but no stay of the order is in effect; provided, however, that the possibility that a motion under Rule 60 of the Federal
Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order
shall not preclude such order from being a Final Order.

        128. “Governmental Unit” means a governmental unit as defined in section 101(27) of the
Bankruptcy Code.

         129. “Holder” means any Person or Entity holding a Claim or an Interest.

         130. “Impaired” means any Claim or Interest in an Impaired Class.

        131. “Impaired Class” means an impaired Class within the meaning of section 1124 of the
Bankruptcy Code.

          132. “Indemnification Provision” means each of the indemnification provisions currently in place, whether
in the bylaws, certificates of incorporation, or other formation documents in the case of a limited liability company,
board resolutions, or employment or service contracts, for the current directors, managers, managing members,
officers, members (including any ex officio members), and employees of the Debtors.

         133. “Indemnified Parties” means each of the Debtors’ respective officers, directors, managers, managing
members, and employees that served in any such capacity on or after the AMR/AMH Petition Date or the SRII Petition
Date, as applicable, each in their respective capacities as such before or after the AMR/AMH Petition Date or the SRII
Petition Date, as applicable.

        134. “Indenture Trustee” means U.S. Bank, N.A. in its capacity as indenture trustee for the Prepetition
Senior Notes under the Prepetition Senior Notes Indenture, or any such successor indenture trustee.

         135. “Indenture Trustee Charging Lien” means the lien of the Indenture Trustee arising under the
Prepetition Senior Notes Indenture, upon any distributions relating to or on account of the Prepetition Senior Notes,
securing the payment of, including without limitation, the fees and expenses of the Indenture Trustee, including fees
and expenses of each counsel and other professionals engaged by, on behalf of, or for the benefit of the Indenture
Trustee, whether incurred prepetition, postpetition, or before or after the Effective Date.

          136. “Insurance Policy” means all insurance policies and related agreements of indemnity that have been
issued at any time to, or provide coverage to, any of the Debtors and all agreements, documents, or instruments relating
thereto.

        137. “Insurer” means any company or other entity that issued any Insurance Policy, and any respective
predecessors or affiliates thereof.

         138. “Intercompany Claim” means any Claim held by a Debtor against another Debtor other than a claim
held by an AMH Debtor against AMR or an SRII Debtor.



                                                           13
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 18 of 70



         139. “Intercompany Interest” means an Interest in a Debtor held by another Debtor.

           140. “Interests” means, collectively, (a) any equity security (as defined in section 101(16) of the
Bankruptcy Code) or any other equity or ownership interest (including any such interest in a partnership, limited
liability company, or other entity) in any Debtor, and (b) any other rights, options, warrants, stock appreciation rights,
phantom stock rights, restricted stock units, redemption rights, earn-out rights, repurchase rights, convertible,
exercisable or exchangeable securities or other agreements, including arrangements or commitments of any character
relating to, or whose value is related to, any such interest or other ownership interest in any Debtor.

         141. “Interim Distribution” means the distribution of $99,000,000 of Cash proceeds of the Sale to the
Prepetition AMH RBL Agent prior to the Effective Date in accordance with the Cash Collateral Order and the
Supplemental Sale Order, which distribution shall be unconditionally and fully vested in, and not subject to any
clawback from, the Prepetition AMH RBL Agent as of the Effective Date.

         142. “IRC” means the U.S. Internal Revenue Code of 1986, as amended.

         143. “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001.

         144. “KFM Agent” means Wells Fargo Bank, N.A., as administrative agent for the KFM Lenders.

         145. “KFM Cash Collateral Order” means the Final Order (I) Authorizing the KFM Debtors to Use Cash
Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, and
(IV) Granting Related Relief entered by the Bankruptcy Court at Docket No. 1137.

       146. “KFM Debtors” means Kingfisher Midstream, LLC, Kingfisher STACK Oil Pipeline, LLC,
Oklahoma Produced Water Solutions, LLC, and Cimarron Express Pipeline, LLC.

         147. “KFM Effective Date” means the “Effective Date” (as defined in the KFM Plan).

         148. “KFM Credit Agreement” that certain Amended and Restated Credit Agreement, dated as of May 30,
2018 (as amended, restated, amended and restated, modified, or otherwise supplemented from time to time), by and
among Kingfisher Midstream, LLC, as borrower, Wells Fargo Bank, N.A., as administrative agent, and the lenders
party thereto from time to time.

         149. “KFM Lenders” means the lenders from time to time party to the KFM Credit Agreement.

         150. “KFM Plan” means the Joint Chapter 11 Plan of KFM Debtors [Docket No. 1326], filed in the chapter
11 cases of the KFM Debtors, as the same may be amended, modified or supplemented from time to time.

         151. “KFM Releasing Parties” means (a) each of the KFM Debtors; (b) the KFM Agent and KFM Lenders
that do not “opt out” of the releases set forth in Section 10.6(b) of the KFM Plan, and (c) for both (a) and (b), each of
their respective Representatives; provided, however, that notwithstanding anything to the contrary herein, “KFM
Releasing Parties” shall not include any Excluded Parties.

         152. “KFM/AMH Settlement Proceeds” shall have the meaning set forth in Article V.D of this Plan.

         153.    “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

         154. “Meridian Employees” means the Meridian Employees, as defined in the Debtors’ Emergency Motion
for Entry of Order (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation, and
Reimbursable Expenses and (B) Continue Employee Benefit Programs, and (II) Granting Related Relief [Docket No.
8].




                                                           14
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 19 of 70



          155. “Net Sale Proceeds” means all Cash proceeds of the Sale distributed to the AMH Debtors upon or
following closing of the Sale in accordance with the terms of the Purchase Agreement, minus any sale proceeds
distributed pursuant to the Interim Distribution.

         156. “Ordinary Course Professionals Order” means any orders of the Bankruptcy Court permitting the
Debtors to retain certain professionals in the ordinary course of their businesses.

         157. “Other Priority Claim” means any Claim accorded priority in right of payment under section 507(a)
of the Bankruptcy Code, other than: (a) an Administrative Claim or (b) a Priority Tax Claim.

          158. “Other Secured Claim” means a Claim that is Secured, but excluding any Prepetition AMH RBL
Claims.

          159. “Person” means a person as defined in section 101(41) of the Bankruptcy Code.

        160. “Plan” means this Joint Plan of Liquidation of Alta Mesa Resources, Inc. and Its AMH and SRII
Debtor Affiliates Under Chapter 11 of the Bankruptcy Code, dated April 17, 2020, as the same may be amended,
supplemented, or modified from time to time (including, without limitation, any exhibits hereto, which are
incorporated herein by reference), which shall be in form and substance acceptable to the Debtors, the Prepetition
AMH RBL Agent, the Ad Hoc Noteholder Group, and the Committee.

          161. “Plan Administrators” means the AMH Plan Administrator and the AMR/SRII Plan Administrator.

          162. “Plan Administration Process” means the process for resolving and paying Claims described in Article
VIII of the Plan.

       163. “Plan Administration Trust Agreements” means, collectively, the AMH Plan Administration Trust
Agreement and AMR/SRII Plan Administration Trust Agreement.

        164. “Plan Administration Trusts” means AMH Plan Administration Trust and the AMR/SRII Plan
Administration Trust.

          165. “Plan Supplement” means the documents and forms of documents, agreements, schedules, and
exhibits to the Plan, which shall include (a) the Plan Administration Trust Agreements and identity of the Plan
Administrators, (b) the AMH Litigation Trust Agreement and the identity of the AMH Litigation Trustee, (c) the AMH
GUC Claim Administrator Agreement and the identity of the AMH GUC Claim Administrator and members of the
AMH GUC Claim Oversight Committee; (d) Schedules of Retained and Assigned Causes of Action, (e) the Schedule
of Assumed Contracts, and (f) the Wind Down Budget, with copies of all such documents and forms of documents,
agreements, schedules and exhibits to be filed no later than fourteen (14) days before the Voting Deadline, which each
shall be in form and substance acceptable to the Debtors, the Prepetition AMH RBL Agent, the Ad Hoc Noteholder
Group, and the Committee (in each case, to the extent of their consent rights as provided in this Plan).

        166. “Prepetition AMH RBL Agent” means Wells Fargo Bank, N.A. in its capacity as administrative agent
under the Prepetition AMH RBL Credit Agreement and any other applicable Prepetition AMH RBL Credit
Documents.

        167. “Prepetition AMH RBL Agent Fees” means the reasonable and documented fees and expenses incurred
by counsel to the Prepetition AMH RBL Agent, Bracewell LLP, and the financial advisor to the Prepetition AMH
RBL Agent, RPA Advisors, LLC.

      168. “Prepetition AMH RBL Claim” means a Claim against the AMH Debtors arising under the Prepetition
AMH RBL Credit Documents, including the AMH Adequate Protection Claims under the Cash Collateral Orders.

       169. “Prepetition AMH RBL Credit Agreement” means that certain Eighth Amended and Restated Credit
Agreement, dated as of February 9, 2018, by and among Alta Mesa Holdings, LP, as borrower, Wells Fargo Bank,



                                                         15
      Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 20 of 70



N.A., as administrative agent, and the lenders and other parties thereto (as subsequently modified, amended, or
supplemented from time to time).

         170. “Prepetition AMH RBL Credit Documents” means the Prepetition AMH RBL Credit Agreement and
any related security, guaranty, or other Loan Documents (as defined in the Prepetition AMH RBL Credit Agreement).

         171. “Prepetition AMH RBL Deficiency Claim” means, at any given time, the unsecured Claim held by the
Prepetition AMH RBL Lenders, which shall be in an amount equal to (a) the Prepetition AMH RBL Claims, minus
(b) the aggregate amount of the Interim Distribution, minus (c) the Excess AMH Distributable Cash, minus (d) any
Cash received by the Prepetition AMH RBL Agent or the Prepetition AMH RBL Lenders on account of the Reserved
ORRI, minus (e) any distributions to the AMH RBL Agent or the Prepetition AMH RBL Lenders on account of any
Excess AMH Reserve Amounts.

        172. “Prepetition AMH RBL Lenders” means the Holders of the Prepetition AMH RBL Claims.

         173. “Prepetition Secured AMH RBL Claim” means all Prepetition AMH RBL Claims that are not
Prepetition AMH RBL Deficiency Claims.

        174. “Prepetition Senior Notes” means the 7.875% senior unsecured notes due 2024 issued by Alta Mesa
Holdings, LP and Alta Mesa Finance Services Corp. under the Prepetition Senior Notes Indenture.

         175. “Prepetition Senior Notes Claim” means any and all Claims arising from, under, or in connection with
the Prepetition Senior Notes, the Prepetition Senior Notes Indenture, or any other related document or agreement
against the AMH Debtors, which shall be deemed Allowed in the aggregate principal amount of $500,000,000.00,
plus any unpaid interest, fees, and expenses due and owing pursuant to the terms of the Prepetition Senior Notes
Indenture as of the AMR/AMH Petition Date.

        176. “Prepetition Senior Notes Documents” has the meaning assigned in Article V.N.

         177. “Prepetition Senior Notes Distribution Cash” means Cash in the amount of $2,250,000, which shall
be funded from the AMH Distributable Cash; provided, however, that to the extent the AMH General Unsecured
Claim of Mustang Gas Products, LLC is Allowed in an amount in excess of $10,000,000, the amount of the Prepetition
Senior Notes Distribution Cash may be modified as may be agreed by the Ad Hoc Noteholder Group and the
Committee.

          178. “Prepetition Senior Notes Indenture” means the Indenture dated as of December 8, 2016 (as amended,
restated, modified, supplemented, or replaced from time to time in accordance with the terms thereof), by and among
Alta Mesa Holdings, LP, Alta Mesa Finance Services Corp., the guarantors named thereunder, and the Indenture
Trustee.

         179. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

         180. “Pro Rata” means the proportion that an Allowed Claim or Allowed Interest in a particular Class bears
to the aggregate amount of Allowed Claims or Allowed Interests in that Class, or the proportion that Allowed Claims
or Allowed Interests in a particular Class bear to the aggregate amount of Allowed Claims or Allowed Interests in a
particular Class and other Classes entitled to share in the same recovery as such Allowed Claim or Allowed Interest
under the Plan.

         181. “Professional” means a Person or Entity: (a) employed in the Chapter 11 Cases pursuant to a
Bankruptcy Court order in accordance with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated
for services rendered before or on the Effective Date, pursuant to sections 327, 328, 329, 330, 363, and 331 of the
Bankruptcy Code; or (b) awarded compensation and reimbursement by the Bankruptcy Court pursuant to section
503(b)(4) of the Bankruptcy Code, excluding any ordinary course professional retained pursuant to an order of the
Bankruptcy Court.



                                                        16
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 21 of 70



          182. “Professional Fee Claim Reserve” means the reserve established in the amount set forth for payment
of Professional Fee Claims in the Wind Down Budget and maintained by the AMH Plan Administration Trust from
Cash on hand existing immediately prior to the Effective Date to pay in full in Cash the Professional Fee Claims
against the AMH Debtors incurred on or prior to the Effective Date (solely to the extent permitted by the Wind Down
Budget) as and when such Claims become Allowed.

        183. “Purchase Agreement” means that certain Purchase and Sale Agreement by and among Alta Mesa
Holdings, LP, Alta Mesa Holdings GP, LLC, OEM GP, LLC, Alta Mesa Finance Services Corp., Alta Mesa Services,
LP, and Oklahoma Energy Acquisitions, LP, AMR (for the limited purposes set forth therein), and the Purchaser,
dated as of January 17, 2020 in connection with the Sale, and including all exhibits, schedules, amendments,
modifications and supplements thereto, including the First Amendment to Amended and Restated Purchase and Sale
Agreement, dated April 2, 2020.

         184. “Purchaser” means BCE-Mach III LLC.

          185. “Purchaser Parties” means (a) Bayou City Energy Management LLC; (b) BCE-AMH Holdings, LLC;
(c) BCE-AMR Holdings LLC; (d) BCE-MESA Holdings, LLC; (e) William W. McMullen; (f) Mark Stoner; (g)
Andrew Koehler; (h) Mach Resources LLC; (i) BCE-Mach LLC; (j) BCE-Mach II LLC; and (k) any Representative
of a Person or Entity (as such terms are defined in section 101 of the Bankruptcy Code) identified in (a) through (j)
above, in the case of each of the Persons and Entities identified in clauses (a) through (k) above, in their applicable
capacities with respect to the Purchaser or the Debtors; provided that under no circumstances shall Representatives of
the Purchaser Parties include (i) KFM Holdco, LLC, (ii) High Mesa Inc. or any of its direct or indirect, wholly or
partially owned, subsidiaries or any of its related Persons or Entities that would otherwise be included in the definition
of Representatives (other than William W. McMullen, Mark Stoner, and Andrew Koehler), (iii) Alta Mesa Resources,
Inc. or any of its direct or indirect, wholly or partially owned, subsidiaries or any of its related Persons or Entities that
would otherwise be included in the definition of Representatives (other than William W. McMullen, Mark Stoner, and
Andrew Koelher), (iv) Riverstone VI Alta Mesa Holdings, L.P. or any of its related Persons or Entities that would
otherwise be included in the definition of Representatives, or (v) HPS Investment Partners LLC or any of its related
Persons or Entities that would otherwise be included in the definition of Representatives. For the avoidance of doubt,
“Purchaser Parties” shall not include any Excluded Parties or any directors, officers or managers of the Debtors other
than William McMullen.

         186. “Reimbursement Right” has the meaning assigned in Article X.J hereof.

         187. “Reinstated” means (a) leaving unaltered the legal, equitable and contractual rights to which a Claim
or Interest entitles the Holder of such Claim or Interest so as to leave such Claim or Interest Unimpaired or (b)
notwithstanding any contractual provision or applicable law that entitles the Holder of a Claim or Interest to demand
or receive accelerated payment of such Claim or Interest after the occurrence of a default: (i) curing any such default
that occurred before, on or after the AMR/AMH Petition Date or the SRII Petition Date, as applicable, other than a
default of a kind specified in section 365(b)(2) of the Bankruptcy Code or of a kind that section 365(b)(2) expressly
does not require to be cured; (ii) reinstating the maturity (to the extent such maturity has not otherwise accrued by the
passage of time) of such Claim or Interest as such maturity existed before such default; (iii) compensating the Holder
of such Claim or Interest or any damages incurred as a result of any reasonable reliance by such Holder on such
contractual provision or such applicable law; (iv) if such Claim or Interest arises from a failure to perform a
nonmonetary obligation other than a default arising from failure to operate a nonresidential real property lease subject
to section 365(b)(1)(A) of the Bankruptcy Code, compensating the Holder of such Claim or Interest (other than the
Debtor or an insider) for any actual pecuniary loss incurred by such Holder as a result of such failure; and (v) not
otherwise altering the legal, equitable or contractual rights to which such Claim or Interest entitles the Holder.

        188. “Release Opt-Out” means the election, to be made solely through validly-submitted Ballots or Release
Opt-Out Forms, to opt-out of the release provisions set forth in Article X.C.1 or Article X.C.2, as applicable.

         189. “Release Opt-Out Deadline” means the date that is the Voting Deadline.

          190. “Release Opt-Out Form” means the form upon which certain Holders of Claims or Interests not
entitled to vote shall indicate their election with respect to the Release Opt-Out, in each case in accordance with the


                                                             17
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 22 of 70



Plan and the procedures governing the solicitation process, which Release Opt-Out Form must be actually received
by the Balloting Agent on or before the Release Opt-Out Deadline.

         191. “Representatives” means, with respect to a Person or Entity, such Person’s or Entity’s current and
former (a) equity holders, (b) controlled subsidiaries, (c) officers, (d) directors, (e) managers, (f) principals, (g)
employees, (h) members, (i) agents, (j) advisory board members, (k) financial advisors, (l) partners, (m) attorneys, (n)
accountants, (o) investment bankers, (p) consultants, (q) representatives, and (r) other professionals each in their
capacity as such.

         192. “Reserved ORRI” means the AMH Debtors’ right, title and interest in the Reserved ORRI (as defined
in the Purchase Agreement), after giving effect to the conveyance of the KFM ORRI (as defined in the Purchase
Agreement) contemplated by the Purchase Agreement.

         193. “Restructuring” means any and all proposed restructuring, recapitalization, sale or liquidation
transactions involving one of more of the Debtors.

       194. “Sale” means the sale of all or substantially all of the AMH Debtors’ assets pursuant to the Purchase
Agreement.

        195. “Sale Order” means the order approving the Sale [Docket No. 1013], as supplemented or modified by
the Supplemental Sale Order.

        196. “Schedule of Assumed Contracts” means the schedule of executory contracts or unexpired leases to be
assumed by the Debtors, which schedule shall be filed with the Plan Supplement.

          197. “Schedules of Retained and Assigned Causes of Action” means (a) the schedule of Causes of Action
to be retained by AMR’s and the SRII Debtors’ Estates and contributed to the AMR/SRII Plan Administration Trust,
which schedule will be filed with the Plan Supplement, and (b) the schedule of AMH Litigation Trust Causes of
Action, which will be filed with the Plan Supplement and which schedule of AMH Litigation Trust Causes of Action
will be reasonably acceptable to the AMH Debtors, the Prepetition AMH RBL Agent and the Ad Hoc Noteholder
Group.

         198. “Section 510(b) Claim” means any Claim arising from: (a) rescission of a purchase or sale of a security
of the Debtors or an Affiliate of the Debtors; (b) purchase or sale of such a security; or (c) reimbursement or
contribution allowed under section 502 of the Bankruptcy Code on account of such Claim.

         199. “Secured” means, when referring to a Claim: (a) secured by a Lien on property in which the Estate
has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by reason of a Bankruptcy
Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of
the creditor’s interest in the Estate’s interest in such property or to the extent of the amount subject to setoff, as
applicable, as determined pursuant to section 506(a) of the Bankruptcy Code or, in the case of setoff, pursuant to
section 553 of the Bankruptcy Code; or (b) otherwise Allowed pursuant to this Plan as a Secured Claim.

        200. “Specified Directors and Officers” means James T. Hackett, Michael A. McCabe (and his estate), and
Tim J. Turner.

         201. “Specified Directors and Officers Claim” means any AMH Litigation Trust Cause of Action against
any of the Specified Directors and Officers.

         202. “Sponsor Parties” means (a) Riverstone VI Alta Mesa Holdings, L.P., (b) HPS Investment Partners,
LLC, or (c) any of their respective Representatives (including, without limitation, in their capacities as officers,
directors, managers, or employees of the Debtors or any of their controlled subsidiaries, and including Meridian
Energy, LLC, solely in its capacity as consultant to any Sponsor Parties and not in any other capacity, and excluding
the Meridian Employees). For the avoidance of doubt, “Sponsor Parties” shall include David M. Leuschen, Pierre
Laypeyre, Jr., Donald Dimitrievich, and James Hackett.



                                                          18
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 23 of 70



         203. “SRII Cash on Hand” means all Cash held by the SRII Debtors on the Effective Date.

         204. “SRII Claims Bar Date” shall have the meaning set forth in Article V.C of this Plan.

         205. “SRII Claims Reserve” means a reserve to be established by the Debtors on or before the Effective
Date and comprised of SRII Distributable Cash in the amount of the SRII Claims Reserve Amount, except to the
extent any portion of such amount is distributed on the Effective Date pursuant to the Plan Administration Process,
which reserve shall vest in the Plan Administration Trust as of the Effective Date.

         206. “SRII Claims Reserve Amount” means the sum of (a) the SRII Other Secured Claims Reserve Amount,
(b) the SRII Priority Claims Reserve Amount, (c) the aggregate face amount, or estimated amount under section 502(c)
of the Bankruptcy Code, if applicable, of Cure Claims against the SRII Debtors by counterparties to Executory
Contracts and Unexpired Leases to be assumed and assigned in connection with the Sale, to the extent any such Cure
Claim is disputed by the Debtors, and (d) the aggregate face amount, or estimated amount under section 502(c) of the
Bankruptcy Code, if applicable, of accrued but unpaid Administrative Claims (including Fee Claims) against the SRII
Debtors as of the Effective Date, including Claims arising under section 503(b)(9) of the Bankruptcy Code, in each
case, solely to the extent such Claims or expenses are not assumed by the Purchaser pursuant to the Purchase
Agreement in connection with the Sale.

         207. “SRII Debtors” means SRII Opco GP, LLC and SRII Opco, LP.

          208. “SRII Distributable Cash” means Cash in an amount equal to the sum of (a) all SRII Cash on Hand,
plus (b) the proceeds of all SRII Retained Causes of Action, plus (c) the proceeds of all other non-Cash assets of the
Estates of the SRII Debtors not subject to the Sale.

         209. “SRII General Unsecured Claim” means any unsecured Claim against any of the SRII Debtors that is
not an Administrative Claim, a Priority Tax Claim, an Other Priority Claim, a Fee Claim, an Intercompany Claim, or
a Section 510(b) Claim.

         210. “SRII Interests” means an Interest in SRII Opco, LP, other than an Intercompany Interest.

          211. “SRII Other Secured Claims Reserve Amount” means the aggregate face amount, or estimated amount
under section 502(c) of the Bankruptcy Code, if applicable, of all Claims against the SRII Debtors that are either (a)
identified in the Schedules as Secured or (b) asserted to be Secured in a proof of claim validly submitted on or before
the SRII Claims Bar Date, less the face amount, or estimated amount under section 502(c) of the Bankruptcy Code, if
applicable, of any such Claims identified by the Debtors in their reasonable discretion as duplicative of other such
Claims, which shall be funded from the SRII Distributable Cash; provided that the Debtors shall disclose the SRII
Other Secured Claims Reserve Amount in a document filed with the Bankruptcy Court no later than seven (7) days
before the Confirmation Hearing.

      212. “SRII Petition Date” means the date on which the SRII Debtors Filed their petitions for relief
commencing the Chapter 11 Cases.

         213. “SRII Plan Administration Trust Funds” means Cash to be funded to the SRII Wind Down Reserve
and to be used by the AMR/SRII Plan Administration Trust to pursue the SRII Retained Causes of Action in
accordance with the Plan Administration Process. For the avoidance of doubt, no assets of the AMH Debtors shall be
used to fund the AMR Wind Down Reserve or the SRII Wind Down Reserve.

          214. “SRII Priority Claims Reserve Amount” means the aggregate face amount, or estimated amount under
section 502(c) of the Bankruptcy Code, if applicable, of all Claims, including Other Priority Claims and Priority Tax
Claims, but excluding Administrative Claims, against the SRII Debtors that are either (a) identified in the Schedules
as entitled to priority in right of payment under section 507(a) of the Bankruptcy Code, or (b) asserted to be entitled
to such priority in a proof of claim validly submitted on or before the SRII Claims Bar Date, less the face amount, or
estimated amount under section 502(c) of the Bankruptcy Code, if applicable, of any such Claims identified by the
Debtors in their reasonable discretion as duplicative of other such Claims, which shall be funded from the SRII



                                                          19
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 24 of 70



Distributable Cash; provided that the Debtors shall disclose the SRII Priority Claims Reserve Amount in a document
filed with the Bankruptcy Court no later than seven (7) days before the Confirmation Hearing.

          215. “SRII Retained Causes of Action” means the Causes of Action belonging to the SRII Debtors that are
being retained by the SRII Debtors and vesting in the AMR/SRII Plan Administration Trust under the Plan, as
identified on the applicable Schedule of Retained and Assigned Causes of Action, which shall exclude, for the
avoidance of doubt, any Causes of Action released by the Debtors under this Plan.

         216. “SRII Wind Down Amount” means the net Cash expenditures attributable to the Wind Down of the
SRII Debtors as reflected in the Wind Down Budget (as the same may be modified or amended from time to time
before the Effective Date), which, for the avoidance of doubt, shall include the SRII Plan Administration Trust Funds.

        217. “SRII Wind Down Reserve” means a segregated account to be established by the Debtors into which
SRII Distributable Cash, in the amount of the SRII Wind Down Amount, shall be deposited on or before the Effective
Date, which account shall vest in the Plan Administration Trust as of the Effective Date.

         218. “Statutory Fees” means all fees and charges assessed against the Estates under section 1930, chapter
123, of the Judicial Code.

        219. “Supplemental Sale Order” means the Order Authorizing AMH/AMR Debtors to Enter Into and
Perform Under Modified PSA With BCE-Mach III, LLC [Docket No. 1512].

         220. “Turner Claims” has the meaning assigned in Article X.J hereof.

        221. “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

        222. “Unused Professional Fee Reserve Amount” means the remaining Cash, if any, in the Professional Fee
Claim Reserve after all obligations and liabilities for which such reserve was established are paid, satisfied, and
discharged in full in Cash or are disallowed by Final Order in accordance with this Plan.

        223. “Unimpaired” means, with respect to a Class of Claims or Interests, a Claim or an Interest that is
unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         224. “U.S. Trustee” means the United States Trustee for the Southern District of Texas.

         225. “Voting Class” means Class 2 Prepetition Secured AMH RBL Claims, Class 3 AMR General
Unsecured Claims, Class 4 Prepetition Senior Notes Claims, Class 5 AMH General Unsecured Claims, Class 6
Prepetition AMH RBL Deficiency Claims, and Class 7 SRII General Unsecured Claims, as applicable.

         226. “Voting Deadline” means 5:00 p.m. (prevailing Eastern Time) on May 20, 2020.

         227. “Wind Down” means the process of winding down the Debtors’ businesses and Estates after closing
of the Sale.

          228. “Wind Down Budget” means the budget setting forth (a) the aggregate amounts of Administrative
Claims (including Fee Claims), Other Priority Claims, Priority Tax Claims, and Other Secured Claims, in each case
against the AMH Debtors, that may be paid from AMH Distributable Cash under the Plan; and (b) the anticipated
expenses of the Wind Down from and after the Effective Date. The Wind Down Budget shall be included in the Plan
Supplement and, with respect to the amounts set forth in clause (a) above and the AMH Wind Down Amount, shall
be in form and substance (x) acceptable to the AMH Debtors and the Prepetition AMH RBL Agent and (y) reasonably
acceptable to the Ad Hoc Noteholder Group, and the Committee (except that, with respect to Fee Claims of the
Committee’s Professionals incurred in respect of the AMH Debtors, the amount budgeted for such Fee Claims in the
Wind Down Budget shall be acceptable to the AMH Debtors, the Prepetition AMH RBL Agent, and the Committee),
or, if such parties cannot agree on such amounts, as approved by the Bankruptcy Court. Notwithstanding anything to



                                                         20
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 25 of 70



the contrary herein, the aggregate Allowed amounts of Administrative Claims, Other Priority Claims, Priority Tax
Claims, and Other Secured Claims, in each case against the AMH Debtors, shall not exceed the aggregate budgeted
amounts for such Allowed Claims set forth in the Wind Down Budget, and any payments of such Allowed Claims
shall not exceed the amounts set forth in the Wind Down Budget, absent written consent of the Prepetition AMH RBL
Agent.

        229. “Wind Down Reserves” means, collectively, the AMR Wind Down Reserve, the AMH Wind Down
Reserve, and the SRII Wind Down Reserve.

B.       Rules of Interpretation

          For purposes of this Plan, unless otherwise provided herein: (1) whenever from the context it is appropriate,
each term, whether stated in the singular or the plural, shall include both the singular and the plural, and pronouns
stated in the masculine, feminine, or neuter gender shall include the masculine, feminine, and neuter gender; (2) unless
otherwise specified, any reference in this Plan to a contract, instrument, release, indenture, or other agreement or
document being in a particular form or on particular terms and conditions means that such document shall be
substantially in such form or substantially on such terms and conditions; (3) unless otherwise specified, any reference
in this Plan to an existing document, schedule, or exhibit, whether or not Filed, shall mean such document, schedule
or exhibit, as it may have been or may be amended, modified, or supplemented; (4) any reference to an Entity as a
Holder of a Claim or Interest includes that Entity’s successors and assigns; (5) unless otherwise specified, all
references in this Plan to Articles are references to Articles of this Plan or to this Plan; (6) the words “herein,” “hereof,”
and “hereto” refer to this Plan in its entirety rather than to a particular portion of this Plan; (7) subject to the provisions
of any contract, certificate of incorporation, bylaw, instrument, release, or other agreement or document entered into
in connection with this Plan, the rights and obligations arising pursuant to this Plan shall be governed by, and construed
and enforced in accordance with applicable federal law, including the Bankruptcy Code and Bankruptcy Rules;
(8) captions and headings to Articles are inserted for convenience of reference only and are not intended to be a part
of or to affect the interpretation of this Plan; (9) the word “or” shall not be exclusive; (10) unless otherwise set forth
in this Plan, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (11) any term used
in capitalized form in this Plan that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
Rules shall have the meaning assigned to such term in the Bankruptcy Code or the Bankruptcy Rules, as applicable;
(12) all references to docket numbers of documents Filed in the Chapter 11 Cases are references to the docket numbers
under the Bankruptcy Court’s CM/ECF system; (13) all references to statutes, regulations, orders, rules of courts, and
the like shall mean as amended from time to time, as applicable to the Chapter 11 Cases, unless otherwise stated; and
(14) any immaterial effectuating provisions may be interpreted by the Debtors, the applicable Plan Administrator or
the AMH Litigation Trustee, as applicable, in such a manner that is consistent with the overall purpose and intent of
this Plan all without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity.

C.       Computation of Time

         In computing any period of time prescribed or allowed, the provisions of Bankruptcy Rule 9006(a) shall
apply. If a payment or act under this Plan is required to be made or performed on a date that is not a Business Day,
then the making of such payment or the performance of such act shall instead occur on the next succeeding Business
Day, but shall be deemed to have occurred as of the required date.

D.       Governing Law

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and the
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of Texas, without giving effect to the
principles of conflict of laws, shall govern the rights, obligations, construction, and implementation of this Plan, any
agreements, documents, instruments, or contracts executed or entered into in connection with this Plan (except as
otherwise set forth in those agreements, in which case the governing law of such agreement shall control), and
corporate governance matters; provided, however, that corporate governance matters relating to the Debtors not
incorporated or organized in Texas shall be governed by the laws of the jurisdiction of incorporation or organization
of the applicable Debtor.




                                                              21
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 26 of 70



E.       Reference to Monetary Figures

        All references in this Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided.

                                                     ARTICLE II.

                            ADMINISTRATIVE CLAIMS AND PRIORITY CLAIMS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Priority Tax Claims,
and Other Priority Claims have not been classified and thus are excluded from the Classes of Claims and Interests set
forth in Article III.

A.       Administrative Claims

          1.   General Administrative Claims

         Except with respect to Administrative Claims that are Fee Claims or Statutory Fees and except to the extent
that a Holder of an Allowed Administrative Claim and the applicable Debtors agree to less favorable treatment for
such Holder’s Allowed Administrative Claim, each Holder of an Allowed Administrative Claim shall be paid in full
in Cash from the applicable Claims Reserve on or as soon as reasonably practicable after the latest of: (a) the Effective
Date; (b) the date such Administrative Claim is Allowed; and (c) the date such Allowed Administrative Claim becomes
due and payable. The AMH Debtors shall pay Administrative Claims against the AMH Debtors solely to the extent
permitted by the Wind Down Budget.

          Except as otherwise provided in this Plan and section 503(b)(1)(D) of the Bankruptcy Code, unless previously
Filed or paid, requests for payment of Administrative Claims must be Filed and served on the applicable Plan
Administrator pursuant to the procedures specified in the Confirmation Order and the notice of entry of the
Confirmation Order or the occurrence of the Effective Date (as applicable) no later than the Administrative Claims
Bar Date; provided that the foregoing shall not apply to either the Holders of Claims under section 503(b)(1)(D) of
the Bankruptcy Code or the Bankruptcy Court or United States Trustee as the Holders of Administrative Claims.
Holders of Administrative Claims that are required to File and serve a request for payment of such Administrative
Claims that do not File and serve such a request by the Administrative Claims Bar Date shall be forever barred,
estopped and enjoined from asserting such Administrative Claims against the Debtors and their respective Estates and
property and such Administrative Claims shall be deemed discharged as of the Effective Date. All such Claims shall,
as of the Effective Date, be subject to the permanent injunction set forth in Article X.F hereof. Nothing in this Article
II.A shall limit, alter, or impair the terms and conditions of the Claims Bar Date Order with respect to the AMR/AMH
Claims Bar Date for filing administrative expense claims arising under section 503(b)(9) of the Bankruptcy Code.

         Objections to such requests must be Filed and served on the applicable Plan Administrator and the requesting
party by the later of (a) 120 days after the Effective Date and (b) 60 days after the Filing of the applicable request for
payment of Administrative Claims, if applicable, as the same may be modified or extended from time to time by Final
Order of the Bankruptcy Court.

          As part of the global settlement and compromise embodied in the Plan, neither the Ad Hoc Noteholder Group
nor its advisors shall seek allowance of any Administrative Claim pursuant to section 503(b)(3)(D) or 503(b)(4) of the
Bankruptcy Code, and no such Administrative Claim shall be Allowed.

          2.   Fee Claims

          On or immediately prior to the Effective Date, AMR and the SRII Debtors shall pay all amounts owing to
the Professionals for all unpaid Fee Claims relating to prior periods and for the period ending on the Effective Date;.
The Professionals shall estimate Fee Claims against AMR and the SRII Debtors due for periods that have not been
billed as of the Effective Date, which amounts, for the avoidance of doubt, shall be paid on or immediately prior to
the Effective Date.



                                                           22
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 27 of 70




         On or before the Effective Date, the AMH Debtors will fund the Professional Fee Claim Reserve with Cash
in the amount permitted to be paid in respect of unpaid Fee Claims against the AMH Debtors under the Wind Down
Budget. The Cash contained in the Professional Fee Claim Reserve will be used solely to pay the Fee Claims for
which such reserve was established, with any Unused Professional Fee Reserve Amount being returned to the AMH
Plan Administration Trust and becoming Excess AMH Distributable Cash to be distributed in accordance with this
Plan. The Professional Fee Claim Reserve shall be maintained in trust for the Professionals and will not be considered
property of the AMH Debtors’ Estates or the AMH Plan Administration Trust; provided, that the AMH Plan
Administration Trust shall have a reversionary interest in the Unused Professional Fee Reserve Amount. After the
Effective Date, the AMH Plan Administration Trust will not deposit any funds or property into the Professional Fee
Claim Reserve without further order of the Bankruptcy Court or otherwise commingle funds in the Professional Fee
Claim Reserve.

         On or prior to forty-five (45) days after the Effective Date, each Professional shall File with the Bankruptcy
Court its final fee application seeking final approval of all fees and expenses from the AMR/AMH Petition Date or
the SRII Petition Date, as applicable, through the Effective Date; provided that the Debtors may pay retained
Professionals or other Entities in the ordinary course of business for services rendered after the Effective Date solely
to the extent permitted by the Wind Down Budget, without further Bankruptcy Court order; and provided, further,
that any Professional who may receive compensation or reimbursement of expenses pursuant to the Ordinary Course
Professionals Order may continue to receive such compensation or reimbursement of expenses for services rendered
before the Effective Date, without further Bankruptcy Court order, pursuant to the Ordinary Course Professionals
Order. Objections to any Fee Claim must be Filed and served on the Debtors and the requesting party no later than
twenty-one (21) days after such Fee Claim is Filed with the Bankruptcy Court. To the extent necessary, the Plan and
the Confirmation Order shall amend and supersede any previously entered order regarding the payment of Fee Claims.
Within five (5) business days after entry of a Final Order with respect to a particular Professional’s final fee
application: (a) in the case of Fee Claims against AMR and the SRII Debtors, such Professional shall remit any
overpayment to the applicable Debtors and AMR and/or the SRII Debtors (as applicable) shall pay any unpaid amounts
to such Professional; and (b) in the case of Fee Claims against the AMH Debtors, any Allowed and unpaid Fee Claims
of such Professional shall be paid from the Professional Fee Claim Reserve (solely to the extent permitted to be paid
to such Professional by the Wind Down Budget).

          3.   Statutory Fees

          All Statutory Fees due and payable prior to the Effective Date shall be paid by the applicable Debtors on the
Effective Date. After the Effective Date, the applicable Plan Administrator shall pay any and all such fees when due
and payable from the applicable Claims Reserve. The Debtors shall file all quarterly reports due prior to the Effective
Date when they become due, in a form reasonably acceptable to the U.S. Trustee. After the Effective Date, the
applicable Plan Administrator shall file with the Bankruptcy Court quarterly reports when they become due, in a form
reasonably acceptable to the U.S. Trustee, which reports shall include a separate schedule of disbursements made by
the Disbursing Agent during the applicable period, attested to by an authorized representative of the Disbursing Agent.
Each and every one of the Debtors shall remain obligated to pay quarterly fees to the U.S. Trustee until the earliest of
that particular Debtor’s case being closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy Code.

B.       Priority Tax Claims

          Except to the extent that a Holder of an Allowed Priority Tax Claim and the applicable Debtors agree to less
favorable treatment for such Holder’s Allowed Priority Tax Claim, each Holder of an Allowed Priority Tax Claim
will be paid in full in Cash from the applicable Claims Reserve on or as soon as reasonably practicable after the latest
of: (a) the Effective Date; (b) the date such Priority Tax Claim is Allowed; and (c) the date such Allowed Priority Tax
Claim becomes due and payable. The AMH Debtors shall pay Allowed Priority Tax Claims against the AMH Debtors
solely to the extent permitted by the Wind Down Budget.

C.       Other Priority Claims

         Except to the extent that a Holder of an Allowed Other Priority Claim and the applicable Debtors agree to
less favorable treatment for such Holder’s Allowed Other Priority Claim, each Holder of an Allowed Other Priority


                                                          23
         Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 28 of 70



Claim will be paid in full in Cash from the applicable Claims Reserve on or as soon as reasonably practicable after
the latest of: (a) the Effective Date; (b) the date such Other Priority Claim is Allowed; and (c) the date such Allowed
Other Priority Claim becomes due and payable. The AMH Debtors shall pay any Other Priority Claims against the
AMH Debtors solely to the extent permitted by the Wind Down Budget.

                                                     ARTICLE III.

                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.        Introduction

          Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation of Classes of Claims against
and Interests in the Debtors. A Claim or Interest is classified in a particular Class only to the extent that the Claim or
Interest qualifies within the description of that Class and is classified in other Classes to the extent that any portion of
the Claim or Interest qualifies within the description of such other Classes. A Claim or Interest is also classified in a
particular Class for the purpose of receiving distributions pursuant to the Plan only to the extent that such Claim or
Interest is an Allowed Claim or Allowed Interest in that Class and has not been paid, released, or otherwise satisfied
prior to the Effective Date.

          This Plan, though proposed jointly, constitutes a separate plan proposed by each Debtor. Therefore, the
classifications set forth in Article III.B herein apply separately with respect to each Plan proposed by each Debtor.
This joint Plan and the classifications set forth herein shall not affect any Debtor’s status as a separate legal entity,
change the organizational structure of the Debtors’ business enterprise, constitute a substantive consolidation of any
of the Debtors, constitute a change of control of any Debtor for any purpose, cause a merger or consolidation of any
legal entities, or cause the transfer of any assets, and, except as otherwise provided by or permitted under this Plan,
all Debtors shall continue to exist as separate legal entities. Notwithstanding the joint nature of this Plan, nothing
herein shall permit or grant a party in interest in the chapter 11 case of one Debtor with standing, or the right to vote
to accept or reject this Plan, in the chapter 11 case of another Debtor. If there are no Claims or Interests in a particular
Class for a particular Debtor, then such Class of Claims or Interests shall not exist for all purposes of the Plan for that
Debtor.

         If the Bankruptcy Court does not confirm this Plan with respect to one or more of the Debtors, it may still
confirm this Plan with respect to any other Debtor that satisfies the confirmation requirements of section 1129 of the
Bankruptcy Code.

B.        Summary of Classification

          The classification of Claims and Interests against the Debtors pursuant to the Plan is as follows:

                                SUMMARY OF STATUS AND VOTING RIGHTS

 Class                          Claim/Interest                                 Status               Voting Rights
                                                                                                  Not Entitled to Vote
     1     Other Secured Claims                                             Unimpaired           (Presumed to Accept)

     2     Prepetition Secured AMH RBL Claims                                Impaired               Entitled to Vote

     3     AMR General Unsecured Claims                                      Impaired               Entitled to Vote

     4     Prepetition Senior Notes Claims                                   Impaired               Entitled to Vote

     5     AMH General Unsecured Claims                                      Impaired               Entitled to Vote




                                                            24
          Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 29 of 70




                                     SUMMARY OF STATUS AND VOTING RIGHTS

 Class                               Claim/Interest                             Status                Voting Rights

     6      Prepetition AMH RBL Deficiency Claims                             Impaired               Entitled to Vote

                                                                                                   Not Entitled to Vote
     7      SRII General Unsecured Claims                                   Unimpaired
                                                                                                   (Deemed to Accept)
                                                                                                   Not Entitled to Vote
     8      Intercompany Claims                                               Impaired
                                                                                                   (Deemed to Reject)
                                                                                                   Not Entitled to Vote
     9      Intercompany Interests                                            Impaired
                                                                                                   (Deemed to Reject)

     10     SRII Interests                                                    Impaired               Entitled to Vote

                                                                                                   Not Entitled to Vote
     11     AMR Interests                                                     Impaired
                                                                                                   (Deemed to Reject)
                                                                                                   Not Entitled to Vote
     12     510(b) Claims                                                     Impaired
                                                                                                   (Deemed to Reject)
                                                                                                   Not Entitled to Vote
     13     AMH Interests                                                     Impaired
                                                                                                   (Deemed to Reject)

C.         Treatment of Claims and Interests

           1.   Class 1:     Other Secured Claims

                   (a)       Classification: Each Class 1 Claim is an Other Secured Claim against the applicable
                             Debtor. With respect to each Debtor, this Class will be further divided into subclasses
                             designated by letters of the alphabet (Class 1A, Class 1B, and so on), so that each Holder
                             of any Other Secured Claim against such Debtor is in a Class by itself, except to the extent
                             that there are Other Secured Claims that are substantially similar to each other and may be
                             included within a single Class.

                   (b)       Treatment: Except to the extent a Holder of an Allowed Other Secured Claim has been
                             paid by the Debtors prior to the Effective Date, each Holder of an Allowed Other Secured
                             Claim (including any Claim for postpetition interest accrued until the Effective Date at the
                             non-default rate provided in the applicable contract or, if there is no contract, then at the
                             Federal Judgment Rate, to the extent permissible under section 506(a) of the Bankruptcy
                             Code) shall receive, in full and final satisfaction, settlement, and release of, and in exchange
                             for, such Allowed Secured Claim, in the discretion of the Debtors or the applicable Plan
                             Administrator, one of the following alternative treatments:

                             (i)         payment of the Allowed Class 1 Other Secured Claim in full in Cash from the
                                         applicable Claims Reserve on the later of the Effective Date or as soon as
                                         practicable after a particular Claim becomes Allowed in accordance with the Plan
                                         Administration Process;

                             (ii)        delivery to the Holder of the Allowed Class 1 Other Secured Claim of the
                                         collateral securing such Allowed Class 1 Other Secured Claim; or

                             (iii)       such other treatment as may be agreed to by the applicable Debtor (or, after the
                                         Effective Date, the applicable Plan Administrator), with the consent of the



                                                             25
Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 30 of 70



                          Prepetition AMH RBL Agent (solely with respect to Other Secured Claims
                          against the AMH Debtors), and the Holder.

                          Notwithstanding the foregoing, the AMH Debtors shall make payments to holders
                          of Other Secured Claims against the AMH Debtors solely to the extent permitted
                          by the Wind Down Budget.

         (c)     Voting: Class 1 is Unimpaired. Holders of Class 1 Other Secured Claims are conclusively
                 presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code
                 and, therefore, Holders of such Other Secured Claims are not entitled to vote to accept or
                 reject the Plan.

 2.   Class 2:   Prepetition Secured AMH RBL Claims

         (a)     Classification: Class 2 consists of all Prepetition Secured AMH RBL Claims.

         (b)     Allowance of Prepetition AMH RBL Claims: Prepetition AMH RBL Claims are deemed
                 Allowed in the aggregate principal amount of $360,948,646, minus the aggregate amount
                 of all AMH Adequate Protection Payments. The Prepetition AMH RBL Agent and the
                 Holders of Prepetition AMH RBL Claims shall not be required to file proofs of Claim on
                 account of any Prepetition AMH RBL Claims.

         (c)     Treatment: In satisfaction of its Prepetition Secured AMH RBL Claim,

                 (i)      each Holder of a Prepetition AMH RBL Claim shall have received its Pro Rata
                          share of the Interim Distribution, which distribution shall be unconditionally and
                          fully vested in, and not subject to any clawback from, the Prepetition AMH RBL
                          Agent on the Effective Date;

                 (ii)     each Holder of a Prepetition AMH RBL Claim shall receive, on the Effective Date
                          or as soon as reasonably practicable thereafter, in accordance with the Plan
                          Administration Process, its Pro Rata share of 100% of the Excess AMH
                          Distributable Cash, up to satisfaction in full of its Prepetition AMH RBL Claim
                          (with any Unused Professional Fee Reserve Amount that later becomes Excess
                          AMH Distributable Cash distributed Pro Rata to each Holder of a Prepetition
                          AMH RBL Claim as soon as practicable after such later time),

                 (iii)    each Holder of a Prepetition AMH RBL Claim shall be assigned on the Effective
                          Date or as soon as reasonably practicable thereafter, its pro rata share of the
                          Reserved ORRI, and

                 (iv)     to the extent such Prepetition AMH RBL Claim has not been satisfied in full under
                          the foregoing sections (c)(i), (c)(ii) and (c)(iii), upon the conclusion of the Plan
                          Administration Process or as soon as reasonably practicable thereafter, each
                          Holder of a Prepetition AMH RBL Claim shall receive its Pro Rata share of the
                          Excess AMH Reserve Amounts, up to satisfaction in full of its Prepetition AMH
                          RBL Claim.

                 For the avoidance of doubt, the foregoing treatment is on account of the Prepetition Secured
                 AMH RBL Claims, and any Prepetition AMH RBL Deficiency Claims shall instead receive
                 the treatment prescribed in Article III.C.6 of the Plan.

         (d)     Voting: Class 2 is Impaired. Holders of Class 2 Prepetition Secured AMH RBL Claims are
                 entitled to vote to accept or reject the Plan.




                                                26
Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 31 of 70



 3.   Class 3:   AMR General Unsecured Claims

         (a)     Classification: Class 3 consists of all AMR General Unsecured Claims.

         (b)     Treatment: Each Holder of an Allowed Class 3 AMR General Unsecured Claim shall
                 receive:

                 (i)      on the Effective Date or as soon as reasonably practicable thereafter, in
                          accordance with the Plan Administration Process, its Pro Rata share of the Excess
                          AMR Distributable Cash, if any, up to satisfaction in full of such AMR General
                          Unsecured Claim, and

                 (ii)     to the extent such AMR General Unsecured Claim has not been satisfied in full
                          under the foregoing section (b)(i), upon the conclusion of the Plan Administration
                          Process or as soon as reasonably practicable thereafter, its Pro Rata share of the
                          Excess AMR Reserve Amounts, up to satisfaction in full of its AMR General
                          Unsecured Claim.

         (c)     Voting: Class 3 is Impaired. Holders of Class 3 AMR General Unsecured Claims are
                 entitled to vote to accept or reject the Plan.

 4.   Class 4:   Prepetition Senior Notes Claims

         (a)     Classification: Class 4 consists of all Prepetition Senior Notes Claims.

         (b)     Treatment: Each Holder of an Allowed Class 4 Prepetition Senior Notes Claim shall
                 receive:

                 (i)      on the Effective Date or as soon as reasonably practicable thereafter, in
                          accordance with the Plan Administration Process, subject to the Indenture Trustee
                          Charging Lien, its Pro Rata share of 100% of the Prepetition Senior Notes
                          Distribution Cash, up to satisfaction in full of such Prepetition Senior Notes
                          Claim; and

                 (ii)     on the Effective Date or as soon as reasonably practicable thereafter, its Pro Rata
                          share of the AMH Litigation Trust Interests (which shall, for the avoidance of
                          doubt, be shared Pro Rata by the Holders of Prepetition Senior Notes Claims and
                          Prepetition AMH RBL Deficiency Claims calculated at the time of distribution;
                          provided, that the AMH Litigation Trust Interests distributed in respect of the
                          Prepetition AMH RBL Deficiency Claims shall be subject to adjustment, as
                          provided in the AMH Litigation Trust Agreement, as a result of the distribution
                          of Excess AMH Reserve Amounts or the Cash monetization of the Reserved
                          ORRI issued pursuant to Article III.C.2.c.iii hereof.

                 For the avoidance of doubt, pursuant to Article VII.B hereof, for purposes of any
                 distributions on account of the Prepetition Senior Notes Claims to be made under this Plan,
                 (a) the Indenture Trustee shall be deemed to be the Holder of all Prepetition Senior Notes
                 Claims and (b) all Cash to be distributed under this Plan on account of Prepetition Senior
                 Notes Claims (including Prepetition Senior Notes Distribution Cash and any Cash on
                 account of AMH Litigation Trust Interests) shall be paid to the Indenture Trustee for
                 distribution (i) subject in all respects to the Indenture Trustee Charging Lien (and no such
                 Cash shall be distributed by the Indenture Trustee to any holder of Prepetition Senior Notes
                 until all obligations secured by the Indenture Trustee Charging Lien have been fully and
                 indefeasibly satisfied) and (ii) otherwise pursuant to and in accordance with the terms of
                 the Prepetition Senior Notes Indenture.



                                               27
Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 32 of 70



         (c)     Voting: Class 4 is Impaired. Holders of Class 4 Prepetition Senior Notes Claims are
                 entitled to vote to accept or reject the Plan.

 5.   Class 5:   AMH General Unsecured Claims

         (a)     Classification: Class 5 consists of all AMH General Unsecured Claims.

         (b)     Treatment: Each Holder of an Allowed Class 5 AMH General Unsecured Claim shall
                 receive, on the Effective Date or as soon as reasonably practicable thereafter, in accordance
                 with the Plan Administration Process, its Pro Rata share of 100% of the AMH GUC
                 Distribution Cash, up to satisfaction in full of such AMH General Unsecured Claim.

         (c)     Voting: Class 5 is Impaired. Holders of Class 5 AMH General Unsecured Claims are
                 entitled to vote to accept or reject the Plan.

 6.   Class 6:   Prepetition AMH RBL Deficiency Claims

         (a)     Classification: Class 6 consists of all Prepetition AMH RBL Deficiency Claims.

         (b)     Treatment: Each Holder of an Allowed Class 6 Prepetition AMH RBL Deficiency Claim
                 shall receive, on the Effective Date or as soon as reasonably practicable thereafter, its Pro
                 Rata share of the AMH Litigation Trust Interests (which shall, for the avoidance of doubt,
                 be shared Pro Rata by the Holders of Prepetition Senior Notes Claims and Prepetition AMH
                 RBL Deficiency Claims calculated at the time of distribution; provided, that the AMH
                 Litigation Trust Interests distributed in respect of the Prepetition AMH RBL Deficiency
                 Claims shall be subject to adjustment, as provided in the AMH Litigation Trust Agreement,
                 as a result of the distribution of Excess AMH Reserve Amounts or the Cash monetization
                 of the Reserved ORRI issued pursuant to Article III.C.2.c.iii hereof).

         (c)     Voting: Class 6 is Impaired. Holders of Class 6 Prepetition AMH RBL Deficiency Claims
                 are entitled to vote to accept or reject the Plan.

 7.   Class 7:   SRII General Unsecured Claims

         (a)     Classification: Class 7 consists of all SRII General Unsecured Claims.

         (b)     Treatment: Each Holder of an Allowed Class 7 SRII General Unsecured Claim shall
                 receive payment in full in Cash from the SRII Claims Reserve on the later of the Effective
                 Date or as soon as practicable after such Claim becomes Allowed in accordance with the
                 Plan Administration Process, and

         (c)     Voting: Class 7 is Unimpaired. Holders of Class 7 SRII General Unsecured Claims are
                 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                 Bankruptcy Code and, therefore, Holders of such SRII General Unsecured Claims are not
                 entitled to vote to accept or reject the Plan.

 8.   Class 8:   Intercompany Claims

         (a)     Classification: Class 8 consists of all Intercompany Claims.

         (b)     Treatment: On the Effective Date, all Class 8 Intercompany Claims not released under the
                 Plan shall, at the option of the Debtors, either be (i) Reinstated or (ii) cancelled and
                 extinguished, in which case Holders of Intercompany Claims shall receive no recovery on
                 account of such Claims; provided, that notwithstanding anything to the contrary herein,
                 any Intercompany Claims of the SRII Debtors against AMR, including any superpriority



                                                28
Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 33 of 70



                 administrative claims of the SRII Debtors arising under the cash management orders
                 entered by the Bankruptcy Court in AMR and the SRII Debtors’ cases, shall be released,
                 cancelled and extinguished and the SRII Debtors shall receive no recovery on account
                 thereof.

         (c)     Voting: Class 8 is Impaired. Holders of Class 8 Intercompany Claims are conclusively
                 deemed to have rejected the Plan pursuant to section 1126(f) of the Bankruptcy Code and,
                 therefore, Holders of such Intercompany Claims are not entitled to vote to accept or reject
                 the Plan.

 9.   Class 9:   Intercompany Interests

         (a)     Classification. Class 9 consists of all Intercompany Interests.

         (b)     Treatment: Upon the completion of the Wind Down pursuant to the Plan Administration
                 Process, Class 9 Intercompany Interests shall be cancelled and discharged, with the Holders
                 of such Class 9 Intercompany Interests receiving no distribution on account of such
                 Intercompany Interests.

         (c)     Voting: Class 9 is Impaired. Holders of Class 9 Intercompany Interests are conclusively
                 deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code and,
                 therefore, Holders of Intercompany Interests are not entitled to vote to accept or reject the
                 Plan.

 10. Class 10:   SRII Interests

         (a)     Classification. Class 10 consists of all SRII Interests.

         (b)     Treatment: Class 10 SRII Interests for which the Holders thereof have not effectuated an
                 exchange prior to the Effective Date pursuant to Article V.W hereof shall be cancelled and
                 discharged. The Holders of such Class 10 SRII Interests and AMR (on account of AMR’s
                 Interest in SRII Opco, LP) shall receive, in exchange for their respective Interests in the
                 SRII Debtors, their Pro Rata shares of Excess SRII Distributable Cash and Excess SRII
                 Reserve Amounts remaining after satisfaction in full of SRII General Unsecured Claims.

         (c)     Voting: Class 10 is Impaired. Holders of Class 10 SRII Interests are entitled to vote to
                 accept or reject the Plan.

 11. Class 11:   AMR Interests

         (a)     Classification. Class 11 consists of all AMR Interests.

         (b)     Treatment: Class 11 AMR Interests, including those held by Holders as a result of an
                 exchange prior to the Effective Date pursuant to Article V.W hereof, shall be cancelled and
                 discharged, with the Holders of such Class 11 AMR Interests receiving no distribution on
                 account of such AMR Interests, except to the extent that Excess AMR Distributable Cash
                 and Excess AMR Reserve Amounts remain after satisfaction in full of AMR General
                 Unsecured Claims, in which event the Holders of AMR Interests and any Section 510(b)
                 Claims against AMR shall be entitled to their Pro Rata share of such remaining amounts.

         (c)     Voting: Class 11 is Impaired. Holders of Class 11 AMR Interests are expected to receive
                 no distribution under the Plan and are deemed to have rejected the Plan pursuant to section
                 1126(g) of the Bankruptcy Code and, therefore, Holders of AMR Interests are not entitled
                 to vote to accept or reject the Plan.




                                                29
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 34 of 70



          12. Class 12:     Section 510(b) Claims

                  (a)       Classification: Class 12 consists of all Section 510(b) Claims.

                  (b)       Treatment: Each Section 510(b) Claim shall be deemed canceled and discharged, with the
                            Holders of such Class 11 Section 510(b) Claims receiving no distribution on account of
                            such Claims, except to the extent that Excess AMR Distributable Cash and Excess AMR
                            Reserve Amounts remain after satisfaction in full of AMR General Unsecured Claims, in
                            which event the Holders of AMR Interests and any Section 510(b) Claims against AMR
                            shall be entitled to their Pro Rata share of such remaining amounts.

                  (c)       Voting: Class 12 is Impaired. Holders of Class 12 Section 510(b) Claims are expected to
                            receive no distribution under the Plan and are deemed to have rejected the Plan pursuant to
                            section 1126(g) of the Bankruptcy Code and, therefore, Holders of Section 510(b) Claims
                            are not entitled to vote to accept or reject the Plan.

          13. Class 13:     AMH Interests

                  (a)       Classification: Class 13 consists of all AMH Interests.

                  (b)       Treatment: Class 13 AMH Interests shall be cancelled and discharged, with the Holders
                            of such Class 13 AMH Interests receiving no distribution on account of such AMH
                            Interests.

                  (c)       Voting: Class 13 is Impaired. Holders of Class 13 AMH Interests will receive no
                            distribution under the Plan and are deemed to have rejected the Plan pursuant to section
                            1126(g) of the Bankruptcy Code and, therefore, Holders of AMH Interests are not entitled
                            to vote to accept or reject the Plan.

                                                    ARTICLE IV.

                                        ACCEPTANCE REQUIREMENTS

         Pursuant to sections 1126(c) and 1126(d) of the Bankruptcy Code and except as otherwise provided in
section 1126(e) of the Bankruptcy Code, (a) an impaired class of claims has accepted a chapter 11 plan if the holders
of at least two-thirds in dollar amount and more than one-half in number of allowed claims in such class actually
voting have voted to accept the plan and (b) an impaired class of interests has accepted the plan if the holders of at
least two-thirds in amount of the allowed interests in such class actually voting have voted to accept the plan.

A.       Acceptance or Rejection of this Plan

          1.      Voting Classes

          Classes 2, 3, 4, 5, 6, and 10 are Impaired under the Plan and are entitled to vote to accept or reject the Plan.
If no Holder of a Claim in any such Class votes to accept or reject the Plan, the Class will be deemed to have accepted
the Plan.

          2.      Presumed Acceptance of the Plan

         Classes 1 and 7 are Unimpaired under the Plan and is, therefore, conclusively presumed to have accepted the
Plan pursuant to section 1126(f) of the Bankruptcy Code.




                                                           30
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 35 of 70



          3.      Deemed Rejection of the Plan

        Classes 8, 9, 11, 12 and 13 are Impaired under the Plan and are not entitled to receive or retain any property
on account of the Claims and Interests in Classes 8, 9, 11, 12 and 13. Therefore, Classes 8, 9, 11, 12 and 13 are
deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.

B.       Confirmation of This Plan Pursuant to Section 1129(b) of the Bankruptcy Code

         The Debtors intend to seek Confirmation pursuant to section 1129(b) of the Bankruptcy Code.

C.       Subordinated Claims

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code,
or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors and the applicable Plan Administrator
reserve the right to re-classify any Allowed Claim or Allowed Interest in accordance with any contractual, legal, or
equitable subordination relating thereto.

D.       Controversy Concerning Impairment

         If a controversy arises as to whether any Claims or Interests (or any Class of Claims or Interests) are Impaired
under this Plan, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or prior to the
Confirmation Date.

E.       Elimination of Vacant Classes

          Any Class that, as of the commencement of the commencement of the Confirmation Hearing, does not have
at least one Holder of a Claim or Interest that is Allowed in an amount greater than zero for voting purposes shall be
considered vacant, deemed eliminated from this Plan for purposes of voting to accept or reject this Plan, and
disregarded for purposes of determining whether this Plan satisfies section 1129(a)(8) of the Bankruptcy Code with
respect to such Class.

F.       Presumed Acceptance by Non-Voting Classes

         With respect to each Debtor, if a Class contains Claims or Interests eligible to vote and no Holder of Claims
or Interests eligible to vote in such Class votes to accept or reject this Plan, this Plan shall be presumed accepted by
the Holders of such Claims or Interests in such Class.

                                                     ARTICLE V.

                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       Transactions Effective as of the Effective Date

         The transactions contemplated by the Plan shall be approved and effective as of the Effective Date, without
the need for any further state or local regulatory approvals or approvals by any non-Debtor parties, and without any
requirement for further action by the Debtors, their board of directors, their stockholders, or any other person or entity.

B.       Closing of Sale and Uses of Cash

          On April 9, 2020, the Debtors consummated the Sale pursuant to the terms and conditions of the Purchase
Agreement, including, without limitation, selling the Assets (as defined in the Purchase Agreement) free and clear of
certain liens and encumbrances to the extent set forth in the Purchase Agreement, assuming and assigning to the



                                                            31
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 36 of 70



Purchaser pursuant to the Purchase Agreement in connection with the Sale certain contracts and unexpired leases, and
reserving the Reserved ORRI and reserving and conveying to KFM the KFM ORRI free and clear of liens and
encumbrances as set forth in the Sale Order.

          Upon consummation of the Sale, the Net Sale Proceeds of the Sale were used to fund the Interim Distribution
and placed into accounts established and maintained by the Debtors in accordance with and to the extent required
under the Sale Order. The Net Sale Proceeds constitute AMH Distributable Cash. On the Effective Date, the Debtors
shall fund (a) from the AMR Distributable Cash, (i) the AMR Wind Down Reserve with the AMR Wind Down
Amount and (ii) the AMR Claims Reserve with the AMR Claims Reserve Amount, (b) from the AMH Distributable
Cash, (i) the AMH Wind Down Reserve with the AMH Wind Down Amount and (ii) the AMH Claims Reserve with
the AMH Claims Reserve Amount (provided that the AMH GUC Claim Administrator Reserve shall be transferred to
the AMH GUC Claim Administrator and the AMH GUC Distribution Cash shall be transferred to the AMH GUC
Claim Disbursing Agent to be held in trust for the benefit of the Holders of Allowed Class 5 AMH General Unsecured
Claims), and (c) from the SRII Distributable Cash, (i) the SRII Wind Down Reserve with the SRII Wind Down
Amount and (ii) the SRII Claims Reserve with the SRII Claims Reserve Amount. The balance of the AMR
Distributable Cash, the AMH Distributable Cash, and the SRII Distributable Cash shall be held by the Debtors and
distributed in accordance with the Plan on the Effective Date.

C.       SRII Claims Bar Date

         All Claims against one or more of the SRII Debtors must be Filed with the Balloting Agent and served upon
the AMR/SRII Plan Administrator and counsel for the Debtors within thirty (30) days after the occurrence of the
Effective Date.

D.       KFM/AMH Settlement

          Subject to the occurrence of the KFM Effective Date, the KFM Debtors shall provide the AMH Debtors with
an allowed administrative expense claim in the amount of $100,000 in accordance with the terms of the KFM Plan,
including the conditions to allowance of such administrative expense claim set forth therein, and, upon the satisfaction
of such conditions, shall satisfy that claim by paying the full amount of such claim in Cash to the AMH Debtors’
estates as soon as reasonably practicable thereafter (the “KFM/AMH Settlement Proceeds”). In exchange therefor,
the AMH Debtors have agreed to (i) provide the releases of the KFM Releasing Parties set forth in Section X.B. hereof,
subject to the occurrence of the KFM Effective Date and the KFM Plan containing fully-mutual releases of the AMH
Releasing Parties set forth in clauses (b) through (g) of the definition of “AMH Releasing Parties” and subject in all
respects to the receipt of such KFM/AMH Settlement Proceeds; and (ii) waive their rights to challenge the liens of the
KFM Lenders. Further, as additional consideration and in exchange for the agreement to pay the KFM/AMH
Settlement Proceeds and the mutual releases described in the foregoing sentence, effective as of April 7, 2020, the
AMH Debtors, their Estates, the Committee and its members, and the each member of the Ad Hoc Noteholder Group
each waived all of their respective rights to (i) challenge the liens of the KFM Agent and the KFM Lenders on all
property of the KFM Debtors and their estates and (ii) object to, contest, hinder, or otherwise delay confirmation of
the KFM Plan, and the Challenge Period (as defined in the KFM Cash Collateral Order), to the extent then still
effective, expired immediately upon such date. For the avoidance of doubt, the releases of the KFM Releasing Parties
set forth in Section X.B. hereof include the waiver by the AMH Debtors and their Estates of all of their rights to pursue
any claims against the KFM Released Parties (including in connection with that certain adversary proceeding under
the caption Alta Mesa Holdings, LP v. Kingfisher Midstream, LLC, No. 19-03609 (MI)) or to otherwise challenge the
KFM Agent’s or the KFM Lenders’ liens on all property of the KFM Debtors and their estates.

          Pursuant to sections 363 and 1123(b)(2) of the Bankruptcy Code and Bankruptcy Rule 9019, and in
consideration for the distributions and other benefits provided pursuant to this Plan and the KFM Plan, including the
KFM/AMH Settlement Proceeds, the provisions of this Plan shall constitute a good faith compromise of Claims,
Interests and controversies relating to the contractual, legal and other rights that the Debtors may have with respect to
any Claim against the KFM Debtors and any contractual, legal and other rights that the KFM Debtors may have with
respect to any Claim against the Debtors; provided, however, that under no circumstance shall the provisions of this
Section V.D be construed to release any Excluded Parties. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims and controversies, as well as a finding



                                                           32
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 37 of 70



by the Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors, their Estates, and
the holders of Claims and Interests, and is fair, equitable and reasonable.

E.       Plan Administration Trust Funding and AMH GUC Claim Administrator Reserve Funding

         On the Effective Date, the AMH Wind Down Reserve shall be funded by the AMH Debtors in accordance
with the AMH Plan Administration Trust Agreement. The AMH Wind Down Reserve shall vest in the AMH Plan
Administration Trust pursuant to Article V.F of the Plan.

         On the Effective Date, the AMR Wind Down Reserve shall be funded by the AMR Debtors in accordance
with the AMR/SRII Plan Adminstration Trust Agreement. The AMR Wind Down Reserve shall vest in the AMR/SRII
Plan Administration Trust pursuant to Article V.F of the Plan.

          On the Effective Date, the AMH GUC Claim Administrator Reserve shall be funded by the AMH Debtors in
accordance with the AMH GUC Claim Administrator Agreement and Section V.B hereof. From and after the
Effective Date, all fees, costs, expenses, and obligations incurred by the AMH GUC Claim Administrator in resolving
AMH General Unsecured Claims shall be paid exclusively from the AMH GUC Claim Administrator Reserve,
provided, in each case, that such costs, expenses, and obligations shall be reasonable and documented, provided,
further, that if the AMH GUC Claim Administrator determines after consultation with the AMH GUC Claim Oversight
Committee that its services in that capacity have been completed, the AMH GUC Claim Administrator may, in its sole
discretion, upon five Business Days’ notice to the Bankruptcy Court, donate any surplus funds remaining in the AMH
GUC Claim Administrator Reserve to a suitable charitable organization (for example, the American Bankruptcy
Institute Endowment Fund, CARE, or similar organization) without any further action or order of the Bankruptcy
Court if it determines that a distribution of the funds to Holders of Allowed AMH General Unsecured Claims is not
feasible or practicable.

F.       The Plan Administration Trusts/AMH GUC Administrator Agreement

On the Effective Date, the AMH Plan Administrator shall sign the AMH Plan Administration Trust Agreement and
cause the AMH Plan Administration Trust to accept, on behalf of the beneficiaries thereof, on the Effective Date or
as soon as reasonably practicable thereafter (a) the AMH Claims Reserve and the Cash therein, provided, however,
that, notwithstanding anything set forth herein, on the Effective Date, the AMH GUC Claim Administrator Reserve
shall be transferred to the AMH GUC Claim Administrator and the AMH GUC Distribution Cash shall be transferred
to the AMH GUC Claim Disbursing Agent, who shall hold the AMH GUC Distribution Cash in trust for the benefit
of the Holders of Allowed Class 5 AMH General Unsecured Claims, (b) the AMH Wind Down Reserve and the Cash
therein, (c) the Net Sale Proceeds, (d) the AMH Cash on Hand, and (e) all other non-Cash assets of the Estates of the
AMH Debtors not subject to the Sale, in each case excluding the AMH Litigation Trust Assets (all of the assets
described in (a) through (e), together with the proceeds thereof, the “AMH Plan Administration Trust Assets”),
provided, however, that the AMH Plan Administration Trust, with the consent of the AMH Plan Administrator, may
abandon or otherwise not accept any assets that the AMH Plan Administrator believes, in good faith, have no value to
the AMH Plan Administration Trust. Any assets the AMH Plan Administration Trust so abandons or otherwise does
not accept shall not vest in the AMH Plan Administration Trust. As of the Effective Date, all assets vested in the
AMH Plan Administration Trust and all assets dealt with in the Plan shall be free and clear of all Liens, Claims, and
Interests except as otherwise specifically provided in the Plan or in the Confirmation Order. Notwithstanding anything
to the contrary in this Plan, the AMH Plan Administration Trust Assets shall not include the Professional Fee Claims
Reserve, but shall include a reversionary interest in the Unused Professional Fee Reserve Amount.

         The AMH Plan Administration Trust will be deemed created and effective without any further action by the
Bankruptcy Court or any party, provided that the Debtors and the AMH Plan Administrator shall take any further
actions each deems reasonably necessary and appropriate to effect creation of the AMH Plan Administration Trust.
The AMH Plan Administration Trust shall be established for the primary purpose of liquidating its assets (as
applicable) and for making distributions in accordance with the Plan and the AMH Plan Administration Trust
Agreement, with no objective to continue or engage in the conduct of a trade or business, except to the extent
reasonably necessary to, and consistent with, the liquidating purpose of the AMH Plan Administration Trust.




                                                         33
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 38 of 70



          On the Effective Date, the AMR/SRII Plan Administrator shall sign the AMR/SRII Plan Administration Trust
Agreement and cause the AMR/SRII Plan Administration Trust to accept, on behalf of the beneficiaries thereof, (a)
the AMR Claims Reserve and the Cash therein, (b) the SRII Claims Reserve and the Cash therein, (c) the AMR Wind
Down Reserve and the Cash therein, (d) the SRII Wind Down Reserve and the Cash therein, (e) the AMR Retained
Causes of Action, (f) the SRII Retained Causes of Action, (g) all other non-Cash assets of the Estate of AMR, and (h)
all other non-Cash assets of the Estates of the SRII Debtors (together with the proceeds of the assets described in (a)
through (h), the “AMR/SRII Trust Assets”), provided, however, that the AMR/SRII Plan Administration Trust, with
the consent of the AMR/SRII Plan Administrator, may abandon or otherwise not accept any assets that the AMR/SRII
Plan Administrator believes, in good faith, have no value to the AMR/SRII Plan Administration Trust. Any assets the
AMR/SRII Plan Administration Trust so abandons or otherwise does not accept shall not vest in the AMR/SRII Plan
Administration Trust. As of the Effective Date, all assets vested in the AMR/SRII Plan Administration Trust and all
assets dealt with in the Plan shall be free and clear of all Liens, Claims, and Interests except as otherwise specifically
provided in the Plan or in the Confirmation Order.

          The AMR/SRII Plan Administration Trust will be deemed created and effective without any further action
by the Bankruptcy Court or any party, provided that the Debtors and the AMR/SRII Plan Administrator shall take any
further actions each deems reasonably necessary and appropriate to effect creation of the AMR/SRII Plan
Administration Trust. The AMR/SRII Plan Administration Trust shall be established for the primary purpose of
liquidating its assets (as applicable) and for making distributions in accordance with the Plan and the AMR/SRII Plan
Administration Trust Agreement, with no objective to continue or engage in the conduct of a trade or business, except
to the extent reasonably necessary to, and consistent with, the liquidating purpose of the AMR/SRII Plan
Administration Trust.

        On or before the Effective Date, the AMH Debtors, AMH Plan Administrator, AMH GUC Claim Oversight
Committee, and AMH GUC Claim Administrator shall execute the AMH GUC Claim Administrator Agreement and
the AMH Debtors shall fund the AMH GUC Claim Administrator Reserve, which shall be transferred to the AMH
GUC Claim Administrator. All expenses incurred by the AMH GUC Claim Administrator shall be the responsibility
of and paid by the AMH GUC Claim Administrator solely from the AMH GUC Claim Administrator Reserve, in
accordance with the AMH GUC Claim Administrator Agreement.

G.       The AMH GUC Claim Administrator.

          The authority, duties, rights, privileges, and responsibilities of the AMH GUC Claim Administrator and the
AMH GUC Claim Oversight Committee shall be specified in the AMH GUC Claim Administrator Agreement and
this Plan. The AMH GUC Claim Oversight Committee shall be a board appointed by the Committee of no more than
3 members, the initial members of whom shall be disclosed in the Plan Supplement. The AMH GUC Claim
Administrator, in its discretion, may consult with and receive the consent of the majority of the AMH GUC Claim
Oversight Committee regarding any matter, including, but not limited to, any issue concerning a Disputed AMH
General Unsecured Claim, which the AMH GUC Claim Administrator reasonably determines may be expected to
have a material effect on the total Allowed Amount of AMH General Unsecured Claims. The AMH GUC Claim
Oversight Committee shall not be compensated for their service thereon. The members of the AMH GUC Claim
Oversight Committee may be expanded, contracted, replaced or removed by the vote of a majority of the members of
such committee then serving.

H.       Certain Powers and Duties of the Plan Administration Trusts, the Plan Administrators, and the AMH GUC
         Claim Administrator

           The AMH Plan Administrator shall be the exclusive trustee of the assets of the AMH Plan Administration
Trust for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3). The powers, rights, and responsibilities of the
AMH Plan Administrator shall be specified in the AMH Plan Administration Trust Agreement and shall include the
authority and responsibility to: (a) receive, manage, invest, supervise, and protect AMH Plan Administration Trust
Assets; (b) pay taxes or other obligations incurred by the AMH Plan Administration Trust; (c) retain and compensate,
without further order of the Bankruptcy Court, the services of employees, professionals, and consultants to advise and
assist in the administration, prosecution, and distribution of AMH Plan Administration Trust Assets; (d) calculate and
implement distributions of AMH Plan Administration Trust Assets; (e) resolve issues involving AMH Debtor Claims
and Interests pursuant to Article VIII of the Plan, subject to the exclusive rights of the AMH GUC Claim Administrator


                                                           34
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 39 of 70



to reconcile, object to, settle or otherwise administer AMH General Unsecured Claims pursuant to this Plan and the
AMH GUC Claim Administrator Agreement; and (f) undertake all administrative functions of the Chapter 11 Cases,
including the ultimate closing of the Chapter 11 Cases. The AMH Plan Administration Trust shall be treated as the
successor to the AMH Debtors’ and the AMH Debtors’ Estates’ rights under contract, tort, or other applicable law,
excluding, for the avoidance of doubt, with respect to the AMH Litigation Trust Causes of Action.

          On the Effective Date, subject to the exclusive rights of the AMH GUC Claim Administrator to reconcile,
object to, settle or otherwise administer AMH General Unsecured Claims pursuant to this Plan and the AMH GUC
Claim Administrator Agreement, the AMH Plan Administration Trust shall also have the power, right, and
responsibility to conduct the Wind Down and to take possession of all books, records, and files of the AMH Debtors
and the AMH Debtors’ Estates solely to the extent necessary for completion of the Plan Administration Process and
to assist the AMH GUC Claim Administrator as set forth in the AMH GUC Claim Administrator Agreement. The
AMH Plan Administration Trust shall provide for the retention and storage of such books, records, and files until the
earlier of (x) the completion of the Plan Administration Process and (y) such time as the Plan Administration Trust
determines, in accordance with the AMH Plan Administration Trust Agreement, that retention of same is no longer
necessary or required, at which time such books, records and files shall be turned over to the AMH Litigation Trustee.
At any time during the Plan Administration Process and upon the reasonable request of the AMH Litigation Trustee,
the AMH Plan Administration Trust shall provide the AMH Litigation Trustee with any books, records, and files in
the AMH Plan Administration Trust’s possession.

         All expenses incurred by the AMH Plan Administration Trust and the AMH Plan Administrator shall be the
responsibility of and paid by the AMH Plan Administration Trust, in accordance with the AMH Plan Administration
Trust Agreement. The AMH Plan Administrator shall be compensated in cash from funds reserved pursuant to the
Wind Down Budget. All expenses and fees incurred by the AMH GUC Claim Administrator shall be the responsibility
of and paid from the AMH GUC Claim Administrator Reserve and in accordance with the AMH GUC Claim
Administrator Agreement. The AMH Plan Administrator shall not have any responsibility to pay expenses or fees
incurred by the AMH GUC Claim Administrator that exceed the amount in the AMH GUC Claim Administrator
Reserve.

          The AMR/SRII Plan Administrator shall be the exclusive trustee of the assets of the AMR/SRII Plan
Administration Trust for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3). The powers, rights, and
responsibilities of the AMR/SRII Plan Administrator shall be specified in the AMR/SRII Plan Administration Trust
Agreement and shall include the authority and responsibility to: (a) receive, manage, invest, supervise, and protect
AMR/SRII Trust Assets; (b) pay taxes or other obligations incurred by the AMR/SRII Plan Administration Trust;
(c) retain and compensate, without further order of the Bankruptcy Court, the services of employees, professionals,
and consultants to advise and assist in the administration, prosecution, and distribution of AMR/SRII Trust Assets,
including the AMR Retained Causes of Action and the SRII Retained Causes of Action; (d) calculate and implement
distributions of AMR/SRII Trust Assets; (e) prosecute, compromise, and settle, in accordance with the specific terms
of the AMR/SRII Plan Administration Trust Agreement, AMR Retained Causes of Action and the SRII Retained
Causes of Action; (f) resolve issues involving AMR and SRII Debtor Claims and Interests pursuant to Article VIII of
the Plan; and (g) undertake all administrative functions of the Chapter 11 Cases, including the ultimate closing of the
Chapter 11 Cases. The AMR/SRII Plan Administration Trust shall be treated as the successor to the rights of AMR,
AMR’s Estate, the SRII Debtors, and the SRII Debtors’ Estates under contract, tort, or other applicable law.

          On the Effective Date, the AMR/SRII Plan Administration Trust shall also have the power, right, and
responsibility to conduct the Wind Down and to take possession of all books, records, and files of AMR, AMR’s
Estate, the SRII Debtors and the SRII Debtors’ Estates and provide for the retention and storage of such books, records,
and files until such time as the AMR/SRII Plan Administration Trust determines, in accordance with the AMR/SRII
Plan Administration Trust Agreement, that retention of same is no longer necessary or required.

          All expenses incurred by the AMR/SRII Plan Administration Trust and the AMR/SRII Plan Administrator
shall be the responsibility of and paid by the AMR/SRII Plan Administration Trust, in accordance with the AMR/SRII
Plan Administration Trust Agreement.

         In no event later than three (3) months after the Effective Date and on a quarterly basis thereafter until all
Cash in the Claims Reserves and the Wind Down Reserves has been released or paid out in accordance with the Plan,


                                                          35
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 40 of 70



the AMH Plan Administrator and the AMR/SRII Plan Administrator shall file with the Bankruptcy Court reports
setting forth the amounts, recipients, and dates of all distributions made by the AMH Plan Administrator and the
AMR/SRII Plan Administrator, respectively, under the Plan through each applicable reporting period.

I.       Federal Income Tax Treatment of the Plan Administration Trusts for the Plan Administration Trust Assets;
         Tax Reporting and Tax Payment Obligations

         For U.S. federal income tax purposes, it is intended that the Plan Administration Trusts (except with respect
to the Claims Reserves) be classified as liquidating trusts under Treasury Regulation Section 301.7701-4(d).
Accordingly, for U.S. federal income tax purposes, it is intended that the beneficiaries of the Plan Administration
Trusts be treated as if they had received a distribution from the Estates of an undivided interest in each of the assets
of the Plan Administration Trusts (to the extent of the value of their respective shares therein) and then contributed
such interests to the Plan Administration Trusts.

         1.     Plan Administration Trust Assets Treated as Owned by Beneficiaries of Plan Administration Trusts

          For U.S. federal income tax purposes, the Plan Administration Trusts (except with respect to the Claims
Reserves associated therewith) shall be treated as grantor trusts, and the beneficiaries of the Plan Administration Trusts
shall be treated as the grantors of the Plan Administration Trusts and the owners of the assets thereof. Accordingly,
for all U.S. federal income tax purposes, other than with respect to assets attributable to the Claims Reserves, all
parties shall treat the transfer of assets (net of any applicable liabilities) to the Plan Administration Trusts for the
benefit of the beneficiaries thereof as (a) a transfer by the Debtors of the assets of the Plan Administration Trusts (net
of any applicable liabilities) directly to the beneficiaries of the Plan Administration Trusts (to the extent of the value
of their respective shares in the assets of the Plan Administration Trusts), followed by (b) the transfer of the assets of
the Plan Administration Trusts (net of any applicable liabilities) by the beneficiaries of the Plan Administration Trusts
(to the extent of the value of their respective share in the assets of the Plan Administration Trusts) to the Plan
Administration Trusts in exchange for the beneficial interests in the Plan Administration Trusts.

         2.    Tax Reporting

         The Plan Administration Trusts shall be responsible for filing all federal, state, local and non-U.S. tax returns
required to be filed by the Debtors and the Plan Administration Trusts, including, but not limited to, the Claims
Reserves associated therewith and any documentation related thereto for information reporting with respect to current
or former employees, vendors or contractors of the Debtors. No later than 30 days prior to the due date of the Form
1065 for SRII, the Plan Administration Trusts shall provide a draft of such Form 1065 and the relevant Schedule K-1
to each Holder of SRII Interests for its review and comment. The Plan Administration Trusts agree to consider in
good faith all reasonable comments that are timely received from each Holder of SRII Interests.

          The Plan Administration Trusts shall file all tax returns for the Plan Administration Trusts, except with
respect to the Claims Reserves associated therewith, as a grantor trust pursuant to Treasury Regulation Section 1.671-
4(a) and in accordance with this Article V.I. Within a reasonable time following the end of the taxable year, the
applicable Plan Administrator shall send to each holder of a beneficial interest appearing on its record during such
year, a separate statement setting forth such holder’s share of items of income, gain, loss, deduction or credit and each
such holder shall report such items on their U.S. federal income tax returns. The applicable Plan Administrator may
provide each such holder of a beneficial interest with a copy of the Form 1041 for the applicable Plan Administration
Trust (without attaching any other holder’s Schedule K-1 or other applicable information form) along with such
holder’s Schedule K-1 or other applicable information form in order to satisfy the foregoing requirement. The
applicable Plan Administrator shall allocate the taxable income, gain, loss, deduction or credit of the applicable Plan
Administration Trust, respectively, with respect to each holder of a beneficial interest to the extent required by the
IRC (as defined in Article VI.A) and applicable law.

          As soon as possible after the Effective Date, the Plan Administration Trusts shall make a good faith valuation
of the assets of the Plan Administration Trusts, and such valuation shall be used consistently by all parties for all U.S.
federal income tax purposes. The Plan Administration Trusts also shall file (or cause to be filed) any other statements,
returns, or disclosures relating to the Plan Administration Trusts that are required by any taxing authority.



                                                           36
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 41 of 70



         The Plan Administration Trusts shall file all income tax returns with respect to any income attributable to the
Claims Reserves and shall, subject to Article V.I.3 of the Plan, pay the federal, state and local income taxes attributable
to the Claims Reserves, based on the items of income, deduction, credit or loss allocable thereto.

        The Plan Administration Trusts may request an expedited determination of the tax obligations of the Plan
Administration Trusts, including the Claims Reserves, under Bankruptcy Code Section 505(b) for all returns filed for,
or on behalf of, the Plan Administration Trusts for all taxable periods through the dissolution of the Plan
Administration Trusts.

          The Plan Administration Trusts shall comply with all withholding and reporting requirements imposed by
any federal, state, local, or non-U.S. taxing authority, and all distributions made by the Plan Administration Trusts
shall be subject to any such withholding and reporting requirements.

         3.    Payment of Taxes

          The Plan Administration Trusts shall be responsible for payments of all Allowed tax obligations of the
Debtors including Priority Tax Claims and Administrative Claims, in addition to any taxes imposed on the Plan
Administration Trusts or their assets, including the Claims Reserves associated therewith. In the event, and to the
extent, any Cash retained on account of disputed claims in the Claims Reserves associated with the Plan
Administration Trusts is insufficient to pay the portion of any such taxes attributable to the taxable income arising
from the assets of the Plan Administration Trusts allocable to, or retained on account of, disputed claims, such taxes
shall be (a) reimbursed from any subsequent Cash amounts retained on account of disputed claims, or (b) to the extent
such disputed claims have subsequently been resolved, deducted from any amounts distributable by the Plan
Administration Trusts as a result of the resolutions of such disputed claims.

J.       Authority to Pursue, Settle, or Abandon Retained Causes of Action

         From and after the Effective Date, except as otherwise set forth in this Article V.J, prosecution and settlement
of all AMR Retained Causes of Action and SRII Retained Causes of Action shall be the sole responsibility of the
AMR/SRII Plan Administration Trust pursuant to the Plan, the Confirmation Order and the AMR/SRII Plan
Administration Trust Agreement. From and after the Effective Date, the AMR/SRII Plan Administration Trust shall
have exclusive rights, powers, and interests of AMR’s Estate and the SRII Debtors’ Estates to pursue, settle, or
abandon such AMR Retained Causes of Action and SRII Retained Causes of Action as the sole representative of the
estates pursuant to section 1123(b)(3) of the Bankruptcy Code.

        All AMR/SRII Retained Causes of Action are reserved and preserved and shall not be impacted or affected
in any way by deemed consolidation of the estates.

K.       AMH Litigation Trust

          1.   Litigation Trust Funding.

         The AMH Litigation Trust Contribution Parties shall contribute the AMH Litigation Trust Funds to the AMH
Litigation Trust on the Effective Date to be placed in a segregated account and held in trust by the AMH Litigation
Trustee in accordance with the AMH Litigation Trust Agreement. The AMH Litigation Trust Funds shall vest in the
AMH Litigation Trust on the Effective Date pursuant to this Article V.K. of the Plan.

          2.   Creation of AMH Litigation Trust.

         On the Effective Date, the AMH Litigation Trustee shall sign the AMH Litigation Trust Agreement and cause
the AMH Litigation Trust to accept, on behalf of the beneficiaries thereof, on the Effective Date or as soon as
reasonably practicable thereafter the AMH Litigation Trust Causes of Action (and any proceeds arising therefrom,
including under the D&O Policies), and the AMH Debtors shall be deemed to have irrevocably transferred the AMH
Litigation Trust Causes of Action (and any proceeds arising therefrom, including under the D&O Policies) to the
AMH Litigation Trust; provided, however, that the AMH Litigation Trust may abandon or otherwise not accept any



                                                            37
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 42 of 70



assets that the AMH Litigation Trustee believes, in good faith, have no value to the AMH Litigation Trust; provided,
further, that no abandonment or non-acceptance shall have occurred, or be deemed to have occurred, without an
express written statement of such abandonment or non-acceptance by the AMH Litigation Trustee. Any assets the
AMH Litigation Trust so abandons or otherwise does not accept shall not vest in the AMH Litigation Trust. As of the
Effective Date, all assets vested in the AMH Litigation Trust shall be free and clear of all Liens, Claims, and Interests
except as otherwise specifically provided in the Plan or in the Confirmation Order.

          The AMH Litigation Trust will be deemed created and effective without any further action by the Bankruptcy
Court or any party, provided that the AMH Debtors and the AMH Litigation Trustee shall take any further actions
each deems reasonably necessary and appropriate to effect creation of the AMH Litigation Trust. The AMH Litigation
Trust shall be established for the primary purpose of prosecution and settlement of the AMH Litigation Trust Causes
of Action and for making distributions in accordance with the Plan and the AMH Litigation Trust Agreement, and
will have no objective other than as set forth in the AMH Litigation Trust Agreement. The AMH Litigation Trustee
shall have the sole right to pursue any existing or potential AMH Litigation Trust Causes of Action, by, among other
things, informal demand or commencement of litigation.

          Beneficiaries of the AMH Litigation Trust shall have the option to contribute additional causes of action to
the AMH Litigation Trust or to a separate trust on terms to be determined by the Ad Hoc Noteholder Group, in
consultation with the AMH Debtors and the Prepetition AMH RBL Agent.

          3.   The AMH Litigation Trustee.

         From and after the Effective Date, the AMH Litigation Trustee shall be appointed as the exclusive trustee of
the assets of the AMH Litigation Trust for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 601(b)(3) pursuant to the
AMH Litigation Trust Agreement, the Plan, and the Confirmation Order, until death, resignation or discharge and the
appointment of a successor AMH Litigation Trustee in accordance with the terms of the AMH Litigation Trust
Agreement. The responsibilities of the AMH Litigation Trustee shall include those set forth in the AMH Litigation
Trust Agreement and this Plan. The AMH Litigation Trustee shall have the authority, without limitation and without
further Bankruptcy Court approval:

                  (a)      with respect to the AMH Litigation Trust Causes of Action, to exercise, in a manner not
                           inconsistent with the Plan, all power and authority that may be or could have been
                           exercised, commence all proceedings that may be or could have been commenced and take
                           all actions that may be or could have been taken by any member, officer, director or
                           shareholder of the AMH Debtors with like effect as if authorized, exercised and taken by
                           unanimous action of such officers, directors and shareholders;

                  (b)      to receive, manage, invest, supervise and protect AMH Litigation Trust Assets;

                  (c)      to pay obligations and expenses incurred by the AMH Litigation Trust;

                  (d)      to maintain accounts, to calculate and make distributions to holders of AMH Litigation
                           Trust Interests provided for or contemplated in the Plan and take other actions consistent
                           with the Plan and the implementation thereof;

                  (e)      after the Effective Date, to adjust AMH Litigation Trust Interests in accordance with the
                           Plan, the Confirmation Order or the AMH Litigation Trust Agreement, without supervision
                           or approval of the Bankruptcy Court and free of any restriction of the Bankruptcy Code,
                           the Bankruptcy Rules, and the local rules of the Bankruptcy Court, other than those
                           restrictions expressly imposed by the Plan, the Confirmation Order or the AMH Litigation
                           Trust Agreement;

                  (f)      to make decisions, regarding the retention or engagement of professionals by the AMH
                           Litigation Trust and the AMH Litigation Trustee and to pay the fees and charges incurred
                           by the AMH Litigation Trustee on the AMH Litigation Trust’s behalf on or after the



                                                           38
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 43 of 70



                            Effective Date for fees and expenses of professionals (including those retained by the AMH
                            Litigation Trustee), disbursements, expenses or related support services relating to the
                            AMH Litigation Trust or as otherwise provided in the AMH Litigation Trust Agreement,
                            provided that any such professionals shall be compensated solely from the AMH Litigation
                            Trust and in no event shall the AMH Litigation Trustee or any of its professionals have or
                            make any claim for reimbursement of fees or expenses against any Person other than the
                            AMH Litigation Trustee or any property other than the AMH Litigation Trust;

                  (g)       to file, if necessary, any and all tax and information returns required with respect to the
                            AMH Litigation Trust as a grantor trust pursuant to Treasury Regulation Section 1.671-
                            4(a) or otherwise, make tax elections by and on behalf of the AMH Litigation Trust and
                            pay taxes, if any, payable by the AMH Litigation Trust;

                  (h)       to prosecute or settle AMH Litigation Trust Causes of Action in accordance with the terms
                            of the AMH Litigation Trust Agreement, for the benefit of holders of AMH Litigation Trust
                            Interests, and exercise, participate in or initiate any proceeding before the Bankruptcy
                            Court or any other court of appropriate jurisdiction and participate as a party or otherwise
                            in any administrative, arbitrative or other nonjudicial proceeding and pursue to settlement
                            or judgment of such actions;

                  (i)       to purchase or create and carry all insurance policies and pay all insurance premiums and
                            costs the AMH Litigation Trustee deems necessary or advisable;

                  (j)       to establish, oversee and administer, additional trusts for the benefit of holders of AMH
                            Litigation Trust Interests (including, without limitation, trusts vested with direct Claims or
                            Causes of Action contributed by holders of AMH Litigation Trust Interests) and allocate
                            assets or other resources of the AMH Litigation Trust to facilitate the establishment,
                            oversight and administration of such additional trusts, in each case as the AMH Litigation
                            Trustee deems reasonably necessary or appropriate in the AMH Litigation Trustee’s sole
                            discretion;

                  (k)       to raise additional funding for the AMH Litigation Trust in order to (i) pursue the AMH
                            Litigation Trust Causes of Action, support distributions to holders of AMH Litigation Trust
                            Interests provided for or contemplated in the Plan and (ii) support or facilitate any other
                            function, duty or responsibility of the AMH Litigation Trust or the AMH Litigation Trustee
                            that is contemplated by this Plan or the AMH Litigation Trust Agreement, in each case in
                            accordance with the AMH Litigation Trust Agreement; and

                  (l)       to exercise such other powers as may be vested in or assumed by the AMH Litigation
                            Trustee pursuant to the Plan, the AMH Litigation Trust Agreement, the Confirmation Order
                            or other orders of the Bankruptcy Court and take all other actions not inconsistent with the
                            provisions of the Plan which the AMH Litigation Trustee deems reasonably necessary or
                            desirable with respect to implementing the Plan.

         With respect to any AMH Litigation Trust Causes of Action, the AMH Litigation Trustee shall stand in the
same position as the AMH Debtors with respect to any claim the AMH Debtors may have to an attorney-client
privilege, the work-product doctrine or any other privilege, and the AMH Litigation Trustee shall succeed to all of the
AMH Debtors’ rights to preserve, assert or waive any such privilege.

         The AMH Debtors or the AMH Plan Administrators, as appropriate, will cooperate with the AMH Litigation
Trustee and its professionals, as applicable, solely in relation to the activities of the AMH Litigation Trustee authorized
hereunder, including by providing reasonable, good-faith access to personnel, systems, and books and records to the
extent and at such times as providing such access will not interfere with the discharge of the primary obligations of
the AMH Debtors, the AMH Plan Administrators, and their respective personnel.




                                                            39
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 44 of 70



          To the extent that the AMH Debtors or the AMH Plan Administrators determine that responding to any
particular information request from the AMH Litigation Trustee requires the AMH Debtors, the AMH Plan
Administrators, or their personnel to expend material time or resources outside the ordinary course of their operations
or responsibilities, the AMH Debtors, the AMH Plan Administrators, or their personnel shall communicate the same
to the AMH Litigation Trustee, together with a range of expected costs to satisfy such information request. Such
parties shall work in good faith to address any disputes arising in connection with such cost analysis. The AMH
Litigation Trust shall satisfy any agreed-upon cost expenditures; in the absence of such agreement, the AMH Litigation
Trustee may withdraw its information request, the AMH Debtors or the AMH Plan Administrators may determine not
to satisfy such request, and all parties’ rights are reserved to raise any such disputes with the Bankruptcy Court.

         All expenses incurred by the AMH Litigation Trust and the AMH Litigation Trustee, shall be the
responsibility of and paid by the AMH Litigation Trust, in accordance with the AMH Litigation Trust Agreement.

L.       Treatment of AMH Litigation Trust Causes of Action

          From and after the Effective Date, except as otherwise set forth in this Article V.L, prosecution and settlement
of all AMH Litigation Trust Causes of Action shall be the sole responsibility of the AMH Litigation Trust, and all
rights, powers, and interests of the AMH Debtors’ Estates in respect of the AMH Litigation Trust Causes of Action
shall be transferred to and vest exclusively in the AMH Litigation Trust, pursuant to the Plan, the Confirmation Order
and the AMH Litigation Trust Agreement. From and after the Effective Date, the AMH Litigation Trustee shall have
exclusive rights, powers, and interests to pursue, settle, or abandon such AMH Litigation Trust Causes of Action.

        All AMH Litigation Trust Causes of Action are reserved and preserved and shall not be impacted or affected
in any way by deemed consolidation of the estates.

         No Entity may rely on the absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure
Statement to any AMH Litigation Trust Cause of Action against them as any indication that the AMH Litigation Trust
will not pursue any and all available AMH Litigation Trust Causes of Action against them. No preclusion doctrine,
including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial,
equitable or otherwise), or laches, shall apply to such AMH Trust Litigation Causes of Action as a consequence of the
Confirmation or Consummation.

M.       Federal Income Tax Treatment of the AMH Litigation Trust for the AMH Litigation Trust Assets; Tax
         Reporting and Tax Payment Obligations

           For U.S. federal income tax purposes, it is intended that the AMH Litigation Trust be classified as a
liquidating trust under Treasury Regulation Section 301.7701-4(d). Accordingly, for U.S. federal income tax purposes,
it is intended that the beneficiaries of the AMH Litigation Trust be treated as if they had received a distribution from
the Estates of an undivided interest in each of the assets of the AMH Litigation Trust (to the extent of the value of
their respective shares therein) and then contributed such interests to the AMH Litigation Trust.

         1.    AMH Litigation Trust Assets Treated as Owned by Beneficiaries of AMH Litigation Trust

           For U.S. federal income tax purposes, the AMH Litigation Trust shall be treated as a grantor trust, and the
beneficiaries of the AMH Litigation Trust shall be treated as the grantors of the AMH Litigation Trust and the owners
of the assets thereof. Accordingly, for all U.S. federal income tax purposes, all parties shall treat the transfer of assets
(net of any applicable liabilities) to the AMH Litigation Trust for the benefit of the beneficiaries thereof as (a) a
transfer by the Debtors of the assets of the AMH Litigation Trust (net of any applicable liabilities) directly to the
beneficiaries of the AMH Litigation Trust (to the extent of the value of their respective shares in the assets of the
AMH Litigation Trust), followed by (b) the transfer of the assets of the AMH Litigation Trust (net of any applicable
liabilities) by the beneficiaries of the AMH Litigation Trust (to the extent of the value of their respective share in the
assets of the AMH Litigation Trust) to the Litigation Trust in exchange for the beneficial interests in the AMH
Litigation Trust.




                                                            40
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 45 of 70



         2.    Tax Reporting

         The AMH Litigation Trust shall file all tax returns for the AMH Litigation Trust, as a grantor trust pursuant
to Treasury Regulation Section 1.671-4(a) and in accordance with this Article V.M. Within a reasonable time
following the end of the taxable year, the AMH Litigation Trustee, as applicable, shall send to each holder of a
beneficial interest appearing on its record during such year, a separate statement setting forth such holder’s share of
items of income, gain, loss, deduction or credit and each such holder shall report such items on their U.S. federal
income tax returns. The AMH Litigation Trustee may provide each such holder of a beneficial interest with a copy of
the Form 1041 for the AMH Litigation Trust (without attaching any other holder’s Schedule K-1 or other applicable
information form) along with such holder’s Schedule K-1 or other applicable information form in order to satisfy the
foregoing requirement. The AMH Litigation Trustee shall allocate the taxable income, gain, loss, deduction or credit
of the AMH Litigation Trust with respect to each holder of a beneficial interest to the extent required by the IRC and
applicable law.

          As soon as possible after the Effective Date, the AMH Litigation Trust shall make a good faith valuation of
the assets of the AMH Litigation Trust, and such valuation shall be used consistently by all parties for all U.S. federal
income tax purposes. The AMH Litigation Trust also shall file (or cause to be filed) any other statements, returns, or
disclosures relating to the AMH Litigation Trust that are required by any taxing authority.

         The AMH Litigation Trust may request an expedited determination of the tax obligations of the AMH
Litigation Trust, under Bankruptcy Code Section 505(b) for all returns filed for, or on behalf of, the AMH Litigation
Trust for all taxable periods through the dissolution of the AMH Litigation Trust.

          The AMH Litigation Trust shall comply with all withholding and reporting requirements imposed by any
federal, state, local, or non-U.S. taxing authority, and all distributions made by the AMH Litigation Trust shall be
subject to any such withholding and reporting requirements.

N.       Cancellation of Documents

          On the Effective Date, except to the extent otherwise provided in the Plan, all notes, instruments, debentures,
certificates and other documents evidencing Claims against and Interests in a Debtor or the Debtors including, without
limitation, under and in connection with the Prepetition AMH RBL Credit Documents and the Prepetition Senior
Notes Indenture, shall, with respect to the Debtors, be canceled and deemed rejected and terminated without any need
for further action or approval of the Bankruptcy Court or any holder thereof or any other person or entity, provided,
however, that any such documents shall remain in force to the extent applicable with respect to distributions of any
property under the Plan.

         Except as set forth in this Article V.N, the Prepetition AMH RBL Agent and its respective agents shall be
relieved of all further duties and responsibilities related to the Loan Documents (as defined in the Prepetition AMH
RBL Credit Agreement) and the Plan, except with respect to such other rights of the Prepetition AMH RBL Agent
that, pursuant to the Prepetition AMH RBL Credit Agreement, survive the termination of the Loan Documents.
Subsequent to the performance by the Prepetition AMH RBL Agent of its obligations pursuant to the Plan, the
Prepetition AMH RBL Agent and its agents shall be relieved of all further duties and responsibilities related to the
Loan Documents.

         Except as set forth in this Article V.N, the Indenture Trustee and its respective agents shall be relieved of all
further duties and responsibilities related to the Prepetition Senior Notes Indenture and the Plan, except with respect
to such other rights of the Indenture Trustee that, pursuant to the Prepetition Senior Notes Indenture, survive the
termination of the Prepetition Senior Notes Indenture. Subsequent to the performance by the Indenture Trustee of its
obligations pursuant to the Plan, the Indenture Trustee and its agents shall be relieved of all further duties and
responsibilities related to the Prepetition Senior Notes Indenture.

        Notwithstanding the foregoing or anything else contained herein, the cancellation of the Prepetition Senior
Notes Indenture shall not itself alter or otherwise affect the obligations or rights of the Indenture Trustee, on the one
hand, and the holders of the Prepetition Senior Notes, on the other hand, pursuant to the Prepetition Senior Notes



                                                           41
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 46 of 70



Indenture, and all other agreements related to the Prepetition Senior Notes (collectively, the “Prepetition Senior Notes
Documents”) vis-à-vis each other. Without limiting the generality of the foregoing, (i) the Prepetition Senior Notes
Documents shall be deemed to be cancelled as permitted by section 1123(a)(5)(F) of the Bankruptcy Code and (ii)
except to the extent provided herein with respect to the rights and obligations of the Indenture Trustee against the
holders of the Prepetition Senior Notes, only the following rights and obligations of the Indenture Trustee shall remain
in effect after the Effective Date (in each case, to the extent set forth in the Prepetition Senior Notes Documents): (A)
rights, as trustee, to any payment of fees, expenses and indemnification obligations and the Indenture Trustee Charging
Lien and any other liens securing such rights to payment including, but not limited to, from or on property distributed
under this Plan on account of the Prepetition Senior Notes Claims, (B) rights and obligations relating to distributions
to be made to the holders of Prepetition Senior Notes by or on behalf of the Indenture Trustee from any source, (C)
rights and obligations relating to representation of the interests of the holders of Prepetition Senior Notes by the
Indenture Trustee in these chapter 11 cases to the extent not released or discharged by this Plan or any order of the
Bankruptcy Court, including, for the avoidance of doubt, the ability of the Indenture Trustee to assert claims in respect
of the Prepetition Senior Notes against non-Debtor parties after the Effective Date and (D) rights and obligations
relating to participation by the Indenture Trustee in any proceedings and appeals related to this Plan. Notwithstanding
the continued effectiveness of such rights and obligations after the Effective Date, the Indenture Trustee shall have no
obligation to object to claims against the Debtors. For the avoidance of doubt, after the performance by the Indenture
Trustee and its representatives, including, without limitation, its professionals of any duties that are required under
this Plan, the Confirmation Order, or the Prepetition Senior Notes Documents, the Indenture Trustee and its
professionals shall be relieved of and released from all obligations arising thereunder.

O.       Filing of Monthly and Quarterly Reports and Payment of Statutory Fees

         The filing of the final monthly report (for the period after the Effective Date occurs) and all subsequent
quarterly reports shall be the responsibility of the applicable Plan Administrator. All Statutory Fees with respect to
the period prior to the Effective Date shall be paid by the Debtors in Cash on the Effective Date or other required
payment date. With respect to the period after the Effective Date, the applicable Plan Administrator shall be obligated
to pay quarterly Statutory Fees from the applicable Claims Reserves to the Office of the United States Trustee and
such obligation shall continue until such time as a particular Chapter 11 Case is closed, dismissed, or converted.

P.       Directors, Managers and Officers of the Debtors

         Following the Confirmation Date and prior to the occurrence of the Effective Date, the then current officers,
directors and managers of each of the Debtors shall continue in their respective capacities in accordance with the
applicable by-laws or other organizational documents and the Debtors shall execute such documents and take such
other action as is necessary to effectuate the actions provided for in the Plan.

          On and after the Effective Date, subject to the rights vested in the AMH Litigation Trustee, the board of
managers or directors of each Debtor shall be terminated and all of the officers, managers, and directors of the Debtors,
to the extent they have not already done so, shall be deemed to have resigned from their respective positions with the
Debtors, as applicable; provided, however, that nothing herein shall prohibit the Plan Administration Trusts from
employing or retaining any officer, manager, or director in accordance with the applicable AMH Plan Administration
Trust Agreement.

         On and after the Effective Date, subject to the rights vested in the AMH Litigation Trustee, the AMH Plan
Administrator shall serve as the sole shareholder, interest holder, officer, director or manager of each of the AMH
Debtors, as applicable, under applicable state law. The AMH Plan Administrator, subject to the terms and conditions
of the Plan and the AMH Plan Administration Trust Agreement, shall be authorized to execute, deliver, file or record
such documents, contracts, instruments, releases and other agreements and to take such actions as may be necessary
or appropriate to effectuate and further evidence the terms and conditions of the Plan.

         On and after the Effective Date, the AMR/SRII Plan Administrator shall serve as the sole shareholder, interest
holder, officer, director or manager of each of AMR and the SRII Debtors, as applicable, under applicable state law.
The AMR/SRII Plan Administrator, subject to the terms and conditions of the Plan and the AMR/SRII Plan
Administration Trust Agreement, shall be authorized to execute, deliver, file or record such documents, contracts,



                                                           42
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 47 of 70



instruments, releases and other agreements and to take such actions as may be necessary or appropriate to effectuate
and further evidence the terms and conditions of the Plan.

         On and after the Effective Date, the AMH Litigation Trustee shall serve as the trustee of the AMH Litigation
Trust. The AMH Litigation Trustee, subject to the terms and conditions of the Plan and the AMH Litigation Trust
Agreement, shall be authorized to execute, deliver, file or record such documents, contracts, instruments, releases and
other agreements and to take such actions as may be necessary or appropriate to effectuate and further evidence the
terms and conditions of the Plan.

Q.       Corporate Authorization

          On the Effective Date, all matters provided for under the Plan that would otherwise require approval of the
stockholders, interest holders, directors, members, or managers of one or more of the Debtors shall be deemed to have
occurred and shall be in effect from and after the Effective Date pursuant to Section 303 of the Delaware General
Corporation Law or other applicable law of the states in which the Debtors are organized, without any requirement of
further action by the stockholders, interest holders, directors, members, or managers of the Debtors. After the
Effective Date, to the extent necessary or appropriate to implement the Plan, the applicable Plan Administrator or the
AMH Litigation Trustee, as applicable, shall have all authority to address any and all matters and to take any and all
actions and to execute and deliver any and all documents that would have required the approval of, and to act on behalf
of, the stockholders, interest holders, directors, members, or managers of one or more of the Debtors, in each case
subject to the rights vested in the AMH Litigation Trustee.

R.       Insurance Policies

          Before the AMR/AMH Petition Date, the Debtors and KFM Debtors obtained the D&O Tail Coverage for
the current and former directors, officers, and managers. After the Effective Date, all members, managers, directors,
and officers of the Debtors and KFM Debtors who served in such capacity at any time prior to the Effective Date shall
be entitled to the full benefits of any such policy for the full term of such policy, subject to and in accordance with the
terms and conditions of such D&O Tail Coverage.

         On the Effective Date, the AMH Debtors’ rights under and to each Insurance Policy shall vest in the AMH
Plan Administration Trust and AMR’s and the SRII Debtors’ rights under and to each Insurance Policy shall vest in
the AMR/SRII Plan Administration Trust. Confirmation and Consummation of this Plan, and the vesting of the
Insurance Policies in the applicable Plan Administration Trusts as set forth herein, shall not impair or otherwise affect
(x) any parties’ rights to coverage thereunder, including in respect of any claims pending as of the Effective Date or
pursued or made thereafter, including any claims pursued or made by the AMH Litigation Trustee on behalf of the
AMH Litigation Trust, or (y) any available defenses of the Debtors or the Plan Administration Trusts or any Insurer
under the Insurance Policies.

S.       Effectuating Documents and Further Transactions

         Prior to the Effective Date, the Debtors shall be authorized to execute, deliver, file, or record such documents,
contracts, instruments, and other agreements and take such other actions as may be reasonably necessary to effectuate
and further evidence the terms and conditions of the Plan. After the Effective Date, the applicable Plan Administrator
or the AMH Litigation Trustee, as applicable, shall be authorized to execute, deliver, file, or record such documents,
contracts, instruments, and other agreements and take such other actions as may be reasonably necessary to effectuate
and further evidence the terms and conditions of the Plan.

T.       Employee and Retiree Benefits

         All employment, severance, retirement, indemnification, and other similar employee-related agreements or
arrangements in place as of the Effective Date with the Debtors’ employees and independent contractors, including
retirement income plans and welfare benefit plans, or discretionary bonus plans or variable incentive plans regarding
payment of a percentage of annual salary based on performance goals and financial targets for certain employees, as
and to the extent set forth in the Debtors’ Emergency Motion for Entry of Order (I) Authorizing the Debtors to (A)
Pay Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses and (B) Continue Employee


                                                            43
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 48 of 70



Benefit Programs, and (II) Granting Related Relief [Docket No. 8], shall remain in full force and effect until the
conclusion of the Wind Down and the resignation or termination of all employees of the Debtors. The Debtors
maintain no programs providing for retiree benefits (as that term is defined in section 1114 of the Bankruptcy Code).

U.       Exemption from Certain Taxes and Fees

          Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to the Plan shall not
be subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, stamp
act, real estate or personal property transfer tax, sale or use tax, mortgage recording tax, or other similar tax or
governmental assessment, and upon entry of the Confirmation Order, the appropriate governmental officials or agents
shall forgo the collection of any such tax or governmental assessment and accept for filing and recordation any of the
foregoing instruments or other documents pursuant to such transfers of property without the payment of any such tax,
recordation fee, or governmental assessment.

V.       Assignment of Reserved ORRI

         On or as soon as practicable after the Effective Date, the AMH Debtors (as applicable) shall convey and
assign the Reserved ORRI to the Holders of Prepetition AMH RBL Claims, in partial satisfaction of the Prepetition
AMH RBL Claims as set forth in Section III.C.2 hereof. In connection which such conveyance and assignment, the
AMH Debtors shall execute, deliver, file, or record such documents, contracts, instruments, and other agreements and
take such other actions as may be reasonably requested by the Prepetition AMH RBL Agent to effectuate and further
evidence the terms and conditions of the Plan.

W.       Exchange of SRII Interests

         At any time prior to the Effective Date, by notice to SRII and AMR, any holder of an SRII Interest will have
the option, in its sole and absolute discretion, to exercise, in whole or in part, the redemption and exchange rights
pursuant to Article XI of Amended and Restated Agreement of Limited Partnership of SRII Opco, LP, dated as of
February 9, 2018 and Section 4.3(c)(v) of the Second Amended and Restated Certificate of Incorporation, dated
February 9, 2018, of AMR, and related agreements, and without the giving of any other notice, whereupon the Debtors
will take all actions reasonably necessary to effectuate such redemption and exchange, including the redemption of
the common units in SRII owned by such person in exchange for shares of Class A common Stock of AMR, which
AMR shares will be treated as AMR Interests in accordance with Article III.C.11 hereof.

                                                    ARTICLE VI.

                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Treatment of Executory Contracts and Unexpired Leases

         Except as otherwise provided herein, as of the Effective Date, the Debtors shall be deemed to have rejected
all Executory Contracts and Unexpired Leases that (1) have not been previously rejected, assumed, or assumed and
assigned, including in connection with the Sale, and are not the subject of a pending motion to reject, assume, or
assume and assign as of the Effective Date, (2) are not identified on the Schedule of Assumed Contracts to be Filed
with the Plan Supplement, and (3) have not expired under their own terms prior to the Effective Date.

         The Confirmation Order shall constitute an order of the Bankruptcy Court approving the foregoing rejections
pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.

B.       Rejection of Indemnification Obligations

          The Debtors, and upon the Effective Date, the AMH Plan Administration Trust or the AMR/SRII Plan
Administration Trust, as applicable, shall be deemed to have rejected all of the obligations in place on and before the
Effective Date under the Indemnification Provisions for Indemnified Parties for Claims related to or arising out of any
actions, omission, or transactions occurring before the Effective Date.



                                                          44
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 49 of 70




C.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases

         Rejection or repudiation of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise
shall not constitute a termination of preexisting obligations owed to the Debtors under such contracts or leases. In
particular, notwithstanding any nonbankruptcy law to the contrary, the Debtors expressly reserve and do not waive
any right to receive, or any continuing obligation of a counterparty to provide, warranties or continued maintenance
obligations on goods previously purchased by the contracting Debtors, as applicable, from counterparties to rejected
or repudiated Executory Contracts or Unexpired Leases.

D.       Rejection Damages Claim

          All Claims arising from the rejection of Executory Contracts or Unexpired Leases under this Plan must be
Filed with the Balloting Agent and served upon the applicable Plan Administrator and counsel for the Debtors, as
applicable, within thirty (30) days after the occurrence of the Effective Date; provided, that the foregoing deadline
shall apply only to Executory Contracts or Unexpired Leases that are rejected automatically by operation of Section
VI.A above, and the deadline for filing any rejection damage Claims relating to any Executory Contracts or Unexpired
Leases rejected pursuant to separate Court order shall be the applicable deadline under the Claims Bar Date Order.
Any Claim arising from the rejection of Executory Contracts or Unexpired Leases that becomes an Allowed Claim is
classified and shall be treated as a General Unsecured Claim against the applicable Debtor.

E.       Reservation of Rights

          Nothing contained in this Plan shall constitute an admission by the Debtors that any such contract or lease is
in fact an Executory Contract or Unexpired Lease or that any Debtor has any liability thereunder. If there is a dispute
regarding whether a contract or lease is or was executory or unexpired at the time of rejection, the Debtors shall have
sixty (60) days following entry of a Final Order resolving such dispute (or such later date as may be ordered by the
Bankruptcy Court) to alter their treatment of such contract or lease.

F.       Nonoccurrence of Effective Date

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section 365(d)(4) of the
Bankruptcy Code.

                                                    ARTICLE VII.

                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed; Entitlement to Distributions

          1.   Timing and Calculation of Amounts to Be Distributed

          Unless otherwise provided in this Plan, on the Effective Date or as soon as reasonably practicable thereafter
(or if a Claim is not an Allowed Claim on the Effective Date, on the date that such Claim becomes an Allowed Claim,
or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim against the Debtors shall receive
the full amount of the distributions that this Plan provides for Allowed Claims in the applicable Class. In the event
that any payment or act under the Plan is required to be made or performed on a date that is not a Business Day, then
the making of such payment or the performance of such act may be completed on the next succeeding Business Day,
but shall be deemed to have been completed as of the required date. If and to the extent that there are Disputed Claims,
distributions on account of any such Disputed Claims shall be made pursuant to the provisions set forth in this Article
VII. Holders of Claims shall not be entitled to postpetition interest, dividends, or accruals on the distributions provided
for herein, regardless of whether such distributions are delivered before, on or at any time after the Effective Date.
Notwithstanding the foregoing, all distributions to holders of AMH Litigation Trust Interests shall be made by the




                                                            45
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 50 of 70



AMH Litigation Trustee pursuant to the terms of the Plan, the Confirmation Order and the AMH Litigation Trust
Agreement.

          2.   Entitlement to Distributions

          On and after the Effective Date, the Disbursing Agent shall be authorized (but not directed) to recognize and
deal only with those Holders of Claims listed on the Debtors’ books and records as of the Distribution Record
Date. Accordingly, the Disbursing Agent will have no obligation to recognize the assignment, transfer or other
disposition of, or the sale of any participation in, any Allowed Claim that occurs after the close of business on the
Distribution Record Date, and will be entitled for all purposes herein to recognize and distribute securities, property,
notices, and other documents only to those Holders of Allowed Claims who are Holders of such Claims (or participants
therein) as of the close of business on the Distribution Record Date. The Prepetition AMH RBL Agent may, in its sole
discretion, limit the further assignment of Prepetition AMH RBL Claims to allow for the accurate recording of the
holders of Prepetition AMH RBL Claims as of the close of business on the Distribution Record Date with respect to
the Prepetition AMH RBL Claims.

B.       Disbursing Agent

         Except as otherwise provided herein, all distributions under the Plan shall be made by the Debtors as
Disbursing Agent or such other Entity designated by the Debtors as a Disbursing Agent on the Effective Date, which
may be the AMH Plan Administrator; provided, however, that notwithstanding anything set forth herein, the AMH
GUC Claim Disbursing Agent shall be exclusively authorized and obligated to make all required distributions to the
Holders of Allowed Class 5 AMH General Unsecured Claims from AMH GUC Distribution Cash. A
Disbursing Agent shall not be required to give any bond or surety or other security for the performance of its duties
unless otherwise ordered by the Bankruptcy Court. For purposes of the distribution on account of the Prepetition
AMH RBL Claims, the Prepetition AMH RBL Agent shall (a) be deemed to be the Holder of all Prepetition AMH
RBL Claims and (b) make distributions to the Holders of Prepetition AMH RBL Claims pursuant to the terms of the
Prepetition AMH RBL Credit Agreement. For purposes of any distributions on account of the Prepetition Senior
Notes Claims to be made under this Plan, (a) the Indenture Trustee shall be deemed to be the Holder of all Prepetition
Senior Notes Claims and (b) all Cash to be distributed under this Plan on account of the Prepetition Senior Notes
Claims shall be paid to the Indenture Trustee for distribution pursuant to and in accordance with the terms of the
Prepetition Senior Notes Indenture, subject to the Indenture Trustee Charging Lien. In accordance with the foregoing,
the delivery of any applicable property to be distributed to Holders of Prepetition AMH RBL Claims or Prepetition
Senior Notes Claims to the Prepetition AMH RBL Agent or the Indenture Trustee, respectively, shall satisfy all
applicable distribution obligations under the Plan. All reasonable and documented fees and expenses of the Prepetition
AMH RBL Agent and the Indenture Trustee (including the reasonable and documented fees and expenses of their
respective counsel and agents) incurred in connection with such distributions shall be paid by the AMH Plan
Administration Trust.

       For the avoidance of doubt, all distributions to Holders of Litigation Trust Interests shall be made by the
AMH Litigation Trustee pursuant to the terms of the Plan, the Confirmation Order and the AMH Litigation Trust
Agreement.

C.       Distributions on Account of Claims Allowed After the Effective Date

          1.   Payments and Distributions on Disputed Claims

         Distributions made after the Effective Date to Holders of Disputed Claims that are not Allowed Claims as of
the Effective Date but which later become Allowed Claims shall be deemed to have been made on the Effective Date.

          2.   Special Rules for Distributions to Holders of Disputed Claims

          Notwithstanding any provision otherwise in this Plan and except as otherwise agreed to by the applicable
Disbursing Agent, (a) no partial payments and no partial distributions shall be made with respect to a Disputed Claim
until all disputes in connection with such Disputed Claim have been resolved by settlement or Final Order and such



                                                          46
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 51 of 70



Disputed Claim becomes an Allowed Claim; and (b) any Entity that holds both an Allowed Claim and a Disputed
Claim shall not receive any distribution on the Allowed Claim unless and until all objections to the Disputed Claim
have been resolved by settlement or Final Order. Any dividends or other distributions arising from property
distributed to Holders of Allowed Claims, in a Class and paid to such Holders under the Plan shall also be paid, in the
applicable amounts, to any Holder of a Disputed Claim, in such Class that becomes an Allowed Claim after the date
or dates that such dividends or other distributions were earlier paid to Holders of Allowed Claims in such Class.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions

          1.   Delivery of Distributions in General

         Except as otherwise provided herein, the Disbursing Agent shall make distributions to Holders of Allowed
Claims at the address for each such Holder as indicated on (a) such Holders’ address on its proof of claim, if applicable,
(b) such Holders’ address listed on a notice filed with the Bankruptcy Court, if applicable, or (c) if neither (a) or (b)
are available, the address of record for the Holder listed on the Debtors’ schedules.

          2.   Undeliverable Distributions and Unclaimed Property

                  (a)       Failure to Claim Undeliverable Distributions

         In the event that any distribution to any Holder is returned as undeliverable, no distribution to such Holder
shall be made unless and until the Disbursing Agent has determined the then-current address of such Holder, at which
time such distribution shall be made to such Holder without interest; provided, however, such distributions shall be
deemed unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of one hundred and eighty
(180) days from the date the distribution was returned. After such date, all unclaimed property or interests in property
shall revert to the applicable Plan Administrator or the AMH Litigation Trustee, as applicable (notwithstanding any
applicable federal or state escheat, abandoned, or unclaimed property laws to the contrary), and the Claim of any
Holder to such property or interest in property shall be discharged and forever barred.

                  (b)       Failure to Present Checks

         Checks issued by the Disbursing Agent on account of Allowed Claims shall be null and void if not negotiated
within one hundred and eighty (180) days after the issuance of such check. Requests for reissuance of any check shall
be made directly to the Disbursing Agent by the Holder of the relevant Allowed Claim with respect to which such
check originally was issued. Any Holder of an Allowed Claim holding an un-negotiated check that does not request
reissuance of such un-negotiated check within one hundred and eighty (180) days after the issuance of such check
shall have its Claim for such un-negotiated check discharged and shall be discharged and forever barred, estopped,
and enjoined from asserting any such Claim against the applicable Plan Administration Trust or the AMH Litigation
Trust, as applicable. In such cases, any Cash held for payment on account of such Claims shall be property of the
applicable Plan Administration Trust or the AMH Litigation Trust, as applicable, free of any Claims of such Holder
with respect thereto. Nothing contained herein shall require the Disbursing Agent to attempt to locate any Holder of
an Allowed Claim.

E.       Compliance with Tax Requirements/Allocations

         In connection with this Plan, to the extent applicable, the Disbursing Agent shall comply with all tax
withholding and reporting requirements imposed on them by any Governmental Unit, and all distributions pursuant
hereto shall be subject to such withholding and reporting requirements. Notwithstanding any provision in this Plan to
the contrary, the Disbursing Agent shall be authorized to take all actions necessary or appropriate to comply with such
withholding and reporting requirements, including liquidating a portion of the distribution to be made under this Plan
to generate sufficient funds to pay applicable withholding taxes, withholding distributions pending receipt of
information necessary to facilitate such distributions or establishing any other mechanisms they believe are reasonable
and appropriate. The Disbursing Agent reserves the right to allocate all distributions made under this Plan in
compliance with all applicable wage garnishments, alimony, child support, and other spousal awards, Liens, and
encumbrances.



                                                           47
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 52 of 70



          The Debtors, the Plan Administrators, or the Disbursing Agent may require, as a condition to the receipt of
a distribution, that a Holder furnish to the Debtors, Plan Administrators, or Disbursing Agent, as applicable, any
necessary or appropriate tax documentation, including Form W-8 or Form W-9, as applicable to each Holder. If any
Holder fails to comply with such a request within three (3) months, such distribution in respect of such Holder may
be withheld as required by applicable law and in such event, shall be deemed an undeliverable distribution and shall
be treated in accordance with Art. VII.D.2 hereof. Without limitation of the generality of the foregoing, the Debtors,
the Plan Administrators, or the Disbursing Agent may condition any distribution it may make to a Holder on such
entity’s receipt of such information and documentation as the Debtors, the Plan Administrators, or the Disbursing
Agent, as applicable, determines in its discretion is necessary to effect a distribution in accordance with applicable
law, including tax law, and withhold, as required by applicable law, a distribution to any Holder who fails to provide
such documentation and information.

F.       Surrender of Cancelled Instruments or Securities

         As a condition precedent to receiving any distribution on account of its Allowed Claim, each Holder of a
Claim shall be deemed to have surrendered the Certificates or other documentation underlying each such Claim, and
all such surrendered Certificates and other documentations shall be deemed to be canceled pursuant to Article V.J
hereof, except to the extent otherwise provided herein.

G.       Claims Paid or Payable by Third Parties

          1.   Claims Paid by Third Parties

          The Debtors, the applicable Plan Administrator, or the AMH Litigation Trustee, as applicable, shall reduce
in full a Claim, and such Claim shall be disallowed upon order or approval of the Bankruptcy Court, to the extent that
the Holder of such Claim receives payment in full on account of such Claim from a party that is not a Debtor, the
applicable Plan Administrator or the AMH Litigation Trustee. To the extent a Holder of a Claim receives a distribution
on account of such Claim and receives payment from a party that is not a Debtor, the applicable Plan Administrator
or the AMH Litigation Trustee on account of such Claim, such Holder shall, within fourteen (14) days of receipt
thereof, repay or return the distribution to the applicable Plan Administrator or the AMH Litigation Trustee, as
applicable, to the extent the Holder’s total recovery on account of such Claim from the third party and under this Plan
exceeds the amount of such Claim as of the Distribution Date.

          2.   Claims Payable by Third Parties

         No distributions under this Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ Insurance Policies until the Holder of such Allowed Claim has exhausted all remedies with respect
to such Insurance Policy. To the extent that one or more of the Debtors’ Insurers agrees to satisfy in full a Claim (if
and to the extent adjudicated by a court of competent jurisdiction), then immediately upon payment from such Insurers,
such Claim may be expunged upon an order or approval of the Bankruptcy Court or deemed satisfied in full.

          3.   Applicability of Insurance Policies

         Except as otherwise provided in this Plan, distributions to Holders of Allowed Claims shall be in accordance
with the provisions of any applicable Insurance Policy. Nothing contained in this Plan shall constitute or be deemed
a waiver of any Cause of Action that the Debtors or any Entity may hold against the Insurers under any Insurance
Policies, nor shall anything contained herein constitute or be deemed a waiver by such Insurers of any defenses,
including coverage defenses, held by such Insurers.

H.       Allocation of Plan Distributions between Principal and Interest

         To the extent that any Allowed Claim entitled to a distribution under the Plan is comprised of indebtedness
and accrued but unpaid interest (or original issue discount) thereon, such distribution shall be allocated to the principal
amount of the Claim first and then, to the extent the consideration exceeds the principal amount of the Claim, to the
portion of such Claim representing accrued but unpaid interest (or original issue discount).



                                                            48
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 53 of 70



                                                   ARTICLE VIII.

     PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Allowance and Disallowance of Claims

         Except as expressly provided herein or any order entered in the Chapter 11 Cases on or prior to the Effective
Date (including the Confirmation Order), no Claim shall be deemed Allowed unless and until such Claim is deemed
Allowed under the Bankruptcy Code, under the Plan, or the Bankruptcy Court enters a Final Order in the Chapter 11
Cases allowing such Claim under section 502 of the Bankruptcy Code. Except as expressly provided in any order
entered in the Chapter 11 Cases on or prior to the Effective Date (including the Confirmation Order), the applicable
Plan Administration Trust after Consummation will have and retain any and all rights and defenses the Debtors had
with respect to any Claim as of the AMR/AMH Petition Date or the SRII Petition Date, as applicable.

B.       Prosecution of Objections to Claims

         The applicable Plan Administrator or, in the case of AMH General Unsecured Claims, the AMH GUC Claim
Administrator, shall have the authority to File, settle, compromise, withdraw, or litigate to judgment any objections to
Claims as permitted under this Plan; provided, however, that the AMH GUC Claim Administrator shall have the
exclusive authority to File, settle, compromise, withdraw, or litigate to judgment any objections to AMH General
Unsecured Claims, as set forth in the AMH GUC Claim Administrator Agreement and this Plan. From and after the
Effective Date, the applicable Plan Administrator or AMH, GUC Claim Administrator, as applicable may settle or
compromise any Disputed Claim without approval of the Bankruptcy Court. The applicable Plan Administrator or
AMH GUC Claim Administrator, as applicable, may also resolve any Disputed Claim outside the Bankruptcy Court
under applicable governing law, as necessary; provided, however, that for the avoidance of doubt, the underlying
Claim shall remain under the jurisdiction of the Bankruptcy Court and shall not be disallowed other than by order of
the Bankruptcy Court.

         With respect to the foregoing duties of the applicable Plan Administrator or the AMH GUC Claim
Administrator to File, settle, compromise, withdraw, or litigate to judgment any objections to Claims, the applicable
Plan Administrator or the AMH GUC Claim Administrator, as the case may be, shall stand in the same position as the
AMH Debtors with respect to any claim the AMH Debtors may have to an attorney-client privilege, the work-product
doctrine or any other privilege, and the applicable Plan Administrator or the AMH Claim Administrator, as the case
may be, shall succeed to all of the AMH Debtors’ rights to preserve, assert or waive any such privilege.

          The AMH Debtors or the AMH Plan Administrators and their respective professionals, as appropriate, and
the AMH GUC Claim Administrator and its professionals, as applicable, will cooperate with each other in relation to
their respective activities in respect to objecting to, settling or otherwise reconciling claims as provided herein,
including by providing reasonable, good-faith access to personnel, systems, and books and records to the extent and
at such times as providing such access will not interfere with the discharge of the primary obligations of the AMH
Debtors, the AMH Plan Administrators, and their respective personnel and consulting with each other to avoid
duplication of effort.

         In addition, and notwithstanding anything to the contrary in the Plan, the Prepetition AMH RBL Agent, on
behalf of the Prepetition AMH RBL Lenders, shall retain the right to object to any Administrative Claim(s), Other
Priority Claim(s), Priority Tax Claim(s) or Other Secured Claims asserted against the AMH Debtors for the duration
of the Claims Objection Deadline associated with the AMH Debtors’ Chapter 11 Cases.

C.       Estimation of Claims

         The applicable Plan Administrator or AMH GUC Claim Administrator, as applicable, may, at any time,
request that the Bankruptcy Court estimate any contingent or unliquidated Claim pursuant to section 502(c) of the
Bankruptcy Code, regardless of whether the applicable Plan Administrator or AMH GUC Claim Administrator, as
applicable, has previously objected to such Claim, and the Bankruptcy Court will retain jurisdiction to estimate any
Claim at any time during litigation concerning any objection to any Claim, including during the pendency of any



                                                          49
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 54 of 70



appeal related to any such objection. In the event the Bankruptcy Court estimates any contingent or unliquidated
Claim, that estimated amount will constitute either the Allowed amount of such Claim or a maximum limitation on
such Claim, as determined by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on
such Claim, the applicable Plan Administrator or AMH GUC Claim Administrator, as applicable, may elect to pursue
any supplemental proceedings to object to any ultimate payment on such Claim. All of the aforementioned objection,
estimation, and resolution procedures are cumulative and are not necessarily exclusive of one another. Claims may
be estimated and thereafter resolved by any permitted mechanism.

D.       Distributions After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any) shall be
made to the Holder of such Allowed Claim in accordance with the provisions of this Plan. As soon as reasonably
practicable after the date that the order or judgment of the Bankruptcy Court allowing any Disputed Claim becomes a
Final Order, the applicable AMH Plan Administrator shall provide to the Holder of such Claim the distribution (if
any) to which such Holder is entitled under this Plan as of the Effective Date, without any postpetition interest to be
paid on account of such Claim.

                                                    ARTICLE IX.

     CONDITIONS PRECEDENT TO CONFIRMATION OF THE PLAN AND THE EFFECTIVE DATE

A.       Conditions Precedent to Confirmation

         It shall be a condition to Confirmation hereof that:

          1.   All provisions, terms and conditions hereof are approved in the Confirmation Order.

          2. The Confirmation Order shall have been entered by the Bankruptcy Court, in form and substance
 acceptable to the Debtors, the Prepetition AMH RBL Agent, the Ad Hoc Noteholder Group, and the Committee. The
 Confirmation Order shall provide that, among other things, the Plan Administrators and the AMH Litigation Trustee,
 as applicable, are authorized and directed to take all actions necessary or appropriate to consummate this Plan,
 including, without limitation, entering into, implementing and consummating the other contracts, instruments and
 other agreements or documents created in connection with or described in this Plan.

          3.   The Sale shall have been consummated pursuant to the Purchase Agreement.

B.       Conditions Precedent to the Effective Date

        It shall be a condition to the Effective Date that the following provisions, terms, and conditions are satisfied
(or waived pursuant to the provisions of Article IX.C hereof), and the Effective Date shall occur on the date upon
which the last of such conditions are so satisfied or waived.

          1. The Plan, the Definitive Documents, and all other documents contemplated thereby, including any
 amendments, modifications, or supplements thereto, shall be acceptable to the Debtors, the Prepetition AMH RBL
 Agent, the Ad Hoc Noteholder Group, and the Committee (in each case, to the extent of their consent rights as
 provided in this Plan), and, with respect to Articles V.B, V.R, IX.C, and X.B of this Plan (in each case, to the extent
 impacting or relating to the KFM Debtors or the KFM Releasing Parties), the KFM Debtors and KFM Agent.

           2. All Definitive Documents shall have been executed, delivered, filed (if applicable) and shall be in full
 force and effect, and all conditions precedent to effectiveness set forth in the Definitive Documents shall have been
 satisfied or waived in accordance with the terms thereof.

          3. The Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings or documents
 that are necessary to implement and effectuate the Plan and the Definitive Documents and no order, injunction or
 judgment shall have been issued by any governmental authority or arbitrator to restrain, prohibit, enjoin or declare



                                                          50
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 55 of 70



 illegal the transactions contemplated by this Plan, and no law shall have been promulgated or enacted and be in effect
 that on a temporary or permanent basis restrains, enjoins, or invalidates the transactions contemplated by this Plan.

          4. Payment in full in Cash by the applicable Debtors of any and all accrued but unpaid reasonable and
 documented Fee Claims, Prepetition AMH RBL Agent Fees, and Committee Fees for which the Debtors have
 received invoices or estimates prior to the Effective Date shall have been made.

          5. The Bankruptcy Court shall have entered the Confirmation Order, in form and substance acceptable to
 the Debtors, the Prepetition AMH RBL Agent, the Ad Hoc Noteholder Group, and the Committee. The Confirmation
 Order shall provide that, among other things, the Plan Administrators, AMH GUC Claim Administrator, and the
 AMH Litigation Trustee, as applicable, are authorized and directed to take all actions necessary or appropriate to
 consummate this Plan, including, without limitation, entering into, implementing and consummating the other
 contracts, instruments and other agreements or documents created in connection with or described in this Plan.

          6. The Plan Administration Trust Agreements, the AMH GUC Claim Administrator Agreement, and the
 AMH Litigation Trust Agreement shall have been executed and delivered by all of the Entities that are parties thereto
 and all conditions precedent to the consummation thereof shall have been waived or satisfied in accordance with the
 terms thereof.

         7. Payment in full in Cash by the AMH Debtors of (i) the AMH GUC Distribution Cash to the AMH GUC
 Claim Disbursing Agent, and (ii) the AMH GUC Claim Administrator Reserve to the AMH GUC Claim
 Administrator.

          8. All actions, documents, certificates, and agreements necessary to implement this Plan shall (i) have
 been effected or executed and delivered to the required parties and, to the extent required, Filed with the applicable
 Governmental Units in accordance with applicable laws and (ii) be in full force and effect.

           9. The Interim Distribution shall have been distributed to the Prepetition AMH RBL Agent, which
 distribution shall be unconditionally and fully vested in, and not subject to any clawback from, the Prepetition AMH
 RBL Agent.

C.       Waiver of Conditions

         Each of the conditions to Confirmation and to Consummation set forth in this Article IX may be waived with
the written consent of the Debtors, the Prepetition AMH RBL Agent, the Ad Hoc Noteholder Group, and the
Committee without notice, leave, approval or order of the Bankruptcy Court or any formal action other than proceeding
to confirm or consummate this Plan; provided, that notwithstanding the foregoing, (1) the condition in Section IX.B.1
above may be waived, with respect to any Definitive Document, with only the consent of the Debtors and any Entity
having consent rights over such Definitive Document; (2) any waiver of the condition in Section IX.B.1, to the extent
such waiver relates to Articles V.B, V.R, IX.C, or X.B of this Plan and impacts or relates to the KFM Debtors or the
KFM Releasing Parties, shall require the consent of the KFM Debtors and KFM Agent; (3) the condition in Section
IX.B.6 above may be waived with only the consent of the Prepetition AMH RBL Agent, the Ad Hoc Noteholder
Group and the Committee, as applicable; and (4) the condition in Section IX.B.9 above may be waived with the
consent of the Debtors and the Prepetition AMH RBL Agent only.

D.       Effect of Nonoccurrence of Conditions

          If the Consummation of this Plan does not occur, this Plan shall be null and void in all respects and nothing
contained in this Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by or Claims
against or Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors, any Holders, or any other
Entity; or (3) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders or any other
Entity in any respect.




                                                          51
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 56 of 70



                                                    ARTICLE X.

                 SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

A.       Compromise and Settlement of Claims, Interests, and Controversies

          Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the
distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a good faith
compromise of all Claims, Interests and controversies relating to the contractual, legal and subordination rights that a
Holder of a Claim or Interest may have with respect to any Allowed Claim or Allowed Interest, any distribution to be
made on account of such Allowed Claim or Allowed Interest, including, without limitation, all controversies among
the Debtors, the Prepetition AMH RBL Agent, the Prepetition AMH RBL Lenders, the Ad Hoc Noteholder Group,
the Committee, and all other Holders of Claims against and Interests in the Debtors. The entry of the Confirmation
Order shall constitute the Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests
and controversies, as well as a finding by the Bankruptcy Court that such compromise or settlement is in the best
interests of the Debtors, their Estates and Holders of Claims and Interests and is fair, equitable and reasonable. In
accordance with the provisions of the Plan, pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule
9019(a), without any further notice to or action, order or approval of the Bankruptcy Court, after the Effective Date,
the Plan Administrators, the Prepetition AMH RBL Agent, and the Ad Hoc Noteholder Group, as applicable, may
compromise and settle Claims against them and Causes of Action against other Entities, including the AMR/SRII
Retained Causes of Action; provided, that the AMH Litigation Trustee shall have the sole authority to compromise
and settle the AMH Litigation Trust Causes of Action.

          For the avoidance of doubt, notwithstanding anything to the contrary contained in this Plan, nothing shall
release the AMH Litigation Trust Causes of Action.

B.       Releases by the Debtors

           1. AMR Debtor Releases. To the extent permitted by applicable law and approved by the
Bankruptcy Court, pursuant to section 1123(b) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan, for good and valuable consideration, effective on and after the Effective Date, the AMR
Released Parties shall be deemed released and discharged by AMR, the SRII Debtors and their Estates from
any and all Causes of Action, whether known or unknown, including any derivative claims asserted on behalf
of AMR or the SRII Debtors, that AMR, the SRII Debtors or their Estates would have been legally entitled to
assert in their own right (whether individually or collectively) or on behalf of the Holder of any Claim against,
or Interest in, AMR, an SRII Debtor or other Entity, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors, the Debtors’ capital structure, the assertion or enforcement of rights and
remedies against the Debtors, the Debtors’ in- or out-of-court restructuring and recapitalization efforts,
including in connection with AMR’s business combination transaction that was consummated on or around
February 9, 2018, intercompany transactions between or among a Debtor and another Debtor or a Debtor and
a KFM Debtor, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, or filing of the
Purchase Agreement, the Bidding Procedures Order, the Sale, the Sale Order, the Disclosure Statement, the
Plan, or any Restructuring, contract, instrument, release, or other agreement or document created or entered
into in connection with the Purchase Agreement, the Bidding Procedures Order, the Sale, the Sale Order, the
Disclosure Statement, or the Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit
of Consummation, the administration and implementation of the Plan, including the issuance or distribution
of securities pursuant to the Plan, or the distribution of property under the Plan or any other related agreement,
or upon any other act or omission, transaction, agreement, event, or other occurrence taking place on or before
the Effective Date; provided, however, that the foregoing “AMR Debtor Releases” shall not operate to waive or
release any Causes of Action: (a) of any AMH Debtor or (b) any Debtor: (1) against an AMR Released Party
arising from any contractual obligations owed to the Debtors that are pursuant to an Executory Contract that
is not otherwise rejected by the Debtors pursuant to section 365 of the Bankruptcy Code before, after, or as of
the Effective Date; (2) that constitute AMR/SRII Retained Causes of Action or AMH Litigation Trust Causes
of Action under this Plan; (3) that have been acquired by the Purchaser pursuant to the Purchase Agreement
in connection with the Sale; or (4) arising from claims for fraud, gross negligence, willful misconduct, or
criminal conduct (provided, that the foregoing shall not limit the releases set forth in the Sale Order in


                                                          52
      Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 57 of 70



connection with the Sale). Notwithstanding anything to the contrary in the foregoing, the “AMR Debtor
Releases” set forth above do not release any post-Effective Date obligations of any party or Entity under the
Plan, any Restructuring, or any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the release set forth in this Section X.B.1, which includes by reference each of the
related provisions and definitions contained herein, and further shall constitute the Bankruptcy Court’s finding
that such release is: (i) in exchange for the good and valuable consideration provided by the AMR Released
Parties; (ii) a good faith and settlement and compromise of the claims released by this Section X.B.1; (iii) in the
best interests of the AMR Debtor, its estates and all Holders of Claims and Interests; (iv) fair, equitable and
reasonable; (v) given and made after due notice and opportunity for hearing; and (vi) a bar to any Entity or
Person asserting any claim or Cause of Action released by this Section X.B.1.

          2. AMH Debtor Releases. To the extent permitted by applicable law and approved by the
Bankruptcy Court, pursuant to section 1123(b) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan, for good and valuable consideration, effective on and after the Effective Date, the AMH
Released Parties shall be deemed released and discharged by the AMH Debtors and their Estates from any and
all Causes of Action, whether known or unknown, including any derivative claims asserted on behalf of the
Debtors, that the AMH Debtors or their Estates would have been legally entitled to assert in their own right
(whether individually or collectively) or on behalf of the Holder of any Claim against, or Interest in, an AMH
Debtor or other Entity, based on or relating to, or in any manner arising from, in whole or in part, the Debtors,
the Debtors’ capital structure, the assertion or enforcement of rights and remedies against the Debtors, the
Debtors’ in- or out-of-court restructuring and recapitalization efforts, including in connection with AMR’s
business combination transaction that was consummated on or around February 9, 2018, intercompany
transactions between or among a Debtor and another Debtor or a Debtor and a KFM Debtor, the Chapter 11
Cases, the formulation, preparation, dissemination, negotiation, or filing of the Purchase Agreement, the
Bidding Procedures Order, the Sale, the Sale Order, the Disclosure Statement, the Plan, or any Restructuring,
contract, instrument, release, or other agreement or document created or entered into in connection with the
Purchase Agreement, the Bidding Procedures Order, the Sale, the Sale Order, the Disclosure Statement, or the
Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of securities pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, or upon any other act
or omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date;
provided, however, that the foregoing “AMH Debtor Releases” shall not operate to waive or release any Causes
of Action of any Debtor: (1) against an AMH Released Party arising from any contractual obligations owed to
the Debtors that are pursuant to an Executory Contract that is not otherwise rejected by the Debtors pursuant
to section 365 of the Bankruptcy Code before, after, or as of the Effective Date; (2) that constitute AMR/SRII
Retained Causes of Action or AMH Litigation Trust Causes of Action under this Plan; (3) that have been
acquired by the Purchaser pursuant to the Purchase Agreement in connection with the Sale; (4) arising from
claims for fraud, gross negligence, willful misconduct, or criminal conduct (provided, that the carve-outs in this
clause (4) shall (x) not limit the releases set forth in the Sale Order in connection with the Sale or (y) apply to
any claims against any KFM Releasing Party); or (5) against any Excluded Party. Notwithstanding anything
to the contrary in the foregoing, the “AMH Debtor Releases” set forth above do not release any post-Effective
Date obligations of any party or Entity under the Plan, any Restructuring, or any document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the release set forth in this Section X.B.2, which includes by reference each of the
related provisions and definitions contained herein, and further shall constitute the Bankruptcy Court’s finding
that such release is: (i) in exchange for the good and valuable consideration provided by the AMH Released
Parties; (ii) a good faith and settlement and compromise of the claims released by this Section X.B.2; (iii) in the
best interests of the AMH Debtors, their estates and all Holders of Claims and Interests; (iv) fair, equitable and




                                                        53
      Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 58 of 70



reasonable; (v) given and made after due notice and opportunity for hearing; and (vi) a bar to any Entity or
Person asserting any claim or Cause of Action released by this Section X.B.2.

C.      Releases by Holders of Claims and Interests

         1. AMR Third-Party Releases. To the extent permitted by applicable law and approved by the
Bankruptcy Court, pursuant to section 1123(b) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan, for good and valuable consideration, effective on and after the Effective Date, each AMR
Releasing Party is deemed to have released and discharged (i) each AMR Released Party and (ii) each other
AMR Releasing Party from any and all Causes of Action, whether known or unknown, including any derivative
claims asserted on behalf of the Debtors, that the Debtors or their Estates would have been legally entitled to
assert in their own right (whether individually or collectively) or on behalf of the Holder of any Claim against,
or Interest in, a Debtor or other Entity or Person, including any other AMR Releasing Parties and AMR
Released Parties, based on or relating to, or in any manner arising from, in whole or in part, the Debtors, the
Debtors’ capital structure, the assertion or enforcement of rights and remedies against the Debtors, the
Debtors’ in- or out-of-court restructuring and recapitalization efforts, including in connection with AMR’s
business combination transaction that was consummated on or around February 9, 2018, intercompany
transactions between or among a Debtor and another Debtor or a Debtor and a KFM Debtor, the Chapter 11
Cases, the formulation, preparation, dissemination, negotiation, or filing of the Purchase Agreement, the
Bidding Procedures Order, the Sale, the Sale Order, the Disclosure Statement, the Plan, or any Restructuring,
contract, instrument, release, or other agreement or document created or entered into in connection with the
Purchase Agreement, the Bidding Procedures Order, the Sale, the Sale Order, the Disclosure Statement, or the
Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of securities pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, or upon any other act
or omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date.
Notwithstanding anything to the contrary in the foregoing, the “AMR Third-Party Releases” set forth above do
not release (i) any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring, or
any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan or (ii) any prepetition or postpetition claim or Cause of Action of one creditor of the AMR
Debtors against another (excluding the Prepetition AMH RBL Agent and Prepetition AMH RBL Lenders)
relating to goods or services provided to such Debtors.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the release set forth in this Section X.C.1, which includes by reference each of the
related provisions and definitions contained herein, and further shall constitute the Bankruptcy Court’s finding
that such release is: (i) in exchange for the good and valuable consideration provided by the AMR Released
Parties and the AMR Releasing Parties; (ii) a good faith and settlement and compromise of the claims released
by this Section X.C.1; (iii) in the best interests of the AMR Debtor, its estates and all Holders of Claims and
Interests; (iv) fair, equitable and reasonable; (v) given and made after due notice and opportunity for hearing;
and (vi) a bar to any Entity or Person asserting any claim or Cause of Action released by this Section X.C.1.

         2. AMH Third-Party Releases. To the extent permitted by applicable law and approved by the
Bankruptcy Court, pursuant to section 1123(b) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan, for good and valuable consideration, effective on and after the Effective Date, each AMH
Releasing Party is deemed to have released and discharged (i) each AMH Released Party and (ii) each other
AMH Releasing Party from any and all Causes of Action, whether known or unknown, including any derivative
claims asserted on behalf of the Debtors, that the Debtors or their Estates would have been legally entitled to
assert in their own right (whether individually or collectively) or on behalf of the Holder of any Claim against,
or Interest in, a Debtor or other Entity or Person, including any other AMH Releasing Parties and AMH
Released Parties, based on or relating to, or in any manner arising from, in whole or in part, the Debtors, the
Debtors’ capital structure, the assertion or enforcement of rights and remedies against the Debtors, the
Debtors’ in- or out-of-court restructuring and recapitalization efforts, including in connection with AMR’s
business combination transaction that was consummated on or around February 9, 2018, intercompany
transactions between or among a Debtor and another Debtor or a Debtor and a KFM Debtor, the Chapter 11
Cases, the formulation, preparation, dissemination, negotiation, or filing of the Purchase Agreement, the


                                                       54
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 59 of 70



Bidding Procedures Order, the Sale, the Sale Order, the Disclosure Statement, the Plan, or any Restructuring,
contract, instrument, release, or other agreement or document created or entered into in connection with the
Purchase Agreement, the Bidding Procedures Order, the Sale, the Sale Order, the Disclosure Statement, or the
Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of securities pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, or upon any other act
or omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date.
Notwithstanding anything to the contrary in the foregoing, the “AMH Third-Party Releases” set forth above do
not (a) release (i) any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring,
or any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan or (ii) any prepetition or postpetition claim or Cause of Action of one creditor of the AMH
Debtors against another (excluding the Prepetition AMH RBL Agent and Prepetition AMH RBL Lenders)
relating to goods or services provided to such Debtors, or (b) waive or release any Causes of Action against any
Excluded Parties.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the release set forth in this Section X.C.2, which includes by reference each of the
related provisions and definitions contained herein, and further shall constitute the Bankruptcy Court’s finding
that such release is: (i) in exchange for the good and valuable consideration provided by the AMH Released
Parties and the AMH Releasing Parties; (ii) a good faith and settlement and compromise of the claims released
by this Section X.C.2; (iii) in the best interests of the AMH Debtors, their estates and all Holders of Claims and
Interests; (iv) fair, equitable and reasonable; (v) given and made after due notice and opportunity for hearing;
and (vi) a bar to any Entity or Person asserting any claim or Cause of Action released by this Section X.C.2.

D.      Restrictions on Lender Releases.

         Notwithstanding anything to the contrary in this Article X, any release contemplated herein by the
Prepetition AMH RBL Agent and the Prepetition AMH RBL Lenders in favor of the KFM Debtors and their
bankruptcy estates shall only be as to Causes of Action held by such entity solely in its capacity as the agent or
lender under the Prepetition AMH RBL Credit Documents, and any release contemplated by the KFM Agent
and the KFM Lenders in favor of the AMH Debtors and the AMR Debtors and their bankruptcy estates shall
only be as to Causes of Action held by such entity solely in its capacity as the agent or lender under the KFM
Credit Agreement.

E.      Exculpation

        To the fullest extent permitted by applicable law, except as otherwise specifically provided in the Plan,
no Exculpated Party shall have or incur, and each Exculpated Party is hereby released and exculpated from
any Exculpated Claim, obligation, Cause of Action or liability for any Exculpated Claim, except for those that
are determined in a final order to have constituted actual fraud, gross negligence, willful misconduct, or
criminal conduct.

F.      Permanent Injunction

         Except as otherwise expressly provided in the Plan or related documents, or for obligations issued
pursuant to the Plan, from and after the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, all AMR Releasing Parties and all AMH Releasing Parties are permanently
enjoined from taking any of the following actions against any AMR Released Parties or AMH Released Parties,
respectively: (1) commencing or continuing in any manner any action or other proceeding of any kind on
account of or in connection with or with respect to any such Claims or Interests; (2) enforcing, attaching,
collecting, or recovering by any manner or means any judgment, award, decree, or order against such Entities
on account of or in connection with or with respect to any such Claims or Interests; (3) creating, perfecting, or
enforcing any encumbrance of any kind against such Entities or the property or Estates of such Entities on
account of or in connection with or with respect to any such Claims or Interests; (4) asserting any right of setoff,
or subrogation against any obligation due from such Entities or against the property or Estates of such Entities
on account of or in connection with or with respect to any such Claims or Interests unless such Holder has Filed


                                                        55
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 60 of 70



a motion requesting the right to perform such setoff on or before the Confirmation Date; and (5) commencing
or continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any such Claims or Interests released or settled pursuant to the Plan. Nothing in the Plan or
the Confirmation Order shall preclude any Entity from pursuing an action against one or more of the Debtors
in a nominal capacity to recover insurance proceeds.

G.       Setoffs

          Except as otherwise expressly provided for in the Plan, each Debtor, Plan Administrator, the AMH GUC
Claims Administrator, and the AMH Litigation Trustee (as applicable), pursuant to the Bankruptcy Code (including
section 553 of the Bankruptcy Code), applicable non-bankruptcy law or as may be agreed to by the Holder of a Claim
or an Interest, may set off against any Allowed Claim or Allowed Interest and the distributions to be made pursuant
to the Plan on account of such Allowed Claim or Allowed Interest (before any distribution is made on account of such
Allowed Claim or Allowed Interest), any claims, rights and Causes of Action of any nature that such Debtor, the Plan
Administrator, the AMH GUC Claim Administrator or the AMH Litigation Trustee, as applicable, may hold against
the Holder of such Allowed Claim or Allowed Interest, to the extent such claims, rights or Causes of Action against
such Holder have not been otherwise compromised or settled on or prior to the Effective Date (whether pursuant to
the Plan or otherwise); provided, however, that neither the failure to effect such a setoff nor the allowance of any
Claim or Interest pursuant to the Plan shall constitute a waiver or release by such Debtor of any such claims, rights
and Causes of Action that such Debtor may possess against such Holder. In no event shall any Holder of Claims or
Interests be entitled to set off any Claim or Interest against any claim, right or Cause of Action of the Debtor unless
such Holder has Filed a motion with the Bankruptcy Court requesting the authority to perform such setoff on or before
the Confirmation Date. For the avoidance of doubt, the filing of a proof of claim is sufficient to preserve a right of
set off hereunder.

H.       Release of Liens

         Except as otherwise provided in the Plan or in any contract, instrument, release, or other agreement or
document created pursuant to the Plan, on the Effective Date and concurrently with the applicable distributions made
pursuant to the Plan and, in the case of an Other Secured Claim, satisfaction in full of the portion of the Other Secured
Claim that is Allowed as of the Effective Date, all mortgages, deeds of trust, Liens, pledges, or other security interests
against any property of the Estates shall be fully released and discharged, and all of the right, title, and interest of any
Holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall revert to the applicable Plan
Administration Trusts.

I.       Preservation of All Causes of Action Not Expressly Settled or Released

          The Debtors expressly reserve all Causes of Action for later adjudication by, as applicable, the Debtors, the
Plan Administrators, or the AMH Litigation Trustee (including, without limitation, Causes of Action not specifically
identified or of which the Debtors may presently be unaware or which may arise or exist by reason of additional facts
or circumstances unknown to the Debtors at this time or facts or circumstances that may change or be different from
those the Debtors now believe to exist) and, therefore, no preclusion doctrine, including, without limitation, the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, waiver, estoppel (judicial, equitable
or otherwise) or laches shall apply to such Causes of Action upon or after the Confirmation or Consummation of this
Plan based on the Disclosure Statement, the Plan, or the Confirmation Order, except in each case where such Causes
of Action have been expressly waived, relinquished, released, compromised or settled in this Plan (including, without
limitation, and for the avoidance of doubt, the AMR Debtor Releases and the AMH Debtor Releases contained in
Article X.B.1 and Article X.B.2, respectively, the AMR Third-Party Releases and the AMH Third-Party Releases
contained in Article X.C.1 and Article X.C.2, respectively, and the Exculpation contained in X.E hereof) or any other
Final Order (including, without limitation, the Sale Order or the Confirmation Order). In addition, the Debtors, the
Plan Administrators, and the AMH Litigation Trustee, as applicable, expressly reserve the right to pursue or adopt any
claims alleged in any lawsuit in which any of the Debtors are a plaintiff, defendant or an interested party, against any
Entity, including, without limitation, the plaintiffs or co-defendants in such lawsuits.




                                                            56
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 61 of 70



J.       Limitations on Executable Assets with Respect to the Specified Directors and Officers Claims.

         Any recovery by or on behalf of the AMH Debtors or the AMH Litigation Trust (and the beneficiaries thereof)
against any of the Specified Directors and Officers, including in each case by way of settlement or judgment or
otherwise, shall be limited to the remaining limits of the D&O Insurance Coverage. No party, including the AMH
Litigation Trust, shall collect, execute, or garnish upon any assets of the Specified Directors and Officers, and shall
only seek to collect on any settlement or judgment against the Specified Directors and Officers for the limited purpose
of triggering the D&O Insurance Coverage. In the event D&O Insurance Coverage is denied for any settlement or
judgment in the Debtors or AMH Litigation Trust’s favor, the Specified Directors and Officers shall assign any claims
for coverage or other rights of recovery they may have against the D&O Insurance Coverage insurers to the AMH
Litigation Trust.

         In the event the AMH Litigation Trustee opts to assert one or more claims against Tim J. Turner, the AMH
Litigation Trustee shall provide Turner with advance written notice of such claims (the “Turner Claims”), in whatever
form the AMH Litigation Trustee deems appropriate in the AMH Litigation Trustee’s sole discretion. If Mr. Turner
seeks a coverage determination from the insurer under the applicable D&O Insurance Coverage within 5 business
days of receipt of such notice, and Mr. Turner promptly communicates such request to the AMH Litigation Trustee
via overnight courier or email (in Mr. Turner’s sole discretion), the AMH Litigation Trustee shall not file the Turner
Claims until such insurer provides such coverage determination (and Turner shall promptly communicate such
determination to the AMH Litigation Trustee via overnight courier or email, in Mr. Turner’s sole discretion). If Turner
receives a denial of coverage, the AMH Litigation Trustee shall not pursue the Turner Claims until the Coverage
Determination Date (as defined below). For purposes of this paragraph, “Coverage Determination Date” shall be
defined as the earlier of (i) the date on which the applicable insurer agrees in writing to provide coverage for such
claim, and (ii) the date on which an order of a court of competent jurisdiction finding that the claim is covered by the
applicable D&O Insurance Coverage policy becomes final and non-appealable.

          Notwithstanding anything to the contrary herein, and with respect to James T. Hackett only, to the extent Mr.
Hackett has a right of reimbursement, indemnification, or exculpation (a “Reimbursement Right”) for any liability
recoverable against his assets, then such recovery is permissible up to the amount of any reimbursement obtainable
by Mr. Hackett through such Reimbursement Right for such liability. This paragraph shall be null and void if used as
a basis to void the Reimbursement Right.

                                                    ARTICLE XI.

                                           BINDING NATURE OF PLAN

       THIS PLAN SHALL BIND ALL HOLDERS OF CLAIMS AGAINST AND INTERESTS IN THE
DEBTORS TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, NOTWITHSTANDING
WHETHER OR NOT SUCH HOLDER (I) WILL RECEIVE OR RETAIN ANY PROPERTY OR INTEREST IN
PROPERTY UNDER THE PLAN, (II) HAS FILED A PROOF OF CLAIM OR INTEREST IN THE CHAPTER 11
CASES, OR (III) FAILED TO VOTE TO ACCEPT OR REJECT THE PLAN OR VOTED TO REJECT THE PLAN.

                                                    ARTICLE XII.

                                         RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, the
Bankruptcy Court shall, after the Effective Date, retain jurisdiction over the Chapter 11 Cases and all Entities with
respect to all matters related to the Chapter 11 Cases, the Debtors, and this Plan to the fullest extent permitted by law,
including, without limitation, jurisdiction to:

           1. allow, disallow, determine, liquidate, classify, estimate, or establish the priority, Secured or unsecured
 status, or amount of any Claim or Interest, including the resolution of any request for payment of any Administrative
 Claim and the resolution of any and all objections to the Secured or unsecured status, priority, amount, or allowance
 of Claims or Interests;



                                                           57
        Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 62 of 70



         2. decide and resolve all matters related to the granting and denying, in whole or in part, any applications
for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to the Bankruptcy
Code or the Plan;

         3. resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be liable
and to hear, determine and, if necessary, liquidate, any Claims arising therefrom, including Cure Claims pursuant to
section 365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or
Unexpired Lease that is assumed; and (c) any dispute regarding whether a contract or lease is or was executory or
expired;

         4. ensure that distributions to Holders of Allowed Claims and Allowed Interests are accomplished
pursuant to the provisions of the Plan;

         5. adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
any other matters, and grant or deny any applications involving a Debtor that may be pending before the Bankruptcy
Court on the Effective Date;

         6.   adjudicate, decide, or resolve any and all matters related to sections 1141 and 1145 of the Bankruptcy
Code;

       7. enter and implement such orders as may be necessary or appropriate to execute, implement, or
consummate the provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
documents created in connection with the Plan or the Disclosure Statement;

          8. resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in connection with
the Plan;

         9. resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
the Consummation, interpretation, or enforcement of any Entity’s obligations incurred in connection with the Sale
and the Purchase Agreement except as expressly set forth in the Purchase Agreement, in which case the forum
selection clauses set forth in the Purchase Agreement shall govern in all respects;

        10. issue injunctions, enter and implement other orders, or take such other actions as may be necessary or
appropriate to restrain interference by any Entity with Consummation or enforcement of the Plan;

         11. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
injunctions and other provisions contained in Article X and enter such orders as may be necessary or appropriate to
implement such releases, injunctions, and other provisions;

         12. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
return of distributions and the recovery of additional amounts owed by the Holder of a Claim or an Interest for
amounts not timely repaid pursuant to Article VII;

        13. enter and implement such orders as are necessary or appropriate if the Confirmation Order is for any
reason modified, stayed, reversed, revoked, or vacated;

         14. determine any other matters that may arise in connection with or relate to the Plan, the Disclosure
Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other agreement or document
created in connection with the Plan or the Disclosure Statement;

         15. enter an order or Final Decree concluding or closing the Chapter 11 Cases;

         16. adjudicate any and all disputes arising from or relating to distributions under the Plan;



                                                         58
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 63 of 70



         17. consider any modifications of the Plan to cure any defect or omission or to reconcile any inconsistency
 in any Bankruptcy Court order, including the Confirmation Order;

          18. determine requests for the payment of Claims and Interests entitled to priority pursuant to section 507
 of the Bankruptcy Code;

         19. hear and determine disputes arising in connection with the interpretation, implementation, or
 enforcement of the Plan or the Confirmation Order, including disputes arising under agreements, documents, or
 instruments executed in connection with the Plan;

          20. hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
 505, and 1146 of the Bankruptcy Code;

          21. hear and determine all disputes involving the existence, nature, or scope of the Debtors’ discharge;

          22. enforce all orders previously entered by the Bankruptcy Court; and

          23. adjudicate all other matters over with the Bankruptcy Court has jurisdiction;

provided, however, that the Bankruptcy Court shall not retain jurisdiction over disputes concerning documents
contained in the Plan Supplement that have a jurisdictional, forum selection or dispute resolution clause that refers
disputes to a different court and any disputes concerning documents contained in the Plan Supplement that contain
such clauses shall be governed in accordance with the provisions of such documents.

                                                    ARTICLE XIII.

                   MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN

A.       Modifications and Amendments

         Subject to the limitations and rights contained in this Plan: (a) the Debtors reserve the right, in accordance
with the Bankruptcy Code and the Bankruptcy Rules to amend or modify this Plan prior to the entry of the
Confirmation Order; and (b) after the entry of the Confirmation Order, the Debtors may, upon order of the Bankruptcy
Court, amend or modify this Plan, in accordance with section 1127(b) of the Bankruptcy Code or remedy any defect
or omission or reconcile any inconsistency in this Plan in such manner as may be necessary to carry out the purpose
and intent of this Plan; provided, that any such modifications pursuant to this Section XIII.A shall be acceptable to the
AMH Debtors, the Prepetition AMH RBL Agent, the Ad Hoc Noteholder Group, and the Committee.

B.       Effect of Confirmation on Modifications

          Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or re-solicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of the Plan

           The Debtors reserve the right to revoke or withdraw this Plan prior to the Effective Date and to File
subsequent chapter 11 plans. If the Debtors revoke or withdraw this Plan subject to the terms hereof, or if Confirmation
or Consummation does not occur, then: (1) this Plan shall be null and void in all respects; (2) any settlement or
compromise embodied in this Plan, assumption or rejection of Executory Contracts or Unexpired Leases effected by
this Plan and any document or agreement executed pursuant hereto shall be deemed null and void except as may be
set forth in a separate order entered by the Bankruptcy Court; and (3) nothing contained in this Plan shall: (x) constitute
a waiver or release of any Claims by or against, or any Interests in, such Debtor or any other Entity; (y) prejudice in
any manner the rights of the Debtors or any other Entity; or (z) constitute an admission, acknowledgement, offer or
undertaking of any sort by the Debtors or any other Entity.



                                                            59
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 64 of 70



D.       Substantial Consummation of the Plan

         Substantial consummation of the Plan under Bankruptcy Code section 1101(2) shall be deemed to occur on
the Effective Date.

                                                    ARTICLE XIV.

                                         MISCELLANEOUS PROVISIONS

A.       Successors and Assigns

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, affiliate, officer, director, manager,
agent, representative, attorney, beneficiary, or guardian, if any, of each Entity.

B.       Reservation of Rights

         Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order. Neither the Filing of the Plan, any statement or provision contained in the Plan,
nor any action taken or not taken by any Debtor with respect to the Plan or the Disclosure Statement shall be or shall
be deemed to be an admission or waiver of any rights of any Debtor with respect to the Holders of Claims or Interests
before the Effective Date.

C.       Further Assurances

          The Debtors, all Holders of Claims receiving distributions hereunder, and all other Entities shall, from time
to time, prepare, execute and deliver any agreements or documents and take any other actions as may be necessary or
advisable to effectuate the provisions and intent of this Plan or the Confirmation Order.

D.       Payment of Fees and Expenses

         Prior to or as of the Effective Date, the Debtors shall promptly pay in full Cash any and all accrued but unpaid
reasonable and documented Prepetition AMH RBL Agent Fees and Committee Fees for which the Debtors have
received invoices or estimates prior to the Effective Date.

E.       Service of Documents

         Any pleading, notice, or other document required by this Plan to be served on or delivered to the Debtors,
the Committee, the Plan Administrators, or the AMH Litigation Trustee shall be sent by overnight mail or electronic
mail to:

           For the Debtors:

            Alta Mesa Resources, Inc.
            15021 Katy Freeway, 4th Floor
            Houston, Texas 77094
            Attn:   Mark Castiglione
                   Kim Warnica
            Phone: (281) 530-0991
            Email: mcastiglione@altamesa.net
                    kwarnica@altamesa.net

            with copies to:

            For AMR, the AMH Debtors, and the SRII Debtors:



                                                            60
Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 65 of 70




   Latham & Watkins LLP
   885 Third Avenue
   New York, NY 10022
   Attn: George A. Davis
           Annemarie V. Reilly
           Brett M. Neve
   Phone: (212) 906-1200
   Fax:    (212) 751-4864
   Email: george.davis@lw.com
            annemarie.reilly@lw.com
            brett.neve@lw.com

   -and-

   Latham & Watkins LLP
   330 North Wabash Avenue, Suite 2800
   Chicago, Illinois 60611
   Attn:   Caroline A. Reckler
   Phone: (312) 876-7700
   Fax:    (312) 993-9767
   Email: caroline.reckler@lw.com

   -and-

   Latham & Watkins LLP
   555 Eleventh Street, Suite 1000
   Washington, D.C. 20004
   Attn: Andrew Sorkin
   Phone: (202) 637-2200
   Fax: (202) 637-2201
   Email: andrew.sorkin@lw.com

   -and-

   Porter Hedges LLP
   1000 Main Street, 36th Floor
   Houston, TX 77002
   Attn: John F. Higgins, IV
           Eric M. English
           Aaron J. Power
           M. Shane Johnson
   Phone: (713) 226-6000
   Fax: (713) 226-6248
   Email: jhiggins@porterhedges.com
           eenglish@porterhedges.com
           apower@porterhedges.com
           sjohnson@porterhedges.com

  For the Committee:

   Brown Rudnick LLP
   Seven Times Square
   New York, NY 10036
   Attn: Robert J. Stark
           Michael Winograd



                                         61
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 66 of 70



                  Andrew M. Carty
           Phone: (212) 209-4800
           Fax:   (212) 209-4801
           Email: rstark@brownrudnick.com
                   mwinograd@brownrudnick.com
                   acarty@brownrudnick.com

           -and-

           Brown Rudnick LLP
           One Financial Center
           Boston, MA 02111
           Attn: Steve B. Levine
           Phone: (617) 856-8200
           Fax:    (617) 856-8201
           Email: slevine@brownrudnick.com

           -and-

           Snow Spence Green LLP
           America Tower
           2929 Allen Parkway, Suite 2800
           Houston, Texas 77019
           Attn: Phil Snow
                   Kenneth Green
                   Aaron Guerrero
           Phone: (713) 335-4800
           Fax:    (713) 335-4848
           Email: psnow@snowspencelaw.com
                    kgreen@snowspencelaw.com
                    aguerrero@snowspencelaw.com

           For the AMH Plan Administrator:

           Michael A. Tribolet
           2305A Elmen Street
           Houston, Texas 77019
           Phone: 713-502-5000

           For the AMR/SRII Plan Administrator:

           [Notice information to be specified in Plan Supplement or
           amended Plan.]

           For the AMH Litigation Trustee:

           [Notice information to be specified in Plan Supplement or
           amended Plan]


F.      Dissolution of Committee

          On the Effective Date, the Committee shall dissolve automatically, whereupon its members, Professionals,
and agents shall be released from any further duties and responsibilities in the Chapter 11 Cases and under the
Bankruptcy Code, except for purposes of filing applications for Professional compensation in accordance with Article
II.A.2 of this Plan.


                                                        62
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 67 of 70



G.       Nonseverability of Plan Provisions

          If, before Confirmation of the Plan, any term or provision of the Plan is held by the Bankruptcy Court to be
invalid, void, or unenforceable, the Bankruptcy Court shall have the power, at the request of the Debtors, to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable, consistent with the
original purpose of the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
then be applicable as altered or interpreted; provided that any such alteration or interpretation must be in form and
substance acceptable to the Debtors, the Prepetition AMH RBL Agent, the Ad Hoc Noteholder Group, and the
Committee; provided, further, that the Debtors may seek an expedited hearing before the Bankruptcy Court to address
any objection to any such alteration or interpretation of the foregoing. Notwithstanding any such holding, alteration,
or interpretation, the remainder of the terms and provisions of the Plan will remain in full force and effect and will in
no way be affected, impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order
shall constitute a judicial determination and shall provide that each term and provision of the Plan, as it may have been
altered or interpreted in accordance with the foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral
to the Plan and may not be deleted or modified without the Debtors’ consent; and (3) nonseverable and mutually
dependent.

H.       Return of Security Deposits

         Unless the Debtors have agreed otherwise in a written agreement or stipulation approved by the Bankruptcy
Court or the underlying Administrative Claim has not been paid in full, all security deposits provided by the Debtors
to any Person or Entity at any time after the AMR/AMH Petition Date, or the SRII Petition Date, as applicable, shall
be turned over to the applicable Plan Administration Trust within twenty (20) days after the Effective Date, without
deduction or offset of any kind.

I.       Term of Injunctions or Stays

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

J.       Entire Agreement

          Except as otherwise indicated herein and except for the terms and conditions of the Sale, the Plan supersedes
all previous and contemporaneous negotiations, promises, covenants, agreements, understandings, and representations
on such subjects, all of which have become merged and integrated into the Plan.

K.       Exhibits

          All exhibits and schedules attached hereto are incorporated into and are a part of the Plan as if set forth in
full in the Plan. To the extent any exhibit, schedule or document is inconsistent with the terms of the Plan, unless
otherwise ordered by the Bankruptcy Court, the non-exhibit, non-schedule or non-document portion of the Plan shall
control.

L.       Votes Solicited in Good Faith

          Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with the Bankruptcy Code and any applicable non-bankruptcy law, and pursuant to
section 1125(e) of the Bankruptcy Code, the Debtors and each of their respective Affiliates, agents, representatives,
members, principals, shareholders, officers, directors, employees, advisors, and attorneys will be deemed to have
participated in good faith and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of
securities offered and sold under the Plan, and, therefore, will have no liability for the violation of any applicable law,
rule, or regulation governing the solicitation of votes on the Plan.



                                                            63
       Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 68 of 70



M.       Conflicts

          Except as set forth in the Plan, to the extent that any provision of the Disclosure Statement or any order (other
than the Confirmation Order or the Sale Order) referenced in the Plan (or any exhibits, schedules, appendices,
supplements, or amendments to any of the foregoing), conflicts with or is in any way inconsistent with any provision
of the Plan, the Plan shall govern and control; provided that, in the event of any conflict with any provision of the
AMH Litigation Trust Agreement, the AMH Litigation Trust Agreement shall govern and control; provided, further
that in the event of any conflict with any provision of the Plan and/or the Confirmation Order with respect to the Sale,
on the one hand, and the Sale Order, on the other hand, the Sale Order shall govern. Notwithstanding the foregoing
or anything else herein, or anything in the Sale Order, all AMH Litigation Trust Causes of Action, including all Causes
of Action of the AMH Debtors against the Excluded Parties, shall vest in the AMH Litigation Trust. In the event of
a conflict between any provision of the Plan and the Confirmation Order, the Confirmation Order shall govern and
control.

N.       Filing of Additional Documents

       On or before the Effective Date, the Debtors may File with the Bankruptcy Court all agreements and other
documents that may be necessary or appropriate to effectuate and further evidence the terms and conditions hereof.

O.       Tax Reporting and Compliance

        The Debtors shall be authorized to request an expedited determination under section 505(b) of the Bankruptcy
Code for all tax returns filed for, or on behalf of, the Debtors for any and all taxable periods ending after the
AMR/AMH Petition Date or the SRII Petition Date, as applicable, through, and including, the Effective Date.

                                      [Remainder of page intentionally left blank]




                                                            64
      Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 69 of 70



Dated: April 17, 2020
                                    Respectfully submitted,


                                    ALTA MESA RESOURCES, INC.,
                                    a Delaware corporation,
                                    on behalf of itself and the other Debtors



                                    By:      /s/ Mark Castiglione
                                             Mark Castiglione
                                             Chief Executive Officer




                                       65
 Case 19-35133 Document 1562 Filed in TXSB on 04/17/20 Page 70 of 70




                              Schedule 1


1. Bill Guttermuth
2. Craig W. Collins
3. Curtis Emerson
4. David E. McClure
5. Diana J. Walters
6. Donald R. Sinclair
7. David Murrell
8. Homer “Gene” Cole
9. Jeffrey H. Tepper
10. Jeffrey Layne
11. Jeffrey T. Janik
12. John C. Regan
13. John H. Campbell, Jr.
14. Kevin J. Bourque
15. Kimberly O. Warnica
16. M. Brannon Kuykendall
17. Marc Beilinson
18. Mark P. Castiglione
19. Michael Tapp
20. Patrick Bartels
21. Randy L. Limbacher
22. Robert Albergotti
23. Ronald J. Smith
24. Scott K. Cowand
25. Scott R. Grandt
26. Sylvia J. Kerrigan
27. William McMullen
